EXHIBIT 1
                                                                     Illlll llllllll Ill lllll lllll lllll lllll lllll 111111111111111111111111111111111
                                                                                                          US007410651B2


c121   United States Patent                                                      (!OJ   Patent No.:                     US 7,410,651 B2
       Villa et al.                                                              (45)   Date of Patent:                          Aug. 12, 2008

(54)    CONTROLLED RELEASE AND TASTE                                      (58)      Field of Classification Search .              424/451.
        'fASKil'\G ORAL PHAR,fACEUTICAL                                                                                           4241464
        COMPOSITION                                                                 Sec application tile tl1r compktc search history.
                                                                          (56)                             References Cited
(75)    lnventors: Roberto Villa. Lecea (ff); Massimo
                   Pedrani, Gignese (IT): Mauro Ajani,                                           U.S. PATENT DOCUMENTS
                   Mibn (IT): Lorenzo Fossati, Mibn (IT)
                                                                                   5,'.)42,625   A    *    8.11994 Hauer et al.
                                                                                   5,597,844     A         li 1997 Chauhan et al.
(73)    Assignee: Cosmo Technologies I ,hnited, Wicklow
                                                                                   6, 190,692    RI   *    2.12001 Busetti et al.
                  (IE)                                                             6,368,635     Bl        4/2002 Akiyama et al.

( *)    Notice:      Subject lo "ny discbimer, the term of this                           FOREIGN PATENT DOCUMENTS
                     patent is extended or adjusted under 35
                                                                          ])F,                   41 31 562 A I         3/1993
                     U.S.C. 154(b) by 0 days.
                                                                          EP                     0 514 008            11/1992
                                                                          EP                     0 514 008 Al         II !1992
(21)    Appl. No.: 11/268,500                                             GB                       935639              9/1963
                                                                          WO                     96/13273         *    5!1996
(22)    Filed:       Nov. 8, 2005                                         WO              WO 99111245                  3/1999
                                                                          WO              WO 99117752                  411999
(65)                    Prior Publication Data
                                                                                                  OJHER PUBLlCArJONS
        US 2006/0134208 Al          Jun. 22, 2006
                                                                          "Budesonide"-\'\-'ikipedia, the free enclycopedia                 (http://en.
                  Related U.S. Application Data                           \\:ikipedia.orgiwiki/Rudesonide); pp. 1-3.*

(63)    Continuation-in-part of application No. 11/262,799,               i:c   cited by examiner
        filed on Nov. 1, 2005, now abandoned, which is a
                                                                          Primary l)caminer-Humera N Sheikh
        continuation-in-part of application No. 10/009,5:12,
                                                                          (7 4) Attorney. Agem. or Firm-Young & Thompson
        Jiled "' "pplic"tion No. PCT/EP00/05356 on Jun. 9,
        2000.                                                             (57)                              ABSTRACT
(30)               Foreign Application Priority Data                      Controlled release and taste masking compositions contain-
  Jun. 14, 1999        (IT)                 ........ !VII99Al3 l 7        ing one or more active principks inglnhatcd in a three-com-
  Mar. 3, 2000         (IT)                       MT2000A0422             ponent ID(:ltrix structure, i.e. <1 structure formed by successive
                                                                          amphiphilic, lipophilic or inert matrices and finally inglo-
(51)    1nt.Cl.                                                           bated or dispersed in hydrophilic matrices. TI1e use of a plu-
        A61K 9122              (2006.01)                                  rnlity of systems for the control of the dissolution of the (:lclive
        A61K 9148              (2006.01)                                  ingredient modulates the dissolution rate of the active ingre-
        A61K 9120              (2006.01)                                  dient in aqueous and/or biological fluids, thereby controlling
        A61K 9126              (2006.01)                                  the rckase kinetics in the gastmintestinal tract.
(52)    U.S. Cl.                  424/468: 424/451: 424/464:
                                   424/465: 424/469: 424/470                                      11 Cl•ims, No Drawings




                                               Cosmo v. Alvogen, et al.                                                   COSMO-UCERIS-DE00000001
                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                                  US 7,410,651 B2
                                                                                                                        2
         CONTROLLED RELEASE AND TASTE                                                  matrix with the active ingredient and the subsequent deposi-
         MASKING ORA.L PHARIVL~CIWTlCA.L                                               tion of said solution on an inert carrier which acts as the core
                 COMPOSITIOK                                                          of the device. Alternatively, the inert c:Jrrier is knem1ed with
                                                                                      the solution containing the inert polymer and the active ingre-
    The present invention relates to controlled release and taste                     dient, then the organic solvent used for the their dissolution is
masking compositions containing budcsnnidc as active ingre-                           evaporated off to obtain a solid residue. The resulting struc-
dient incorpornted inci three-component m<-Jtrix structure: i.e.                      ture is (:I "reservoir", i.e. is not n1(:1Croscopic<11ly homogeneous
a strncture formed by successive amphiphilic, lipophilic or                           along all the synm1etry axis of the final form. The same
inert matrices and finally incorporated or dispersed in hydro-                        "reservoir" strnctnre is also described in Chem. Pharm. Bull.
philic ffi(:ltrices. The use of Cl plurnlity of systems mech<-Jnism               10 46 (3),531-533, (1998) which improves the application
for the control of the dissolution of the active ingredient                           through an annealing technique of the inert polymer layer
modulates the dissolution rate of the active ingredient in                            which is deposited on the surface of the pellets.
aqueous and1or hio1ogica1 fluid.,. thereby controlling the                               To the "reservoir" strncture also belong the products
releC1se kinetics in the g<-Jstruintestin<1l tr<-Jct, <-.1ml it <-.1lso :Jllows       obtained according to the technique described in \VO
the oral administration of active principles having unfavour-                     15 93/00889 which discloses a process for the preparation of
able taste characteristics or irritating action on the mucosae of                     pellets in bydrophilicmatrix which comprises: -dissolution of
the administration site. particu1arly in the buccal or gastric                        the active ingredient with gastro resistant hydrophilic poly-
area.                                                                                 men; in org(:lnic solvents; -diying of s:Jid suspension; -subse-
    The compositions of the invention are suitable to the oral                        quent kneading and formulation ofthe pellets in a hydrophilic
administration or the efficaciously dc1ivcr the active ingredi-                   20 or lipopb.ilic matrix without distinction of effectiveness
ent (:!cling tupic<-Jlly :Jl smne :JreGJs of the gC1struintestiml trnct.              between the two types of application. F.P 0 453 001 discloses
                                                                                      a multiparticulate with "reservoir" strncture inserted in a
             TECHNOLOGICAL BACKGROUND                                                 hydrophilic matrix. The basic multiparticulate utilizes two
                                                                                      coating membranes to decrease the release rate of the active
  The preparation of a sustained, controlled, delayed,                            25 ingredient, " pH-dependent membrane with the purpose of
extended or anyhow modified release fonn can be carried out                           gastric protection and a pil-independent methacrylic mem-
GJccording tu dilierent techniques:                                                   brane with the pnrpose of slowing down the penetration of the
   1. The use of inert matrices, in which the main component                          aqueous fluid. WO 95/16451 discloses a composition only
      of the nrntrix structure opposes smne resistance to the                         formed by a hydrophilic m:Jtrix co(:lted with (:I g<1stro-resist.ant
      penetration of the solvent due to the poor affinity                         30 film for controlling the dissolution rate of the active ingredi-
      tovv:Jrds (:lqueous fluids; such property being ki10\vn :JS                     ent. When preparing sustained-. controlled-release dosage
      lipophilia.                                                                     forms of(:! medic(:lment topic<11ly (:lclive in the g<1strointestiillll
   2. The use of hydrophilic matrices, in which the main                              tract, it is important to ensnre a controlled release from the
      component of the ffi(:ltrix structure opposes high resis-                       first phases following administration, i.e. when the inert
      tance to the progress of the solvent, in that the presence                  1'5 matrices have the maximum release rate inside the logarith-
      of strongly hydrophilic groups in its chains, mainly                            mic plmse, nmnely the higher devi(:ltion from line(:lr rele(:lse.
      branched, remarkably increases viscosity inside the                             Said object has been attained according to the present inven-
      hydrnted byer.                                                                  tion. through the combination of an amphiphilic matrix inside
   3. The use of bioerodible matrices, which are capable of                           m1 inert m"trix, the l"tter formulated with a lipophilic poly-
      being degraded by the anzimes of some biological com-                       40 mer in a superficial hydrophilic matrix. The compositions of
      partment.                                                                       the invention are characterized by the absence of a first phase
   All the procedures listed (:lbove suffer, hovvever, from<lrnw-                     in which the medicament superticia11y present on the matrix
backs and imperfections.                                                              is quickly solubilized, and by the fact the amphiphilic layer
   lnertmatrices, for example, generally entail non-linear. but                       compensate the lack of affinity ofthe aqueous solvent with the
expunenti(:ll, release of the (:!Clive ingredient.                                4' lipophilic compounds fonning the i1mer inert matrix.
   Hydrophilic matrices: have a linear behaviour m1til a cer-
tain fraction of active ingredient has been released, then sig-                                   DISCLOSURE OP          nm INVJJNTION
nificantly deviate from linear re1case.
   Bioerodible nl(:llrices (:Ire ide(:ll to C(:lrry out the so-c(:llled                   ·111e invention provides controlled release and taste mask-
"sire-release", but they involve the problem of finding the                       50   ing ora1 pharmaceutical compositions containing as active
suitable enzyme or reactive to degradation. Fnrtherrnore. they                         ingredient budesonide comprising:
frequently release in situ metabolites th"t are not wholly                                a) a matrix consisting of lipophilic compom1ds with melt-
toxicologically inert.                                                                 ing point lower than 90" C. and optionally by amphiphilic
   A number of formulations based on inert lipophiEc matri-                            compounds in \vhich the active ingredient is at 1cast partially
ces have been described: DrngDev. Ind. Pharm. 13 (6), 1001-                       55
                                                                                       incorporn te<l;
1022, (1987) discloses a process making use of varying
                                                                                          b) an amphiphilic matrix;
amounts ofco11oida1 siEca as a pori7ation ekment for a lipo-
philic inert ffi(:ltrix in which the (:!Clive ingredient is incorpo-                      c) an outer hydmphilic matrix in which the lipophilic
                                                                                       =trix "ml the amphiphilic matrix are dispersed;
rated
   The S(:lme notion of C(:ln(:lliz(:ltion of (:In inert m:Jtrix is               60      d) optionally other excipienLs.
described in U.S. Pat. No. 4,608,248 in which a small amount                              A p(:lrticufar (:!Spect of the invention consists of controlled
of a hydrophilic polymer is mixed with the substances fann-                            release oral cmnpositions containing as active ingredient
ing an inert matrix, in a non sequential compenetration of                             budesonide comprising:
different matrix materials. I'P 375,063 discloses a technique                          a) a matrix consisting of amphiphilic compounds and lipo-
for the preparation of multiparticulate granules for the con-                     65      philic compounds with melting point below 90" C. in
trolled-release of the active ingredient which comprises co-                              which the active ingredient is at least partially incorpo-
dissolution ofpoly111ers or suit:Jble substm1ces to fonn (:I inert                        rated;


                                                       Cosmo v. Alvogen, et al.                                                COSMO-UCERIS-DE00000002
                                                C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                           US 7,410,651 B2
                                  3                                                                          4
b) an outer hydrophilic matrix in which the lipophilic/am-                      lecithin, other type II polar lipids. surfactants. or in dieth-
   phiphilic matrix is dispersed, preferably by mixing;                         ylene glycol monoethyl ether: the resulting amphipb.ilic
c) opliomlly other excipienls.                                                  nlatrix is then mixed or kneaded, usually vvhile hot, with
   A fi1rther aspect of the invention provides taste masking                    lipophilic co111pounds suitable to fon11aninert n1atrix, such
oral pharmaceutical compositions budesonide containing                          as saturated or unsaturated fatty acids, such as palmitic.
comprising:                                                                     stcaric, myristic, lauric, 1aury1ic, or oleic acid" or mixtures
   an inert or lipophilic matrix coru;isting of C6-C20 alcohols                 thereof with other fatty <1cids vvith shorter cfilin, or s<1lts or
     or C8-C20 fatty acids or esters of fatty acids with glyc-                  alcohols or derivatives of the cited fatty acids. such as
     erol or sorbitol or other polyalcohols with carbon atom                    mono-. di-. or triglycerids or esters with polyethylene gly-
     ch<1in nut higher thm1 six:                                         10     cols. <1lone or in combination with waxes, cermnides, cho-
   an amphiphilic matrix consisting of polar lipids of type I or                lesterol derivatives or other apolar lipids in various ratios
     II or glycols partially etherified with Cl-C4 alkyl chains;                so that the melting or softening points of the lipophilic
   an outer hydrnphi11c matrix containing the above matrices,                   compounds mixtures is within the range of 40 to 90 C,
     lllilinly fonned by s<1ccfilride: dextrin, poly<1kohul or                  prefernbly from 60 to 70 C. Alternatively, the order of
     cellulose compounds or by hydrogels or their mixtures;              15     fom1ation of the inert and amphiphilic matrices can be
   optional excipients to give stability to the phannaceutical                  reversed, incorporating the inert matrix inside the
      fi.1rmulation.                                                            amphiphilic compounds. The resulting inert lipophilic
                                                                                inatrix is reduced into granules by an extn1sion and/or
     DETAILED l)]SCLOSURJ:i OF THE INVENTION                                    granulation process, or any other known processes which
                                                                         20     retain the homogeneous dispersion and matrix stn1cturc of
   The compositions of the invention can be prepared by a                       the starting mixture. The hydrophilic matrix consists of
method comprising the following steps:                                          excipients known as hydrogels, i.e. substances which when
a) the active ingredient, represented by budesonide. is first                   passing from the dry state to the hydrated one, undergo the
   inglobated by simple kneading or mixing in a matrix or                       so-called "molecular relaxation". namely a remarkable
   coating consisting of compounds having amphiphilic prop- 25                  increase in mass and weight following the coordination of
   erties. which will be farther specified below. ·111e active                  a large number of water molecules by the polar groups
   ingredient can be mixed with the amphiphilic compounds                       present in the polymeric chains of the cxcipients them-
   without the aid of solvents or with small amounts of water-                  selves. Examples ofhydrogels which cC1n be used acconl-
   alcoholic solvents.                                                          ing to the invention are compounds selected from acrylic or
b) the nK1trix ubt.c1ined <-.1s specified under <-.1) is incorponited in 30     methacrylic acid polymers or copolymers, alkyl vinyl poly-
   a low melting lipophilic excipient or mixture of excipients,                 mers. hydroxyalkyl celluloses, carhoxyalkyl celluloses,
   if necessary whi1c heating to soften and/or melt the cxcipi-                 polysaccharides. dextrins, pectins. starches and deriva-
   ent itself. which thereby incorporates the active ingredient                 tives, namral or synthetic gu.ms, alginic acid. In case of
   by simple dispersion fom1ing an inert matrix which can be                    taste-masking formulations, the use of polyalcohols such
   reduced in size to obtain inert matrix granules containing J'S               as xylitol, maltitol an<l mannitol as hydrophilic compounds
   the active ingredient particks.                                              can also be advantageous. The lipophilic matrix granules
c) the inert matrix granules are subsequently mixed together                    containing the active ingredient are mixed with the hydro-
   with one or more hydrophilic watcr-swc11ablc cxcipicnts.                     philic compounds cited above in a weight ratio typica11y
   The mixture is then subjected to compression ortabletting.                   ranging from 100:0.5 to 100:50 (lipophilic matrix: hydro-
   This way, when the tablet is contacted with biological 4U                    philic matrix). Part of the active ingredient can optionally
   fluids, a high viscosity swollen layer is fOrmcd, which                      be mixed with hydrophilic substances to provide compo-
   coordinates the solvent mo1ccu1cs and acts as a barrier to                   sitions in which the active ingredient is dispersed both in
   penetration of the aqueous fluid itself inside the new struc-                the lipophilic and the hydrophilic matrix. said composi-
   mre. Said barrier antagonizes the starting "burst effect"                    tions being preferably in the form of tablets. capsules and/
   caused hy the dissolution of the medicament inglobatcd 4'5                   or minitahlets. ll1c compression of the mixture of lipo-
   inside the inert matrix, which is in its turn inside the hydro-              philic and/or amphiphilic matrix, hydrogel-fonning
   philic matrix. The amphiphilic compound" \vhich can be                       compound and, optionally, active ingredient not inglobated
   used according to the invention comprise polar lipids of                     in the lipophilic matrix. yields a macroscopically homoge-
   type I or TT (lecithin. phosphatidylcholine, phosphatidylc-                  neous structure in all its volume, namely a matrix contain-
   thanolainine ). ceramides, glycol alkyl ethers such as dieth- 50             ing a dispersion of the lipophilic granules in a hydrophilic
   ylene glycol monomethyl ether (lranscutolR) ·111e lipo-                      matrix. A similar result can also be obtained by coating the
   philic matrix consists of substances sc1ccted from                           1ipophi1ic matrix granules with a hydrophilic polymer
   unsaturated or hydrogenated alcohols or fatty acids, salts,                  coating. The tablets obtainable according to the invention
   esters or amides thereof fatty acids mono-, di-or triglyc-                   can optionally be subjected to known coating processes
   erids, the polyethoxylatedderivatives thereat; waxes, cera- 55               with a gastro-resistant film. consisting of, for example,
   mides, cho1csternl derivatives or mixtures thereof having                    acrylic and methacrylic acids polymers(Eudragit (R)) or
   melting point within the range of 40 to 90 C, preferably                     copolymer or cellulose derivatives, such as cellulose
   from 60 to 70 C. If desired, a fatty acid calciu.m salt may be               acetophthalate. The composition of the invention can far-
   incorporated in the lipophilic matrix \vhich is subsequently                 ther contain conventional cxcipients, fix example bioadhc-
   dispersed in a hydrophilic m<1trix prep<1re<l with <1lginic 60               sive excipients such as chitosans, pol~mcrylamides, n<1turnl
   acid. thus remarkably increasing the hydrophilic matrix                      or synthetic gums, acrylic acid polymers.
   viscosity following penetration of the solvent front until                   ·111e compositions of the invention are preferably in the
   contact \Vith the 1ipophi1ic matrix granu1cs dispersed                   fi.1rm of tablets, capsules or minitahlets. In terms of dissolu-
   inside. An amphiphilic matrix with high content in active                tion characteristics, contact with water or aqueous fluids
   ingredient. typically from 5 to 95% w/w, in particular from 65 causes the innnediate penetration of water inside the more
   20 to 70%, is first prepared by dispersing the active ingre-             superficial layer ofthe matrix which. thmlks to the presence of
   dient in <1 mixture of amphiphilic cmnpounds, such <1s                   the aqueous solvent, swells due to the distension of the poly-


                                                  Cosmo v. Alvogen, et al.                                          COSMO-UCERIS-DE00000003
                                           C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                         US 7,410,651 B2
                                 5                                                                               6
meric chains of the hydrogels. giving rise to a high viscosity                                            EXAMPLE 1
hydrnted front which prevents the further penelrntion of the
solvent itsclfEncarly slm,ving down the dissolution process to                2.7 kg of budesonide, 3.0 kg of lecithin (amphiphilic
a well detennined point which can be located at about half the              matrix forming material) and 3 .0 kg of stearic acid (lipophilic
thickness, until the furtherpenelr:Jtiun ofw<1ler would cciuse              matrix forming material) are mixing after sieving till an
the disintegration of the hydrophilic 1aycr and therefore the               homogeneous mixture is obtained: then add 39.0 kg of inert,
release of the content which, consisting of inert matrix grm1-              functiollll excipienls aml 9.0 kg oflow viscosity hydroxypro-
ules. however induces the diffusion mechanism typical of                    pylcellulose (binder) and mix for 10 minutes before adding
these structures (:lll<l therefure further slows down the disso-            purified water and kneading to a suitable consistence. Then
lution profile of the active ingredient. The presence of the          10    p<1ss the grnnubte through          GJ   rot.:Jting grnnubtor equipped
amphiphilic matrix inside the lipophilic matrix inert allows to             with the suitable screen and transfer the grmrnlate to the fluid
                                                                            bed drier to lower the residual moisture content under 3%.
prevent ~my unevenness of the relecise profile of the (:lclive
                                                                               After a new sieving on the dry, the granulate is added of9.0
ingredient. TI1c surfactants present in the amphiphiEc portion
                                                                            kg of hydroxypropylcellulose (hydrophilic matrix forming
promote wettability of the porous canaliculuses which cross           15    material) and the suitable amount of functional excipients (in
the inert matrix preventing or reducing resistance to penetra-              particular, microcrystalline cellulose, lactose and silicon
tion of the solvent inside the inert matrix. To ohtain taste                dioxide)
masking tablets. the components of the hydrophilic matrix are                 and, after 15 ininutes of inixing: inagnesium stearate in a
carefully selected to minimize the active substance release                 suitable quantity to act as lubricant is added.
ti111e through penetrntion (:!Ccelernted by the C(:lll(:llizC1tion    20       After a final blending, tablets of around 100 mg of unitary
induced by the hydrophilic compound.                                        weight :Jre genernted.
                                                                               The core are then subjected to be coated with a suspension
                   EXPERIMENTAL PART                                        obtained introducing into a stainless steel container 5.8 kg of
                                                                            F.udragit™ (methacrylatc copolymers), 0.6 kg of tricthylci-
   To test the effective ability ofthe formulations of the inven-     25    !rate mid 3.0 kg of dyes and talc, using alcohol as solvent.
tion to modify the release rate and extent of the active ingre-                The mean dissolution percentage (as average of six or more
                                                                            tabkts) obtained \Vith this tahkt tl1rmu1ation were around
dient from the do~mge fonn suit:Jble for the drug (:ldministrn-
                                                                            10-20% al second hour sampling, in the range 25% to 65% at
timi: before any phannacokinetic srudy on patients or
                                                                            fourth hour and a dissolution greater than 80% was achieved
volunteers. the dissolution test is taken as monitoring and           30    at sth hour sampling.
discrimimting tool.
                                                                                                          EXAMPLE2
Dissolution Test Method
   Tablets according to the present invention undergo to dis-
sohition test to verify the formulation rnpacity inn1odulating        l'S
and controlling the rate by which the active ingredient is                  -----------------------
leaked by the device or dosage tl1rm in the environmental                             Component                                    mgitablet

medium. generally a buffered solution simulating gastric or                                                    Tablet
intestinal juices.
                                                                                      Budcsomdc                                         SJ.(J
   ·1he dissolution test is performed by introducing individual       4U              SLearic Arni                                     10.0
tablets in a glace vessel containing from 500 to 1000 ml of a                         LeciLhin                                         10.0
buJJered solution set to diJJerent pH conditions (pH L 6.4 am!                        MH:rocrislalhne cellulose                       156.0
                                                                                                                                       60.0
7.2 are the pH condition generally used in this test applica-                                                                          50.0
tions). so that the whole digestive tract pH conditions, from                         Silicon dioxide                                   2.0
                                                                      45              Magnesi11m stearate                               1.0
stomach to large intestine. should be reproduced. To simulate
                                                                                                         Coating matenals
the human body conditions, the test is carried nut at a tcm-
peramre of37° C.:!:2° C. and at predetermined time periods                                                                              14.0
samples of the dissolution medium are withdrawn to detect                                                                               12.0
                                                                                      Talc                                               7.9
the percentage of active ingredient dissolved over time.
                                                                      50              Titanmm dioxiede                                   4.5
   The tablets according to the present invention. when                                                                                  1.6
designed tu be used tu tre(:ll inlh1rru11G1tury bowel <lise<ise, in                                                                    q.s.

principle have to show a good resistance, thanks to the poly-
meric fihn resistant to the low pll conditions (intended as <5                 According to the present invention. coated tahlcts individu-
to simulate the gastric environment) applied to cover the             55    ally weighing about 220 mg are obtained.
tahkt surface, resistance which last at kast fix two hours: to                 The above described dissolution test is performed on the
target the large intestinal sectors, also the pll condition of 6.4          tablets of Example 2.
shown unsuitability to detennine a drug leakage from the                       The results are the following (imlicated as average value):
administration device tl1r a short exposition time and only
mediums Git pH 7.2 lmve been (:Ible to determine cin (:lclive         60
ingredient dissolution at a progressive and quite constant rate
                                                                                    after 2 hours at p II 1                 resistant (<5%)
during a timefrmne from 6 to 12 hours; the dissolution per-                         afler 1 ho Ltr al pH 6.4                resisl1lil.L (<5°"li)
centage obtained with this tab1ct formulation \Vere bc1ow                           after 2 hours flt pH 7.2
15% at first hour sampling, below 25% at second hour sam-                           atter4 hours at pII 7.2                        37%
pling, then values wereintherange25%to 55% at fourth hour             65            afler 8 ho ms al pH 7.2
and a dissolution greater than 80% was achieved at 8'" hour
sampling.


                                                Cosmo v. Alvogen, et al.                                                 COSMO-UCERIS-DE00000004
                                         C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                        US 7,410,651 B2
                                7                                                                           8
                         EXAMPLE3                                            The invention claimed is:
                                                                             1. A controlled relem;e ornl ph(:lrm:Jceutic:Jl composition
   Budesonide (3.0 kg) is mixed with soybean Lecithin (5.0                containing budesonide as active ingredient consisting essen-
kg) till an hon1ogcncous mixture is obtained. Then carnauba               tially of:
wax (2.0 kg) and stearic acid (2.0 kg) sieved through a fine
                                                                             a) a lipophilic matrix consisting of lipophilic comp01mds
screen are added. After mixing, the powders are added with
                                                                                with a melting point between 40" C. and 90 C. in which
other ft.mctional excipients and kneaded with a binder solu-
tion obtained by dissolving medium viscosity polyvinylpir-                      the :Jctive ingredient is :JI le:Jst p(:lrti(:llly inglob(:lted;
rolidone in water. After drying in a fluid bed and milling                  b) an amphiphilic nrntrix:
throughout a suitable screen, hydroxypropylmethylcellulose           10     c) (:IIlOLJter hydrophilic ffi(:ltrix consisting ofhydrogel form-
(:15.0 kg) and other cxcipicnts. including magnesium stcaratc                  ing compounds in which the lipophilic matrix and the
as lubricant. in a suitable qum1tity are added and the mixture                 amphiphilic matrix are dispersed, wherein the combina-
is blended till an homogeneous powder dispersion is                            tion of the matrices from a), b ), and c) provides con-
obtained.                                                                      trolled release.
   The powder mixrnre is subjected to compression in a rotat-
ing tabletting machine and the tablets so obtained are coated        15      2. The composition according lo claim 1 in which the acthe
                                                                          ingredient is mixed and at least partially inglobated in the
in a pan coat with a gastroresistant composition containing
                                                                          amphiphilic matrix of point b ).
Dudragit™, plasticizers, dyes and pigments.
   According to the present example, coated tablets individu-                3. The composition according to claim 1, wherein the
ally weighing amund 105 mg arc ohtaincd.                                  active ingredient is mixed and at least partially inglobated in
   The results of the ::tbove described dissolution test :Jre the   20    the lipophilic nrntrix.
following (indicated as average value of at least six tablets):          4. 111e composition <icconling tu clciim 1: wherein, the
                                                                      lipophilic matrix consists of compounds selected from the
                                                                      group consisting of C6-C 20 alcohols, C8-C 20 fatty acids,
                                                                      and esters of fatty acids with, g1yccrnl, snrhitnl or nthcrpoly-
           :ifte1· 2 hours ::it pH 1        Jesist::int (<'.'i~"o)
                                                                   25 <1kohols vvith cGJrbon <1lom cilltin nut higher tillm six.
           a!ter 1 hour at pll 6.4          resistant (<5°-<i)
           after 2 lmuru at pH 7.2                   9%                  5. The composition (JCcunling tu cl:Jim 1, \.vherein the
           after 4 hours at pH 7.2                                    amphiphilic compounds are selected from the group consist-
           a!ter 8 hours at pII 7.2                86%                ing of polar lipids of type I or II, cermnides, glycol alkyl
                                                                      ethers, esters of fatty acids with polycthyknc glycols. and
                                                                   30
                                                                      diethylene glycols.
                                   EXAMPLE4                              6. The cmnposition :Jccording to cbim 1, wherein the lipo-
                                                                      philic matrix consists of a compound selected from the group
    50 g of diethylene glycol monoethyl ether are homoge-
                                                                      consisting of lmsamrated or hydrogenated alcohols or fatty
neously distributed on 500 g of microcrystalline cellulose;
then 100 g of 13udesonide are added, mixing to complete " acids, salts, esters or arnides thereof; 1110110-: di- or triglycer-
homogeniz::ttion. This mix is further m1ded with 400 g of             ides of fatty acids, polyethoxylated derivatives thereof:
Budesonide, then dispersed in a blender containing 100 g of           waxes: and cholesterol derivatives.
carnauba wax and 100 g of stcaric acid preheated at a tem-               7. The composition according to claim 1, wherein the
perature of60° C. After kneading for 5 minutes, the mixture
                                                                      hydrophilic matrix consists of compmmds selected from the
is cooled to room temperature and extruded in granules of size 4U
belmv 1 nllll. A suitable mixer is loaded with the matrix             group consisting of acrylic or methacrylic acid polymers or
granules prepared as above and the following mnounts of               copolymers, alkylvinyl polymers, hydroxyalkylcellulose,
hydrophilic excipients: 1500 g ofhydroxypropyl methylcel-             carboxyalky1ce11ulose, po1ysaccharides, dextrins. pectins,
lulose and 500 g of Policarbophil™ are added. The compo-              st:Jrches m1d deriv:Jtives, <1lginic (:!Cid, illlturnl or synthetic
nents :Jre mixed until homogeneous dispersion of the m(:ltri- 4'5 gmns, ::tnd poly<1kohols.
ccs, then added with 2450 g of micmcrysta11ine cc11u1osc, 400
g of lactose, 100 g of colloidal silica and 50 g of magnesium            8. TI1e composition according to c1aim 1, \Vhcrein the
stearate. After further 5 minute mixing, the mix is tabletted to      :Jctive ingredient is wholly cont(:lined in the lipophilic/(:lm-
lmitary weight of 250 mg/tablet.                                      phiphilic matrix, in the form of tablets, capsules or minitab-
    Tablets are then subjected to coating using a suspension n 50 lets.
containing polyacrylate and poly methacrilate copolymers in              9. °111e composition according to claim 1, wherein the
(:ltk1ition to other dyes, pbsticizers (:Intl colouring <1gents in    active ingredient is dispersed both in the hydrophilic matrix
sol»ent (ethylic alcohol).                                            and in the lipophilic/mnphiphilic matrix, in the form of tab-
    °!he results of the dissolution test perfonned on these           lets, capsules or minitablets.
coated tablets are the following (indicated as average value of 55       10. The composition according to claim 1, wherein said
al least six tablets):                                                composition is in the form of tablets chewable or erodible in
                                                                      the bucc(:ll C(:!Vity or in the first portion of the g<1strointestim1l
                                                                      tract.
           after 2 hours at pH 1            resistant (<5%)              11. A method for the treatment of Inflammatory 13owel
           after 1 hour al pH 6.4           resislirnl(<5%)        60 Disease and Irritable Bowel Syndrome, comprising adminis-
           after 2 hours at pH 7.2                                    tering the composition according to claim 1 to a patient in
           a!lcr 4 hours                           32%
                                                                      need of such (:I tre(:ltment.
        after 8 houru                          76%




                                                Cosmo v. Alvogen, et al.                                          COSMO-UCERIS-DEOOOOOOOS
                                         C.A. No. 1:15-cv-193; -164; -116 (LPS)
EXHIBIT 2
                                                                                     Illlll llllllll Ill lllll lllll lllll lllll lllll 111111111111111111111111111111111
                                                                                                                   US008293273B2


c121   United States Patent                                                                     (lOJ   Patent No.:                   US 8,293,273 B2
       Villa et al.                                                                             (45)   Date of Patent:                       *Oct. 23, 2012

(54)    CONTROLLED REL.EASE AND 1AST.E                                                         7,410,652     B2    8!2008 Villa et al.
        :\1ASKil'IG ORAL PIIAR:\1ACEUTICAL                                                     7,431,943     Bl* 10!2008 Villa et al. .................... 424/468
                                                                                               8,029,823     B2 * 10!2011 Villa et al. ............... 424/464
        COMPOSITION                                                                        2012/0021052      Al    l/2012 Villa et al.
                                                                                           2012/0021053      Al    l/2012 Villa et al.
(75)    Inventors: Roberto Villa, Lecea (IT); Massimo
                                                                                                         FOREIGN PATENT DOCUMENTS
                   Pedrani, Gignese (IT); Mauro Ajani,
                   Milan (IT): Lorenzo Fossati, Milan (IT)                                CA                   2119253            11/1998
                                                                                          DE                41 31 562     Al       3!1993
                                                                                          UP                0 375 063     ill      6/1990
(73)    Assignee: Cosmo Technologies Limited, Dublin                                      UP                0 453 001     Al      10/1991
                  (IE)                                                                    EP                  0482576              4!1992
                                                                                          EP                0 514 008             11!1992
(")     Notice:            Subject to any disclaimer, the tem1 of this                    EP                0 514 008     Al      11!1992
                           paLent is extended or adjusted under 35                        EP                  0514008             11!1992
                                                                                          Gil                  935639              9/1963
                           1J .S.C:. 154(h) hy 0 days.
                                                                                          JP                63048226               2/1988
                           This patent is subject to a terminal dis-                      JP                  4159217              6!1992
                                                                                          JP                  5132416              5/1993
                           clai111er.                                                     JP                  6510772             12/1994
                                                                                          JP                  6511478             12/1994
(21)    Appl. No.: 13/462,409                                                             JP                  8503482              4!1996
                                                                                          JP              2000510488               8/2000
(22)    Filed:             !\fay 2, 2012                                                  JP              2000515 LlO             11/2000
                                                                                          WO                 93100889     Al       1! 1993
                                                                                          WO                 96113273              5!1996
(65)                              Prior Publication Data
                                                                                          WO                  9800169              1!1998
        US 2012/0213850Al                          Aug. 23, 2012                          WO             WO 99111245               3!1999
                                                                                          WO             WO 99117752               4!1999
                    Related U.S. Application Data                                                              OTHFR PUFll.TCATTONS
(63)    Continuation of application No. 13/249,839, filed on                              Jantzen, G.~L et al., "Sustained- and Controlled-Release Drng Deliv-
        Sep. 30. 2011, which is a continuation of application                             e1Y Systems," Vfodem Pharmaceutics, 3rd Edition, Revi se<l and
        No. 12/210,969, filed on Sep. 15, 2008, now Pal. No.                              Expanded, pp. 575-609. CC 1996 hy Vfarcel Dekker, Inc., 37 pages.
        8,029,823, which is a continuation-in-part of                                     Steward, P.. "Review of Pharmaceutical Controlled Release Methods
        application No. 10/009,532, filed as application No.                              and Devices", 1995, pp. 1-9.
                                                                                          Jantzen, et al., ''Sustained/Controlled-Release Dmg Delivery", Mod-
        PCT/EP00/05356 on Jun. 9, 2000. now Pat. No.
                                                                                          ern Pharmaceutics. 3rd Udition, pp 582-589.
        7,431,943.                                                                        Physical Pharmacy, Chapter 19· DrngProduct Design, Oct. 1993. pp.
                                                                                          515-519
(30)                 Foreign Application Priority Data                                    ~1oro. et al. "Drng Delivery Systems: Diffusion Controlled Sys-
                                                                                          tems", II Prodotto Chimico & Aerosol Selezione (The Chemical &
   Jun. 14, 1999                 (ff) .... .                       Ml99A0013 l 7          Aerosol Selection), Apr. 1985. pp. 16-24.
    Mar. 3, 2000                 (IT) .. .                         MTOOA000422            Bnmner, M. et al .. "Gastrointestinal Transit Release and Plasma
                                                                                          Phannacokinetics of a Ne\v Oral Budesonide Formulation." British
                                                                                          Jomnal of Clinical Pharmacology, DOl.10.l l l l!j.1365-2125.2005.
(51)    lnt.Cl.                                                                           02517 .x, pp. 1-8, copyright 2005 Blackwell Publishing Ltd .. 8 pages.
        A61K9/20                  (2006.01)                                               Bnumer, M. et al., "Gastrointestinal Transit and 5-ASA Release
        A61K9/28                  (2006.01)                                               From a New :Yfcsalazinc Extended-Release Formulation," Alimcn-
        A61K9/30                  (2006.01)                                               lary Pharmacology and Therapeutics. vol. 17, pp. 395-402. copyright
                                                                                          2003 Bla;.;kwcll Publishing Lld., 8 pages .
(52)    U.S. Cl.              ....... 424/464; 424/474; 424/475
(58)    Field of Classilication Search ....................... None                                                      (Continued)
        Sec application ti1c for complete search history.
                                                                                          Prinwry Exwniner            Susan Tran
(56)                              References Cited
                                                                                          (74) Attornev. Agent, or Firm -Kothwell, Figg, Ernst &
                    U.S. PATENT DOCUMENTS
                                                                                          Manbeck p.c.
       4,608.248     A             8!1986      Knecht et al.
       5,320.848     A             6!1994      Geyer                                      (57)                          ABSTRACT
       5,342.625     A             8!1994      Hauer
       5,534.501     A             7!1996      Samain                                     Controlled release and taste masking compositions contain-
       5,597.844     A             1.11997     Chauhan                                    ing one or more active principles inglobated in a three-com-
       5,641.602     A             7.11997     lJlmius
                                                                                          ponent matrix structure, i.e. a structure formed hy successive
       5,811.388     A              9! 1998    f'riend et al.
       5,840.332     A            11!1998      Lerner et al                               mnphiphilic: lipophilic or inert inGJtrices GJnd fim11ly inglo-
       5,908.833     A     *        6!1999     Brattsa.nd et al.           514!26         bated or dispersed in hydrophilic matrices. The use of a plu-
       5,965.167     A            10!1999      Sanghvi                                    rality of systems for the control of the dissolution ofthe active
       6, 140.108    A            I 0!2000 Rrattsan<l                                     ingredient modubtes the dissolution rnte of the GJctive ingre-
       6, 190.692    RI             2.12001 Ruserti
       6,258.377     Bl
                                                                                          dient in aqueous and/or biological fluids, thereby controlling
                                    7!2001 New
       6,368.635     Bl             4/2002 Akiyama                                        the release kinetics in the gastrointestinal tract.
       6,562.363     ill            5!2003 Mantelle
       7,410.651     ll2   >!<      8!2008 Villa et al.      ............. 424/468                               4 Claims, l'lo Drawings

                                                               Cosmo v. Alvogen, et al.                                                COSMO-UCERIS-DE00001127
                                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                            US 8,293,273 B2
                                                                     P"ge2


                   OTHER PUBLICATIONS                                     D'Haens, Ci-.R.. et al., "Clinical Trial: Preliminary Efficacy and
Angelucci et al., "Budesonide for Infiammato1y Bowel Disease              Safety Study of a Nev,' Budesonide-MMXCR; 9 mg Extended-Release
Treatment," Current Medicinal Chemistiy. 2008, vol. 15, ~o. 14, pp.       Tablets in Patients \Vith Active T,eft-Sided 1:\cerative Colitis," Jour-
                                                                          nal ofCrohn's and Colitis, 2010, vol. 4, pp. 153-160, CC) copyright
2-9
                                                                          2009 European Crohn's and Colitis Organisation.
l)'Ilaens, G.R. et al., "Gudesonide MMX 1M ls Active and Safe in          Flanders, P. et al., The Control of Drug Release From Conventional
Patients \Vith Active Left-Sided Ulcerative Colitis," Br .T Clinic        ~1elt Granulation Matrices. Drng Development and Industrial Phar-
Pharmacol., 2005. vol. 61, 3 pages.                                       macy. 1987, vol. 13, No. 6, pp. 1001-1022, ((J 1987 Marcel Dekker,
Sandborn, \VJ., "Budcsonidc MMX'S:' 9 mg: Analysis ofPookdDala            Inc.
From Two Phase 3 Sludics." poster, 1 page.                                Fenaboschi, P. et al., "Estimation and Characterisation of
Maejima, T., "Application of Tumbling Melt Granulation Method to          lludesonide fablets Impurities," Journal of Phannaceutical and llio-
Prepare Controlled-Release Beads by Coating with Mixture of Func-         medical Analysis, 2008, vol. 47, pp. 636-640, 2008 Llsevier ll.V
tional .\on-Meltable and Meltable Materials," Chem Phann. Uull.,          Fiorino, G. ct al., "New Drug Delivery Syslcms in Inflammalory
1998, vol. 46, No. 3. pp. 531-533, 1!;; 1998 Pharmaceutical Society of    llmvel Disease: MMX lM and Tailored Delivery to the Gut," Current
                                                                          'v!cdiciml Chemistry, 2010, vol. 17, pp.1851-1857. :() 2010 Bcnlillun
Japan.
                                                                          Science Publlishers Ltd.
Sandborn, \V.J. et al., "Ru<lesoni<le MXXCR; 9 mg For the Tn<luct1on of
                                                                          Koutroubakis. I.. "Recent Advances in the :Yfanagement of Distal
Remission of Mild-to-Moderate Ulcerative ColiLis (CC): Data f'rom
                                                                          1:\cerative Colitis," \Vorl<l Journal of Gastrointestinal Phannacology
a Multicenter. Randomized. Double-Blind Placebo-Controlled Study          and Therapeutics. 2010, vol. 1, No. 2. pp. 43-50, :() 2010 Baishideng.
in N01th America and India," Presentation at DD\V 2011, Poster, 1
page.                                                                     i:c   cited by examiner




                                                  Cosmo v. Alvogen, et al.                                          COSMO-UCERIS-DE00001128
                                           C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                       US 8,293,273 B2
                                                                                                            2
        CONTROLLED RELEASE AND TASTE                                       1022. (1987) discloses a process making use of varying
        MASKING ORAL PHARMACEUTICAL                                        ainuunls of culluid<-Jl silica <-JS <-J puriwtiun element for a lipo-
                COMPOSTTTOI'\                                              philic inert matrix in which the active ingredient is incorpo-
                                                                           rsted
           CROSS REI'DRI'NCJ:l TO RELATED                                     The same notion of canalization of an inert matrix is
                  APPLlCAllONS                                             described in U.S. Pat. No. 4,608,248 in which a small mnount
                                                                           of a hydrophilic polymer is mixed with the substances fi.1rm-
   This application is a continuation of application Ser. No.              ing an inert matrix, in a non sequential compenetration of
13/249.839 filed on Sep. 30, 2011; which is a continuation of              different matrix materials. EP 375,063 discloses a technique
application Ser. No. 12/210,969 filed on Sep. 15, 2008. now          10    fOr the preparation of nmltiparticulatc granules fOr the con-
U.S. Pal. No. 8,029,823; which is a continuation-in-part of                trolled-release of the m;tive ingredient vvhich comprises co-
application Ser. No. 10/009,532 filed on Dec. 12, 2001, now                dissolution of polymers or suitable substances to form a inert
U.S. Pat. No. 7,431,943: which is the 35 U.S.C. 371 national               matrix with the active ingredient mid the subsequent deposi-
stage nflntcrnational application PCT/F.P00/05356 filed on                 tion of said solution on an inert carrier which acts as the core
J1m. 9, 2000; which claimed priority to Italian applications         15    of the device. Alternatively, the inert carrier is kneaded with
!Vll2000A000422 and Ml99A0013 l 7 filed Mar. 3. 2000 and                   the solution containing the inert polymer and the active ingre-
Jun. 14, 1999. respectively. ·111e entire contents of each of the          dient, then the organic solvent used for the their dissolution is
GJbove-identified <1pplic<1tions (:Ire hereby incorpornted by ref-         ev<-Jponited off tu obt<-Jin <-J solid residue. The resulting struc-
erence.                                                                    ture is a "reservoir", i.e. is not inacroscopically homogeneous
                                                                     20    along all the synnnetry axis of the final form. The smne
          BACKGROUND OF THE INVENTION                                      "reservoir" structure is also described in Chem. Pharrn. Rull.
                                                                           46 (3). 531-533, (1998) which improves the application
    The present invention relates to controlled release and taste          through an amiealing technique of the inert polymer layer
masking compositions containing budcsnnidc as active ingre-                which is deposited on the surface of the pellets.
dient incorporated ina three-component matrix stmcture, i.e.         25       Tu the "reservoir" structure <-Jlsu belong the products
a structure formed by successive amphiphilic, lipophilic or                obtained according to the technique described in WO
inert matrices and tina11y incorporated or dispersed in hydro-             93/00889 which discloses a process for the preparation of
philic matrices. The use of a plurality of systems mechanism               pellets in hydrophilic matrix which comprises: ---dissolution
for the control of the dissolution of the active ingredient                of the active ingredient with gastru resist<-Jnt hydruphilicpuly-
modulates the dissolution rate of the active ingredient in           30    mers inorganic solvents; drying of said suspension; sub-
aqueous and1or hio1ogica1 fluid.,. thereby controlling the                 sequent kneading mid fonnulation of the pellets in a hydro-
release kinetics in the gastrointestinal tract. and it also allows         philic or lipuphilic m<-Jtrix without distinctiunuf eliectiveness
the oral administration of active principles having mifavour-              between the two types of application. DP 0 453 001 discloses
ahlctastc characteristics nrirritating action on the mucnsacof             a inultiparticulate with "resen oir" stn1cture inserted in a
                                                                                                                1


the administration site. particularly in the bucca1 or gastric       1'5   hydrophi1ic matrix. l11c basic mu1tiparticu1atc uti1i7cs two
area.                                                                      coating membranes tu decrease the release rate of the <-Jctive
   ·1he compositions of the invention are suitable to the oral             ingredient, a pH-dependent membrane with the purpose of
administration or the etticacious1y dc1iver the active ingredi-            gastric protection and a pH-independent methacrylic mem-
ent acting topically at some areas of the gastrointestinal tract.          brnne \vi th the purpose of slo\.ving down the penetration ufthe
    The preparation of a sustained, controlled, delayed,             4U    aqueous fluid. WO 95/16451 discloses a composition only
extended or anyhow nrnditied release fonn can be carried out               fonned by a hydrophilic matrix coated with a gastro-resistant
according to diftCrent techniques:                                         film for controlling the dissolution rate of the active ingredi-
1. The use of inert matrices, in which the main component of               ent. Vvllen preparing sustained-: controlled-rele<-Jse dos<-Jge
    the matrix structure opposes some resistance to the pen-               fornis of a medicament topically active in the gastrointestinal
    etration of the so1vent due to the poor affinity towards         45    tract, it is inlportant to ensure a controlled release from the
    aqueous fluids; such property being known as lipophilia.               first ph<-Jses following mlministrntion, i.e. vvhen the inert
2. The use of hydrophilic matrices, in which the main com-                 matrices have the maximum release f3te inside the logarith-
    ponent of the matrix stmcture opposes high resistance to               mic phase, namely the higher deviation from linear release.
    the progress of the solvent, in that the presence of strongly          Said object has been attained according to the present invcn-
    hydrophilic groups in its chains, mainly branched, remark-       50    tiun: through the cu111hilliltiunof <-Jn <-Jmphiphilic nK1trix inside
    ably increases viscosity inside the hydrated layer.                    an inert matrix, the latter formulated with a lipophilic poly-
3. The use ofbiocrodiblc matrices. which arc capable ofbcing               mer in a superficial hydrophilic matrix. 1he compositions of
    degraded by the anzimes of some biological compartment.                the invention are ch<-Jrncterized by the GJbsence of a first plwse
    All the procedures listed above suffer, however, from draw-            in vvhich the medicament superficially present on the m<-Jtrix
backs and imperfections.                                             55    is quickly solubilized, and by the fact the amphiphilic layer
    lnert matrices, for example, generally entail non-linear. but          compensate the lack of affinity ofthe aqueous solvcnt\vith the
exponential, release of the active ingredient.                             lipuphilic cmnpounds forming the inner inert matrix.
    Hydrophilic matrices: have a linear behaviour until a cer-
tain fraction of active ingredient has been released. then sig-                        DISCLOSURE OF THF. lNVFNTlON
nificc-mtly deviate from linear release.                             60
   13ioerodible matrices are ideal to carry out the so-called                 The invention provides controlled release and taste mask-
"sire-release", but they involve the problem of finding the                ing oral pharmaceutical compositions containing as active
suitable enzyme or reactive to degradation. Furthermore. they              ingredient budesonidc comprising:
frequently release in situ metabolites that are not wholly                 a) a matrix consisting of lipophilic compounds with melting
toxicologically inert.                                               65       point lower than 90" C. mid optionally by amphiphilic
    A number of formulations based on inert lipophilic matri-                 compounds in which the active ingredient is at least par-
ces have been described: Drug Dev. Ind. Ph.arm. 13 (6), 1001-                 ti<-Jlly incorporated;


                                               Cosmo v. Alvogen, et al.                                             COSMO-UCERIS-DE00001129
                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                       US 8,293,273 B2
                               3                                                                         4
b) an amphiphilic matrix;                                                  ing melting point within the range of 40 to 90° C., prefer-
c) an outer hydrophilic matrix in which the lipophilic matrix              ably from 60 to 70 C. lf desired, a fatty acid calcium salt
   and the amphiphi1ic matrix arc dispersed;                               nK1y be incorpornte<l in the lipophilic mGJtrix vvhich is sub-
d) optionally other excipients.                                            sequently dispersed in a hydrophilic matrix prepared with
   A particular aspect of the invention consists of controlled             alginic acid, thus remarkably increasing the hydrophilic
release oral compositions containing as active ingredient                  matrix viscosity fo11owing penetration of the so1vent front
budcsnnidc comprising:                                                     until contact with the lipophilic matrix granules dispersed
a) a matrix consisting of amphiphilic compounds and lipo-                  inside. An amphiphilic matrix with high content in active
   philic compounds with melting point below 90° C. in                     ingredient. typically from 5 to 95% w/w, in particular from
   which the active ingredient is at least partially incorpo-        10    20 to 70%, is first prepared by dispersing the active ingre-
   rated:                                                                  dient in a mixture of amphiphilic compounds, such as
b) an outer hydrophilic matrix in which the lipophilic/am-                 lecithin, other type II polar lipids, surfactants, or in dieth-
   phiphilic matrix is dispersed, preferably by mixing;                    ykne g1yco1 monocthyl ether: the rcsu1ting amphiphilic
c) optionally other cxcipicnts.                                            111C1trix is then 111ixe<l or knemle<l, usm11ly while hot: with
   A forther aspect of the invention provides taste masking          15    lipophilic compounds suitable to fom1aninert matrix, such
oral pharmaceutical compositions budesonide containing                     as saturated or unsaturated fatty acids, such as palmitic,
cmnprising:                                                                stearic, myristic, lauric, laury1ic, or okic acid., or mixtures
an inert or lipophilic matrix consisting ofC6-C20 alcohols or              thereof with other fatty acids with shorter chain, or salts or
   C8-C20 fatty acids or esters of fatty acids with glycerol or            alcohols or derivatives of the cited fatty acids, such as
   sorbitol or other polyalcohols with carbon atom chain not         20    mono-, di-_ or triglyceride or esters with polycthyknc g1y-
   higher than six:                                                        cols: cilone or in combinGJtion with wGJxes, cermni<les, cho-
an amphiphilic matrix consisting of polar lipids of type I or II           lesterol derivatives or other apolar lipids in various ratios
   or glycols partially etherified with Cl-C4 alk.)'l chains;              so that the melting or softening points of the lipophilic
an outer hydrophilic matrix containing the above matrices,                 compounds mixtures is within the range of 40 to 90 C,
   mainly formed by saccharide, dextrin, polyakohol or eel-          25    preferably from 60 to 70 C. Alternatively, the order of
   lulose compounds or by hydro gels or their mixtures;                    fom1ation of the inert and amphiphilic matrices can be
optional excipients to give stability to the phannaceutical                reversed, incorporating the inert matrix inside the
   formulation.                                                            amphiphilic compounds. The resulting inert lipophilic
                                                                           inatrix is reduced into granules by an extn1sion and/or
    DETAILED DISCLOSURE OF THE INVENTION                             30    granulation process, or any other known processes which
                                                                           retain the homogeneous dispersion and matrix stn1cturc of
   The compositions of the invention can be prepared by a                  the starting mixture. The hydrophilic matrix consists of
method comprising the following steps:                                     excipients known as hydrogels, i.e. substances which when
a) the active ingredient, represented by budcsonidc. is first              passing from the dr)' state to the hydrated one. undergo the
   ing1obatctl by simpk kneading or mixing in a matrix or            1'5   so-ca1kc1 "molecular relaxation"_ namely a remarkable
   coating consisting of compounds having amphiphilic prop-                increase in mass and weight following the coordination of
   erties, which will be forther specified below. 'lbe active              a large number of water molecules by the polar groups
   ingredient can be mixed with the amphiphi1ic compounds                  present in the po1ymeric chains of the excipients them-
   without the aid of solvents or with small amounts of water-             selves. Examples ofhydrogels which can be used accord-
   alcoholic solvents.                                               40    ing to the invention are compounds selected from acrylic or
b) the niatrix obtained as specified under a) is incorporated in           n1cthacrylic acid polymers orcopoly111crs, alkyl vinyl poly-
   a low mc1ting 1ipophi1ic cxcipicnt or mixture ofcxcipicnts,             mers, hydroxyalkyl celluloses, carhoxyalkyl celluloses,
   if necessary while heating to soften and/or melt the excipi-            polysaccharides, dextrins, pectins, starches and deriva-
   ent itseli~ which thereby incorporates the active ingredient            tives, narnral or synthetic gllllls, alginic acid. ln case of
   by simpk dispersion forming an inert matrix \vhich can be         4'5   taste-masking formulations, the use of polyalcohols such
   reduced in size to obtain inert matrix granules containing              as xylitol, maltitol andmarmitol as hydrophilic compounds
   the active ingredient particles_                                        can also be advantageous. The lipophilic matrix granules
c) the inert matrix granules are subsequently mixed together               containing the active ingredient are mixed with the hydro-
   with one or more hydrophi1ie water-swc11ab1c cxcipicnts.                phi1ic compounds cited above in a weight ratio typically
   The mixture is then subjected to compression ortabletting.        50    ranging from 100:0.5 to 100:50 (lipophilic matrix: hydro-
   "lhis way, when the tablet is contacted with biological                 philic matrix). Part of the active ingredient can optionally
   fluids, a high viscosity swo11cn 1aycr is tOrmed, which                 he mixed with hydrophilic substances to provide compo-
   coordinates the solvent molecules and acts as a barrier to              sitions in which the active ingredient is dispersed both in
   penetration of the aqueous fluid itself inside the new struc-           the lipophilic and the hydrophilic matrix, said composi-
   rnre. Said barrier antagonizes the starting "burst effect"        55    tions being preferably in the form of tablets. capsules and/
   caused hy the disso1ution of the medicament ing1obatcd                  or minitahlcts. ll1e compression of the mixture of 1ipo-
   inside the inert matrix, which is in its turn inside the hydro-         philic and/or amphiphilic matrix, hydrogel-forming
   philic matrix. 'lbe amphiphilic compounds which can be                  compound and, optionally. active ingredient not inglobated
   used according to the invention comprise po1ar 1ipids of                in the 1ipophi1ic matrix. yields a macroscopica11y homoge-
   type I or II (lecithin, phosplmtidylcholine, phosphatidyle-       60    neous structure in C11l its volmne, ill:lmely C1111C1trix contC1in-
   thanolainine ), ceramides, glycol alk)'l ethers such as dieth-          ing a dispersion of the lipophilic granules in a hydrophilic
   ylene glycol monomethyl ether (TranscutoMf·). The lipo-                 matrix. A similar result can also be obtained by coating the
   phi1ic matrix consists of substances sekcted from                       lipophilic matrix granuks with a hydrnphi1ic polymer
   unsaturated or hydrogenated alcohols or fatty acids, salts,             coating. The tablets obtainable according to the invention
   esters or amides thereat~ fatty acids mono-, di- or triglyc-      65    are subjected to known coating processes with a gastro-
   erides, the polyethoxylated derivatives thereof, waxes,                 resistant film. consisting ot; for exmnple. acrylic andmeth-
   cernmi<les, cholesterol <leriw1tives or mixtures thereofillJv-          acrylic acids polymers (EudragitlID) or copolymer or cellu-


                                               Cosmo v. Alvogen, et al.                                         COSMO-UCERIS-DE00001130
                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                       US 8,293,273 B2
                               5                                                                                 6
  lose derivatives, such as cellulose acetophthalate. The                 during a timefrmne from 6 to 12 hours: the dissolution per-
  composition of the invention C(:lll further contGJin cunven-            centage obtained with this tablet formulation were below
  tinna] cxcipicnts, for cxampk binadhcsivc cxcipicnts such               15%) at first hour samp1ing, below 25~0 at second hour sam-
  as chitosans, polyacrylamides, natural or synthetic gmns,               pling, then values \Vere in the range 25o/o to 55% at fourth hour
  acrylic acid polymers.                                                  m1d ci dissolution greater than 80~0 was achieved at       gth   hour
  'lhe compositions of the invention are preferably in the                sampling.
frmn nftabkts, capsuks or minitahkts. In terms of dissolu-
tion characteristics, contact with water or aqueous fluids
causes the innnediate penetration of water inside the more
superficial layer of the matrix \Vhich, thruiks to the presence of 10
the ::tqueous solvent: swells due tu the distension of the poly-        2.7 kg of budcsonidc, 1.0 kg of lecithin (amphiphilic
meric chains of the hydrogels, giving rise to a high viscosity        matrix forming material) and 3.0 kg of stearic acid (lipopb.ilic
hydrated front which prevents the further penetration of the              matrix forming material) are mixing after sieving till an
solvent itsclf1incar1y s]m,ving down the dissolution process to           hu111ogeneous mixture is obtained; then m1d 39.0 kg of inert,
a well determined point which can be located at about half the      15    functional excipients mid 9.0 kg oflow viscosity hydroxypro-
thickness, until the further penetration of water would cause             pylceHulosc (binder) and n1ix for 10 minutes before adding
the disintegration of the hydrophilic layer and therefore the             purified water m1d kneciding to a suitcible consistence. Then
releC1se of the content which, consisting of inert m:Jtrix gnm-           pass the granulate through a rotating granulator equipped
ules, however induces the diffusion mechanism typical of
                                                                          with the suitable screen and trmisfer the granulate to the fluid
these structures and therefore further slows down the disso-        20
                                                                          bed drier to lower the resid1wl moisture content under 3%.
lution pmti1c of the active ingredient. The presence of the
amphiphilic matrix inside the lipophilic matrix inert allows to             After a new sieving on the dry, the granulate is added of9.0
prevent any uneve1111ess of the release profile of the active             kg of hydroxypropylccllulosc (hydrophilic matrix forming
ingredient. 'lhe surfactants present in the mnphiphilic portion           material) and the suitable mnount of functional excipients (in
promote wettcibility of the porous cailllliculuses vvhich cross     25    particular, microcrystalline cellulose, lactose mid silicon
the inert matrix preventing or reducing resistance to penetra-            dioxide) and, after 15 minutes of mixing, magnesium stearatc
tion of the solvent inside the inert matrix. To obtain taste              in a suitable quantity tu ::tel as lubriccint is added.
masking tablets, the components of the hydrnphi1ic matrix arc               After a final blending, tablets of around 100 mg of unitary
carefully selected tu minimize the cictive substance release              weight :Jre genernted.
time through penetration accelerated by the canalization            30      TI1c core arc then subjected to be coated \Vith a suspension
induced by the hydrophilic compound.                                      obtained introducing into a stainless steel container 5.8 kg of
                                                                          Eudragit™ (methacrylate copolymers), 0.6 kg of triethylci-
                     EXPERIMENTAL PART                                    trate and 3.0 kg of dyes and talc, using alcohol as solvent.
  To test the effective ability of the formulations of the invcn-   1'5
                                                                            'l'he mean dissolution percentage (as average of six or inore
ti on to modify the release rate and extent of the active ingre-          tablets) obtained with this tablet formulation were around
dient from the dosage form suitable for the drug administra-              10-20% al second hour smnpling, in the range 25% lo 65% "I
tion. before any pharmacokinetic study on patients or                     fourth hour and a dissolution greater than 80% was achieved
volunteers, the dissolution test is taken as monitoring and               at 8'" hour sampling.
discriminating tool. Dissolution Test Method.                       40
  Tablets according to the present invention undergo to dis-                                                  Example2
solution test to verit)rthc tl1rmulation capacity in modulating
and controlling the rate by which the active ingredient is
leal,ed by the device or dosage form in the enviromnental
medium. generally a butlCrcd solution simulating gastric or         4'5
intestinal juices.                                                                  Component                            mgtcablct
   The dissolution test is performed by introducing individual                      Tablet
tablets in a glace vessel containing from 500 to I 000 ml of a
buffered solution set to difkrcntpH conditions (pH 1. 6.4 and                       I3udesomde                               9.0
7.2 are the pll condition generally used in this test applica- so                   Stcaric Acid                            10.(J
                                                                                    Lecithin                                10.0
tions ), so that the whole digestive tract pH conditions, from                      M1crocrista.lhne cellulose             156.0
stomach to large intestine, should he reproduced. To simulate                                                               60.0
the human bodv conditions, the test is carried out at a tem-                                                                50.0
peramre of 37° 'c.+-<~2° C. and at predetermined time peri-                         Silicon dioxide                          2.0
                                                                                    l\fagnesiurn ste::uate                   3.0
ods smnples of the dissolution medium are withdrawn to              55
                                                                                    Coating matenals
detect the percentage of active ingredient dis so lvcd over time.
  The tablets according to the present invention, when                                                                      14.0
designed to be used to treat inflanllllatory bowel disease, in                                                              12.0
                                                                                    Tak                                      7.9
principle have to show a good resistance, thanks to the poly-                       Tit.'lnium c-lioxierl.e                  4.5
meric film resistant to the low pH comlitiuns (intended as <5       60                                                       1.6
to simulate the gastric envirotll11ent) applied to cover the                                                                q.s.
tablet surface, resistmice which last at least for two hours: to
target the large intestinal sectors, also the pH condition of 6.4
shown unsuitability to determine a drug leakage from the                    According to the present invention. coated tablets individu-
administration device for a short exposition time and only          65    ally weighing aboul 220 mg are obtained.
mediums at pH 7 .2 have been able to determine an active                     The above described dissolution test is performed on the
ingredient dissolution :Jt ci progressive and quite constant rate         tablets of Example 2.

                                               Cosmo v. Alvogen, et al.                                              COSMO-UCERIS-DE00001131
                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                               US 8,293,273 B2
                                      7                                                                                 8
   The results are the following (indicated as average value):

                                                                                             afler 2 hours al pH 1
                                                                                             after 1 hom :it pH 6.4
           after 2 hcmn; at pH 1            resistant (<)%1)                                 after 2 hours at pH 7.2
                                            resistant (<5%)                                  after4homs atpH7.2
           a.rter 1 hour at pII 6.4
           aller 2 houru al pH 7.2          15%                                              after 8 hours at pll 7.2
           afl-er4 hcmn; at pH 7.2          17%1
           after 8 hours at pH 7.2          SJ1%

                                                                                                                 RxamplcA
                                                                            10
                               Example 3                                               500 g of 5-aminosalicylic-c-H.:id <-1nd 20 g of octylonium
                                                                                  bromide arc mixed with 10 g of soy lecithin dissolved in 50 g
   Budesonide (3.0 kg) is mixed with soybean Lecithin (5.0
                                                                                  of a water: ethyl alcohol 1 :3 mixture at about 50° C. After
kg) till an homogeneous mixture is obtained. Then carnauba
wax (2.0 kg) and stearic acid (2.0 kg) sieved through a fine                      homogenization and drying, the granules of the resulting
                                                                            15
screen arc added. After mixing. the powders arc added with                        lill:ltrix <-1re treated ina knem1erwith 20 g of carn<-1ubci \.Vcix and
other functioillll excipients GJncl knemled with Cl binder solu-                  50 g uf stearic acitl, heating until ho111ugeneuus dispersion,
tion obtained by dissolving medium viscosity polyvinylpir-                        thencold-extrnded into small granules. TI1e inert matrix gran-
rolidone in water. After drying in a fluid bed and milling                        ules are loaded into a mixer in which 30 g of carbopol 971 P
throughout a suitable screen, hydroxypropylmethylcellulose                  20    and 65 g ofhydroxypropyl methylcellulose "are sequentially
(35.0 kg) and other excipients, including magnesium stearate                      added.'' After a first mixing step for homogeneously dispers-
as lubricant. in a suitable quantity are added and the mixture                    ing the powders, 60 g of microcrystalline cellulose and 5 g of
is blended till an homogeneous powder dispersion is                               magnesium stearate are added.After mixing, the final mixture
obtained.                                                                         is tabletted to unitary weight of760 mg/tablet. The resulting
   The powder mixrnre is subjected to compression in a rotat-               25    tablets are fihn-coated with cellulose acetophthalate or poly-
ing tabletting machine and the tablets so obtained are coated                     methacrylatcs and a plasticizer to provide gastric resistance
in <-.1 p(:ln cu:Jt with <-.1 gC1struresistm1t co111positiun conl(:lining         and prevent the early release of product in the stomach.
Dudragit™, plasticizers, dyes and pigments.                                           The resulting tablets, when subjected to dissolution test in
   According lo the present example, coated tablets individu-                     simulated cntcric juice, have shown a release of the active
ally weighing around 105 mg are obtained.                                   30    principles having the following profile: after 60 minutes no
   The results of the ::tbove described dissolution test :Jre the                 more than 30"/o, after 180 minutes no more thm1 60%, after 5
following (indicated as average value of at least six tablets):                   hours no more than 80~,~-

                                                                                                                 ExmnpleB
           after 2 hcmn; at pH 1            resistant(<)%.,)
           after 1 hour at pH 6.4           resistant (<5%)                          50 g of diethylene glycol monoethyl ether are homoge-
           aller 2 houru al pH 7.2            !)%                                 neously distributed on 500 g of microcrystalline cellulose;
           afl-er4 hcmn; at pH 7.2           28%1                                 then 100 g of Budesonide are added, mixing to complete
           after 8 hours at pH 7.2           86%
                                                                                  hu111ogeniz<-1tion. This mix is further m1ded with 400 g of
                                                                            40    13udesonide, then dispersed in a blender containing l 00 g of
                                                                                  carnauba wax and 100 g of stearic acid preheated at a tem-
                               Example 4                                          perature of 60° C. After kneading tl1r 5 minutes, the mixture
                                                                                  is cooled to room te111pernture and extruded in grnnules of sit:e
   50 g of diethylene glycol monoethyl ether are homoge-                          below 1 nm1.
neously distributed on 500 g of micmcrysta11inc cc11u1osc;                  4'5      A suitable mixer is loaded with the matrix granules pre-
then 100 g of 13udesonide are added, mixing to complete                           pared as above and the following amounts of hydrophilic
homogenization. This mix is further added \Vith 400 g of                          excipients: 1500 g ofhydroxypropyl methylcellulose and 500
Budesonide, then dispersed in a blender containing 100 g of                       g of policarbophil.
carnauba wax and 100 g of stcaric acid preheated at a tcm-                           TI1e components arc mixed until homogeneous dispersion
peramre of 60 [deg.] C. After kneading for 5 minutes, the                   50    of the matrices, then added with 2450 g of microcrystalline
mixture is cooled to room temperamre and extrnded in grm1-                        cellulose, 400 g of lactose, 100 g of colloidal silica and 50 g
u1cs of si7c bc1ow 1 mm. A suitah1c mixer is loaded with the                      of magnesium stearate. After further 5 minute mixing, the
matrix grmrnles prepared as above and the following amounts                       mix is tabletted to unitary weight of250 mg/tablet.
of hydrophilic excipients: 1500 g ofhydroxypropyl methyl-
cellulose and 500 g of PolicarbophiJ 1 M are added. The com-                55                                   ExmnpleC
poncnts arc mixed until homogeneous dispersion of the
matrices, then added with 2450 g of microcrystalline cellu-                          850 g of metformin are dispersed in a granulator/kneader
lose, 400 g of lactose, 100 g of colloidal silica mid 50 g of                     with 35 g of diethylene glycol monoethyl ether previously
magnesium stearatc. After further 5 minute mixing, the mix is                     mc1tcd with 100 g of stcaric acid and 55 g of carnauba wax.
tabletted lo unitary \\eight of250 mg/tablet.                               60    The system is heated to ccirry out the granufation of the active
   Tablets are then subjected to coating using a suspension n                     ingredient in the inert matrix. The resulting 1040 g of formu-
containing polyacrylate and poly methacrilate copolymers in                       lation are added with 110 g ofhydroxypropyl methylcellulose
addition to other dyes, plastici7crs and colouring agents in                      and 20 g of magnesium stearatc.
solvent (ethylic alcohol).                                                           The final mixture is tabletted to unitary weight of 11 70
   'lhe results of the dissolution test performed on these                  65    mg/tablet equivalent to 850 mg of active ingredient.
coated tablets are the following (indicated as average value of                      The resulting tablets, when subjected to dissolution test in
al least six tablets):                                                            simulated enteric juice, lruve shown ci release uf the active


                                                    Cosmo v. Alvogen, et al.                                                COSMO-UCERIS-DE00001132
                                             C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                      US 8,293,273 B2
                               9                                                                        10
principles having the following profile: after 60 minntes no               The final mixture is tabletted to unitary weight of 500
more tillm 35~-0, cifter 180 minutes no more th.om 60%: GJfter 5        mg/tciblet equiv::tlent to 200 mg of cictive ingredient.
hours no more than 80~,0.                                                  TI1e resulting tablets, vvhen subjected to dissolution test in
                                                                        simulated enteric juice, have shown a release of the active
                           Example D                                    principles lmving the following profile: :Jfter 1 hour no more
                                                                        than 25~-Ci, atkr 2 hours no more than 40%1. after 4 hours no
   120 g of octylonium bromide are dispersed in a granulator/           more than 60%. after 8 hours no more than 90%.
kneader with 30 gof stearic acid am! 15 g ofbeeswax in which
10 g of dicthylcnc glycol mnnocthylcnc had previously been                                          Example H
melted.                                                            10

   The system is hecited to c<-Jrry out the gnmulcition of the             500 g of propionyl camitine are dispersed in a granulator/
active ingredient in the inert matrix. TI1c resulting 10 g of           kneader with 90 g ofstearic acid and 40 g ofcarnauba wax, in
formulation are added with 5 g of hydroxypropyl methylcel-              which 20 g of diethylene glycol monoethyl ether had previ-
lulose and 5 g of policarbophyl, 2 g of magnesium stearate              ously been melted. 'lbe system is heated to carry out the
                                                                   15   granulation of the active ingredient in the inert1amphiphilic
GJm13 g ofmicrucryst.cilline cellulose.
   ·1he final mixture is lable!Led lo unitary weight of 200             matrix. The resulting 650 g of formulation are added with 60
mg/tablet equivalent to 120 mg of active ingredient.                    g of hydroxypropyl methylcellulose and l 0 g of magnesium
   The resulting tablets, when subjected lo dissolution lest in         stearate.
                                                                           The final mixture is tablelled to unitary weight of 720
simulated enteric juice, have shown a release of the active        20   mg/tablet equivalent to 500 mg of active ingredient.
principles having the following profile: after 60 minutes no
                                                                           'lbe resulting tablets, when subjected to dissolution test in
more than 25%; after 180 minutes no more than 50%: after 5              simulated enteric juice, have shown a release of the active
hours no n10re than 70%i.                                               principles having the following profile: after 60 minutes no
                                                                        more than 40"/o, after 180 minutes no more than 60%, after 4
                           Example E                               25   hours no inore than 80%, after 8 hours no n10re than 90%i.

   12 g of diethylene glycol monoethyl ether are loaded on 6                             Example!
g of inicrocryst<-Jlline cellulose m1d 6 grmns of cGJkium c:Jr-
bonate, then l 00 g ofGabapentin are added and the mixture is       One kg of Nimesulide is placed in a high rate granulator,
homogenized. After that, 800 g of Gabapentin are added 30 pre-heated to about 70°, together with 200 g of cetyl alcohol
which are dispersed in a granulator/kneader with 4.5 g of       and 25 g of glycerol palmitostearate the mixture is kneaded
white wax and 5 g of stcaric acid. The system is heated to      fi.ir about 15 minutes and stirred while decreasing tempera-
carry out the granulation of the active ingredient in the inert ture to about 30° C. The resulting inert matrix is added,
matrix. The resulting 916.5 g of formulation are added with     keeping stirring and kneading during cooling, with 50 g of
39.5 g ofhydroxypropylmethylcellulose, 10 g ofalginic acid, " soy lecithin and 50 g of ethylene glycol monoethyl ether. The
11 g of magnesium stcaratc and 6 g of syloid. The final                 granulate is extn1ded through a metallic screen of suitable
mixture is tabletted to unitary weight of 1000 mg/tablet                size and mixed with 50 g ofhydroxypropyl methylcellulose,
equivalent to 900 mg of active ingredient.                              1320 kg of maltodextrins, 2 kg of lactose-cellulose mixture,
                                                                        50 g nfcnllnidal silica. 40 g nfaspartamc. 150 g nfcitric acid,
                           Example[                                40   7 5 g of flavour and 65 g of magnesium stearate. The final
                                                                        mixture is tabletted to unitary \Veight of about 500 mg: having
   50 g (25 g) nfcarbidnpa and 200 g (100 g) nflcvndnpa arc             hardness suitable for being dissolved in the mouth and a
dispersed in a granulator/kneader with 60 g (30 g) of stearic           pleasant taste.
acid and 30 g (15 g) of yellow wax, in which 10 (5) g of
diethylene glycol monoethyl ether had previously been 45                                     Example J
melted.
   The system is heated to carry out the granulation of the            Operating as in the preceding Example, chewable tablets
active ingredient in the inert matrix. The resulting 340 g (170     are prepared replacing dextrin with mannitol and the lactose-
g) of formulation arc added with 20 g (10 g) nfhydrnxyprnpyl        cellulose mixture with xylitol. The resulting tablets have
methylcellulose, 10 g (5 g) of xanlangum, 16 g (8 g) of so ple<-Js<-Jnt t.ciste cind give upon chevving ci sens<-Jtion of freshness
microcrystalline cellulose, 4 g (2 g) of magnesium stearate.        enhancing the flavour.
   ·1he final mixture is tabletted to unitary weight of400 (200)
mg/tablet equivalent lo 50 (25) mg of carbidopa and 200                                      ExampleK
(-100) mg di levodopa.
                                                                 55    Operating as described in J:ixmnple l, but with the follow-
                            Example G                               ing components:

   4 g of Nimesulide are solubilised in 50 g of diethylene
glycol monoethyl ether, then 100 g of microcrystalline cellu-
                                                                            actiYc i11g.rcdicnt: 1buprofon           mg         100
lose :Jre m1ded to obt::tin ci ho111ogeneous mixture.          60
                                                                            llpophilicill1elt nrnt1·ix compone11t:   mg          15
   The resulting mixture is added in a granulator/kneaderwith               cetyl alcohol
196 g of Nimesulide, 50 g of stearic acid and 25 g of carnauba              amphiphihc matrix component:             mg
wax. The system is heated to carry out the granulation of the               soy lecithin
                                                                            hydrophilic matrix components: manmtol   mg         167
active ingredient in the inert and amphiphilic matrix system.               maltodcxtrins                            mg         150
   425 g of the resulting granulate are added with 60 g of         65                                                mg          30
hyclroxypropyl methylcellulose, 5 g ofpolicarbophil and 10 g                                                         mg          15
of m<1gnesium stecirnle.


                                              Cosmo v. Alvogen, et al.                                          COSMO-UCERIS-DE00001133
                                       C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                       US 8,293,273 B2
                                    11                                                                     12
                               -continued                                                              -continued
    llavour                                   mg                              n1allodextri11s                             mg            96
    colloidal silica                          mg                                                                          mg            10
    magncsiwn stcaratc                        mg                                                                          mg             3
                                                                                                                          mg
                                                                              col101dal silica                            mg
   500 mg unit"ry weight t"blets "re obtained, which undergo                  magncsmm stcaratc                           mg
progressive erosion upon buccal administration, and cftCc-
tively mask the bitter, irritating taste of the active ingredient.           150 mg unit"ry weight t"blets are obtained, which undergo
                                                                     10   progressive erosion upon bucc(:ll m1ministrntion, (:Ind effec-
                               Example L                                  tively mask the irritating taste of the active ingredient.

  Opernting "' described in Example I, but with the follow-
ing components:
                                                                     15
                                                                             One Kg ofNimesulidc is placed in a high rate granulator,
                                                                          pre-heated to about 70°, together with g 125 ofcetyl alcohol:
                                                                          the mixture is kneatletl for about 15 nlinutes and stirred \vhile
    active ingredient: diclofen:ic sodium     mg          25              decreasing temperature to about 30° C., then added with g 30
    hpophilic/inert matrix component:         mg
                                                                          of lecithin. The resulting matrix is then extmded through a
    cdvl akol1ol
    gl;ceroi ""'m"''''"''."'"                 mg                          metallic screen of suitable size and mixed with 2.415 kg of
                                                                     20
                                              mg                          bctose. 1.0 kg of m"ltodexlrins, 50 g ofhydroxypropyl meth-
                                                                          ylcellulose, 50 g of colloicfal silic(:I, 40 g of (:!Sp(:lrl(:lme: 150 g
                                              mg         168              of citric acid, 75 g oftlavour and 65 g of magnesium stearatc.
                                              mg         150              The final mixture is tabletted to about 500 mg tablets, having
                                              mg          20
                                                                          hardness suitable for being dissolved in the mouth and pleas-
                                              mg
                                                                     25   ant taste.
    llavour                                   mg
    colloirl.al silica                        mg                             The invention cfai111ed is:
    magnesiwn stearate                        mg                             1. A controlled release oral pharmaceutical composition
                                                                          comprising:
   400 mg unitary weight tablets are obtained, which undergo                 (1) a tablet core comprising:
                                                                     30         a) budesonide in an amount effective for treatment of
progressive erosion upon buccal administration, and cff-Cc-
tively mask the irritating taste of the active ingredient.                         inflarmnatory bowel disease in the gastrointestinal
                                                                                   tract.
                              Ex"mpleM                                          b) stearic acid:
                                                                                c) lecithin: and
  Operating as described in Example I, but with the follow- "                   d) hydroxypropyl cellulose: and
ing cmnponents:                                                              (2) a gastro-resistant coating on said tablet core, said coat-
                                                                                ing comprising at least one methacrylic acid polymer.
                                                                             2. The composition of claim 1, wherein said tablet core
                                                                          further comprises microcrystalline cellulose, lactose. and
                                              mg          2.5        40   magnesimn stearate.
                                              mg          0.5
                                                                             3. The cornposition of clairn 1, con1prising 9 mg of budes-
    glycerol palmilosLearnle                  mg          0.5             onide.
    ::imphiphilic matri-x                     mg          0.1                4. The composition of claim 2, comprising 9 mg ofbudes-
    dictbyknc
                                                                          onide.
    hydropluhc matrix comp011enls: xyhlol     mg         38




                                                   Cosmo v. Alvogen, et al.                                        COSMO-UCERIS-DE00001134
                                            C.A. No. 1:15-cv-193; -164; -116 (LPS)
EXHIBIT 3
                                                                               Illlll llllllll Ill lllll lllll lllll lllll lllll 111111111111111111111111111111111
                                                                                                              US008784888B2


c121   United States Patent                                                              (lOJ   Patent No.:                    US 8,784,888 B2
       Villa et al.                                                                      (45)   Date of Patent:                           *Jul. 22, 2014

(54)    CONTROLLED RELEASE AND TASTE                                                     5,955,502      A        9!1999 Hansen et al.
        :\'IASKil'IG ORAL PHAR:\'IACEUTICAL                                              5,965,167      A       10!1999 Sanghvi
        COMPOSITION                                                                      6,140,308      A       I 012000   Brartsan<l
                                                                                         6,190,692     Bl        2/2001 Busctti
(75)    lnventors: Roberto Villa. Lecea (ff); Massimo                                    6,239,120     Bl*       5!2001 Hallgren et al.                 514/174
                   Pedrani, Gignese (IT); Mauro Ajani,                                   6,258,377     131       712001 Nev,'
                                                                                         6,363,635     Bl        4!2002 England
                   Mifan (IT): Lorenzo Fossati, Mifan (IT)
                                                                                         6,368,629     Bl        4!2002 \\latanabe et al.
                                                                                         6,562,:163     R1       5.1200'.) Mantelle
(73)    Assignee: Cosmo Technologies Limited, Dublin
                                                                                         7,410,651     B2         8!2008   Villa et al.
                  (IE)                                                                   7,410,652     B2         8!2008   Villa et al.
                                                                                         7,431,943      R1      I 012008   Villa et al.
( *)    Notice:         Suhjcct to any disclaimer, the term nfthis                       8,029,823     B2       10/2011    Villa cl al.
                        patent is extended or adjusted under 35                      2006/0134208       Al*      6!2006 Villa el al.      ............... 424/468
                        U.S.C. 154(b) by 0 days.                                     2012/0021052       Al       1!2012 Villa et al.
                        This patent is subject to a tcrmina1 dis-                    2012/0021053       Al       1!2012 Villa et al.
                        cl<Jimer.
                                                                                                   PORDIGN PATENT DOCUMENTS
(21)    Appl. No.: 13/617,138                                                       CA                   2119253            ll/1998
                                                                                    UP               0 375 063      131      6/1990
(22)    Filed:          Sep.14,2012                                                 EP               0 453 001       Al     I0/1991
                                                                                    EP                 0482576               4/1992
(65)                      Prior Publication Data                                    EP               0 514 008              11/1992
        US 2013/0022679 A 1               .Tan. 24. 2013                            EP               0 514 008       Al     1111992
                                                                                    EP                 0514008              ll/1992
                                                                                    GB                  935639               9/1963
                   Related U.S. Application Data                                    WO                9li00889       Al       1/199'.)
(63)    Conlimmlion of application No. 13/462,409, filed on                         WO                96113273               5/1996
        May 2, 2012, now Pat. No. 8,293,273, which is a                             WO                 9800169               l/1998
                                                                                    WO             WO 99il 1245              311999
        continuation of application No. 13/249,839. filed on
                                                                                    WO             WO 99117752               4/1999
        Sep. 30. 2011, \vhich is a continuation of appEcatinn
        No. 12/210,969, filed on Sep. 15, 2008, now Pat. No.
        8,029,823, which is a continuation-in-part of                                                    OTIIER PUI3LICATIONS
        application No. 10/009,532, filed as application No.                        Travis, S. et al.. Poster. "'Induction of Clinical and Endoscopic Remis-
        PCT/EP00/05356 on .Tun. 9, 2000, now Pat. No.                               sion with Budesonide M:YfX in Mild-to-:Yfoderately Active Ulcer-
        7.431.943
                                                                                    ative Colitis, Magniu1de of Response in Two Phase III Studies," Oct
                                                                                    20-24, 2012, Amsterdam, LLG Week, 1 page
(30)                Foreign Application Priority Data
                                                                                    Li\..'.hlcnstcin, G. ct al., Poster, '"Eliccl ofBudcsonidc MIVIX 6 mg on
   Jun. 14, 1999         (ff) ................................ !V1199Al3 l 7        Lhc Hypolhalamic-Piluilary-Adrcnal (HPA) Axis in Palicnls wilh
    Mar. 3, 2000         (IT) .                             MI2000A0422             Llcerative Colitis: Results from Phase III, 12 :Yfonth Safety and
                                                                                    Extended Use Study," May 2012, San Diego, CA, 1 page.
(51)    Int.Cl.                                                                                                    ((' o nti nucd)
        A61K9/28                     (2006.01)
        A61K9/20                     (2006.01)
(52)    U.S. Cl.                                                                    Prinwry Exwniner             Susan Tran
        USPC             424/474; 424/464; 424/465; 424/469
                                                                                    (74) Attornev. Agent, or Firm -Kothwell, Figg, Ernst &
(58)    Field of Cla"ification Search
                                                                                    Manbeck P. C.
        None
        See application file for complete search history.
                                                                                    (57)                          ABSTRACT
(56)                      Reference• Cited
                                                                                    Controlled release and taste masking compositions contain-
                   U.S. PATENT DOCUMENTS
                                                                                    ing one or more c-u..:tive principles inglobGJled in <-1 three-com-
       3,800.051    A      3! 1974 Barnlmrl cl al.                                  ponent nrntrix structure, i.e. a structure fanned by successive
       4,608.248    A       8/ 1986 Kncchl cl al.                                   amphiphilic, lipophilic or inert matrices and finally inglo-
       5,320.848    A      6/ 1994   Geyer                                          baled or dispersed in hydrophilic malrice<. 'lbe use of a plu-
       5,342.625    A      8/1994    llauer
       5,534.501    A      ?/ 1996   Samain                                         rality of systems for the control of the dissolution ofthe active
       5,597.844 A         1.11997   Chauhan                                        ingredient modulates the dissolution rate of the active ingre-
       5,643.602    A     7/ 1997 Ulmius                                            dient in <-1queous m1d/or biologicGJl fluids, thereby controlling
       5,681.584    A * 10/ 1997 Savastano ct al. ............ 424/473              the rckasc kinetics in the gastmintcstina1 tract.
       5,811.388    A * 9! 1998 Friend et al ................... 424/474
       5,840.332    A * l li 1998 Lerner et al ............ 424/464
       5,874.061    A     2i 1999 Briggner et al.
       5,908.8:n    A     6.11999 Brattsan<l et al.                                                          9 Claims, l'I o Drawings


                                                     Cosmo v. Alvogen, et al.                                                    COSMO-UCERIS-DE00000292
                                              C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                           US 8, 784,888 B2
                                                                    P"ge2


(56)                    References Cited                                 Flanders, P. et al., The Control of Drug Release From Conventional
                                                                         :\-felt Granulation Malriccs. Drug Devclopmcnl and Industrial Phar-
                   OTIII'R PUDUCATIONS                                   macy. 1987, vol. 13, No. 6, pp. 1001-1022, © 1987 Marcel Dekker,
                                                                         Inc.
Sandborn, W J. et al, ''Once-Daily iludesonide M~LX® lixtended           Fenaboschi, P. et al., "Estimation and Characterisation of
Release Tablets Induce Remission in Patients \'\-'ith Mild to Moderate   lludesonide fablets Impurities," Journal of Phannaceutical and llio-
Ulcerative Colitis: Results From the CORE TStudy," Ci-astroenterol-      medical Analysis, 2008, vol. 47, pp. 636-640, 2008 l.Jsevier ll.V
ogy 2012, vol. 143, pp 1218-1226.                                        Fiorino, CJ. et al., "New Drug Delivery Systems in Inflammatory
Jantzen, Ci-.M. et al., "Sustained- and Controlled-Release Drug Deliv-   Bmvel Disease: MMX™ and Tailored Delivery to the Gut," Current
ery Systems." Modern Pharmaceutics, 3rd Ldition, Revised and             :V!edicinalChemistry, 2010, vol.17, pp.1851-1857. ~2010Bentham
Expanded, pp. 575-609. <\; 1996 by Marcel Dekker. Inc., 37 pages.        Science Publlishers ltd.
Angelucci et al., "lludesonide for lnflaimnatory llmvel Disease          Koutroubakis. I.. "Recent Advances in the :\-fai1agement of Distal
Treatment," Current Medicinal Chemistiy. 2008, vol. 15, ~o. 14, pp.      Llcerative Colitis," \'\-'orld Journal of Gastrointestinal Phannacology
2-9                                                                      and Therapeutics. 2010, vol. 1, No. 2. pp. 43-50, ~(1 2010 llaishideng.
D'Haens; G.R. et al., "Budesonide MMXTM Is Active and Safe in            Steward, P.. "Review of Pharmaceutical Controlled Release Methods
Patients \Vith Active Left-Sided Ulcerative Colitis," Br .T Clinic       and Devices", 1995, pp. 1-9.
Phannacol., 2005. vol. 61, 3 pages.
                                                                         Physical Pharmacy, Chapter 19: Drug Product Design, 0\.'.L 1993. pp.
Macji~ T., "Application of Tumbling Mell GranulaLion Melho<l to
                                                                         515-519.
Prepare Controlled-Release Beads by Coating with Mixture ofFunc-
                                                                         :Yforo. et al.. "Drug Delive1y Systems: Diffusion Controlled Sys-
lional '\"on-Mdlabk and Mdlabk 1'falcrials," Chem. Phann. Bull.,
1998, VoL 46, No. 3, pp. 531-533, ,i;, 1998 Pharmaceutical Society of    tems", Il Prodotto Chimico & Aerosol Selezione (The Chemical &
Japan.                                                                   Aerosol Selection), Apr. 1985. pp. 16-24.
Sandborn, W J. et al .. ''lludesonide MX,X® 9 mg for the Induction of    llnmner, M. et al.. "Gastrointestinal Transit, Release and Plasma
Remission of Mild-to-Moderate Ulcerative Colitis (CC): Data From         Pharmacokinetics of a Ne\\ Oral Budesonidc Formulation." Briti:,h
a Multicenter. Randomized. Double-Blind Placebo-Controlled Study         Journal of Clinirnl Pharmacology, DOl:IO.l l l l/j.1365-2!25.2005.
in No1th America and India," Presentation at DD\'\' 2011, Poster, 1      02517 .x, pp. 1-8, copyright 2005 Blackwell Publishing Ltd .. 8 pages.
page.                                                                    llnmner, M. et al., "Gastrointestinal Transit and 5-ASA Release
D'Haens, G.R., et al., "Clinical Trial Preliminaiy Efficacy and          From a Ne\~' :Yfesalazine Extended-Release Formulation," Alimen-
Safety Sn1dy of a New Budesonide-MMXCR;: 9 mg Fxtended-Release           tary Pharmacology and l'herapeutics. vol 17, pp. 395-402. copyTight
Tablets in Patients \Vith Active Left-Sided llcerative Colitis," Jour-   200:1 Rlackv•.'ell Publishing Ttd., 8 pages.
nal ofCrohn's and Colitis, 2010, vol. 4. pp. 153-160, '.C,1 copyright
2009 European Crohn's and Colitis Organisation.                          * cited by examiner




                                                Cosmo v. Alvogen, et al.                                          COSMO-UCERIS-DE00000293
                                           CA No. 1:15-cv-193; -164; -116 (LPS)
                                                       US 8,784,888 B2
                                                                                                       2
        CONTROLLED RELEASE AND TASTE                                        Hydrophilic matrices have a linear behaviour until a certain
        MASKING ORAL PHARMACEUTICAL                                      fraction of active ingredient has been released; then they
                COMPOSTTTOI'\                                            signiflc.cintly deviC1te from lineC1r releC1se.
                                                                            BioerodibJe nrntrices are ideal to carry out the so-called
           CROSS REFERENCE TO RELATED                                    "site-release", but they involve the problem of finding the
                  APPT ,JCATTONS                                         suitable enzyme or reactive to degradation. Furthermore, they
                                                                         frequently release in situ metabolites that are not wholly
   This application is a continuation of application Ser, No,            toxicologically inert.
13/462,409 Jiled on May 2, 2012, now U,S, PaL No, 8,293,                    A number of fonnulations based on inert lipophilic matri-
                                                                    10   ces have been described: Drug Dev. Ind. Phann. 13 (6), 1001-
273; which is a continuation of Ser. No. 13/249.839 tiled on
                                                                         1022, ( 1987) discloses a process making use of varying
Sep. 30. 2011; which is a continuation of application Ser. No.
                                                                         amounts of colloidal silica as a porization element for a lipo-
12/210,969 Jiled on Sep. 15, 2008, which reissued as U.S. Pat.
                                                                         philic inert matrix in which the active ingredient is incorpo-
No. RFA3,799 from U.S. Pat. No. 8,029.823: which is a                    rnted.
continuation-in-part of application Ser. No. 10/009,532 filed       15      The same notion of canalization of an inert matrix is
on Dec. 12, 2001, now U.S. Pat. No. 7,431,943: which is the              described in U.S. Pat. No. 4,608,248 in which a small mnount
35 U.S.C. 371 national stage of International application                of a hydrophilic polymer is mixed with the substances fi.1rm-
PCT/EP00/05356 filed on Jun. 9, 2000; which claimed prior-               ing an inert matrix, in a non sequential compenetration of
ity to Italian applications MI2000A000422 and                            different matrix materials.
lv1199A001317 Jiled Mar. 3, 2000 am!Jun. 14, 1999, respec-          20      F.P 375,063 discloses a technique for the preparation of
lively. The entire contents of each of the above-identified              multip"rliculate granules for the controlled-release of the
applications are hereby incorporated by reference.                       active ingredient which comprises co-dissolution of poly-
   The present invention rehites to controlled rele(:lse GJncl           mers or suitable substances to form a inert matrix with the
taste-niasking compositions containing one or inore active               active ingredient and the subsequent deposition of said solu-
principles incorporated in a three-component matrix stmc-           25   tion on m1 inert carrier which acts as the core of the device.
lure: i.e. Cl structure funned by successive (:lmphiphilic, lipu-        Alternatively, the inert carrier is kneaded with the solution
phi1ic or inert matrices and finally incorporated or dispersed           containing the inert polymer and the active ingredient, then
in hydrophilic matrices. 'l11e use of a plurality of systems for       the organic solvent used for the their dissolution is evC1pornted
the control of the dissolution of the <1ctive ingredient modu-         off to obtain a solid residue. The resulting stmcture is a
                                                                    30 "reservoir",   i.e. is not macroscopically homogeneous along
lates the dissolution rate of the active ingredient in aqueous
                                                                       a11 the symmetry axis of the final fi.1rm.
and/or biological fluids, thereby controlling the release kinet-
                                                                          The same "reservoir" stmcture is also described in Chem.
ics in the gastrointestinal tract, and it also allows the oral
                                                                       Pharn1. Bull. 46 (3), 531-533, (1998) which improves the
GJdministrntiun of cictive principles illtving unfavuurnble l<-Jste
                                                                       application through an annealing technique of the inert poly-
characteristics or irritating action on the mucosae of the l'S mer la:rer which is deposited on the surface of the pellets.
administration site, particularly in the buccal area.                     To the "reservoir" strncmre also belong the products
   The compositions of the invention cC1n cont.ciin C1ctive prin-      obtained according to the technique described in WO
cip1cs belonging to the therapcutical classes of analgesics,           93/00889 which discloses a process for the preparation of
antiinflanunatories, cardioactives, tranquillizers, antihyper-         pellets in hydrophilic matrix which comprises:
tensives, disinfectants and topical antimicrobials, antiparkin- 40        dissolution of the active ingredient with gastro-resistant
son drugs, antihistamines and are suiwble to the oral admin-                 hydrophilic polyn1crs in organic solvents;
istration or for acting topically at some areas of the                    drying of said suspension:
gastrointestinal tract.                                                   subsequent kneading and formulation of the pellets in a
                                                                             hydrophilic or lipophilic matrix without distinction of
            TECHNOLOGICAL BACKGROUND                                         ctkctiveness bet\.vcen the two types of application.
                                                                          EP 0 453 001 discloses a multiparticulate with "reservoir"
   The preparation of a sustained, controlled, delayed or any-         structure inserted in a hydrophilic matrix. The basic multi-
how modified release form cm1 be carried out according to              particulate utilizes two coating membranes to decrease the
diftCrent known techniques:                                            release rate of the active ingredient, a pH-dependent mem-
   1. The use of inert matrices, in which the main component 50 brane with the purpose of gastric protection and a pll-inde-
      of the matrix structure opposes some resistance to the           pendent methacrylic membrm1e with the purpose of slowing
      penetration of the solvent due to the poor affinity              down the penetration of the aqueous fluid.
      towards aqueous fluids; such property being known as                WO 95/16451 discloses a composition only formed by a
      lipophilia.                                                      hydrophilic matrix coated with a gastro-resistant film for
   2. The use of hydrophilic matrices, in which the main 55 controlling the dissolution rate of the active ingredient.
      component of the matrix structure opposes high resis-               VVhen preparing sustained-, controlled-release dosage
      tance to the progress of the solvent, in that the presence       forms of a medicament topically active in the gastrointestinal
      of strongly hydrophilic groups in its chains, mainly             tract, it is important to ensure a controlled release from the
      branched, remarkably increases viscosity inside the              first phases fi.11lowing administration, i.e. when the inert
      hydrnted layer.                                               60 IDC1trices have the maximum releC1se rnte inside the lo~rith­
   3. The use of bioerodible matrices, which are capable of            mic phase, namely the higher deviation from linear release.
      being degraded by the enzymes of some biological com-               Said object has been attained according to the present
      partment.                                                        invention. through the combination of an amphiphilic matrix
   All the procedures listed above suffer, however, from draw-         inside an inert matrix, the latter formulated with a lipophilic
backs mid imperfections.                                            65 polymer in a superficial hydrophilic matrix. The composi-
   Inert matrices, for example, generally entail non-linear. but       tions of the invention are characterized by the absence of a
exponentiC1l, rele.cise of the C1ctive ingredient.                     Jirst phase in which the medicament superficially present on

                                               Cosmo v. Alvogen, et al.                                      COSMO-UCERIS-DE00000294
                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                           US 8,784,888 B2
                                  3                                                                             4
the matrix is quickly solubilized, and by the fact the                         caused by the dissolution of the medicament inglobated
amphiphilic layer compensate the lack of affinity of the aque-                 inside the inert matrix, which is in its tum inside the hydro-
ous so1vcnt with the lipophilic compound.., tOrming the inner                  philic matrix.
inert inatrix.                                                                    The an1phiphilic compounds which can be used according
                                                                               to the invention comprise polar lipids of type I or II (lecithin,
            ])JSCLOSURJ:i OF THE INVENTION                                     phnsphatidylchnlinc, phosphatidylcthannlaminc), ccram-
                                                                               ides, glycol alkyl ethers such as diethylene glycol monom-
   The invention provides controlled release and taste mask-                   ethyl ether (Transcuto1<m).
ing oral pharmaceutical compositions containing an active                         ·111e lipophilic matrix consists of substances selected from
ingredient, comprising:                                                  10    uns<-Jturnted or hydrogen(:lted (:lkohols or fatty (:lcids, S(:llts,
   ci) GJ mGJtrix consisting oflipophilic compounds \.Vith melt-               esters or amides thereof, fatty acids mono-, di- or triglycer-
ing point lower than 90° C. and optionally by amphiphilic                      ides, the polyethoxylated derivatives thereof, waxes, ceram-
compounds in which the active ingredient is at least partially                 ides, cho1cstero1 derivatives or mixtures thereof having a
incorporated;                                                                  melting point within therangeof 40 to 90° C., preferably from
   b) optionally an amphiphilic matrix;                                  15    60 to 70° C.
   c) an outer hydrophilic matrix in which the lipophilic                         If desired. a fatty acid calcium salt may be incorporated in
matrix and the optional amphiphilic matrix are dispersed;                      the EpophiEc matrix which is subsequent1y dispersed in a
   d) optionally other excipienls.                                             hydrophilic matrix prepared with alginic acid, thus remark-
   A particular aspect of the invention consists of controlled                 ably increasing the hydrophilic matrix viscosity following
release oral cmnpositions containing one or inore active                 20    penetration of the so1vent front unti1 contact \Vith the 1ipo-
ingredients comprising:                                                        philic matrix granules clispersed inside.
   a) a matrix consisting of amphiphilic compounds and lipo-                      According to m1 embodiment of the invention, an
philic compounds with melting point below 90° C. in which                      amphiphilic matrix with high content in active ingredient,
the active ingredient is at least partially incorporated;                      typica11y from 5 to 95%) w/w, is first prepared by dispersing
   b) an outer hydrophilic matrix in which the lipophilic/               25    the active ingredient or the mixture of active ingredients in a
amphiphilic matrix is dispersed;                                               mixture of m11phiphilic compounds, such as lecithin, other
   c) optional other excipients.                                               type Tl po1ar Epids, surfactants, or in di ethylene g1yco1 mono-
   A further aspect of the invention provides taste masking                    ethyl ether; the resulting amphiphilic matrix is then mixed or
ornl phG1n:m:1ceutic<1l cmnpositiuns cont:Jining one or more                   kneaded, usually while hot, with lipophilic compounds suit-
active ingredients comprising:                                           30    able to form an inert matrix, such as saturated or unsaturated
   m1inert or lipophilic matrix consisting ofC6-C20-alcohols                   fatty acids, such as pa1mitic, stearic, myristic, 1auric, 1aurylic,
       or C8-C20 fatty acids or esters of fatty acids with glyc-               or oleic acids or mixtures thereof with other fatty acids with
       erol or sorbitol or other polyalcohols with carbon atom                 shorter chain, or salts or alcohols or derivatives of the cited
       chain not higher thffil six;                                            fatty acids. such as mono-, di-. or triglycerides or esters with
   an amphiphitic matrix consisting of polar 1ipids of type Tor          1'5   po1ycthyknc g1yco1s. afonc or in combination with waxc~,
       II or glycols partially etherified with Cl-C4 alkyl chains;             cermnides, cholesterol derivatives or other apolar lipids in
   m1 outer hydrophilic matrix containing the above matrices,                  various ratios so that the melting or softening points of the
       mainly formed by saccharide. dextrin, polyalcohol or                    Epophilic compounds mixtures is within the range of 40 to
       cellulose compounds or by hydro gels:                                   90° C., preferably from 60 to 70° C.
   optional excipients to give stability to the pharmaceutical           40       Alternatively, the order of formation of the inert and
       fonnulation.                                                            mnphiphilic matrices can be reversed, incorporating the inert
                                                                               matrix inside the amphiphi1ic compounds.
    DI'TAILED DISCLOSURJ:l            or TIIE INVENTION                           The resulting inert lipophilic matrix is reduced into gran-
                                                                               ules by ffil extrusion and/or granulation process. or any other
   111c compositions of the invention can he prepared hy a               4'5   known processes which retain the homogeneous dispersion
method comprising the following steps:                                         and matrix structure of the starting mixmre.
   a) the active ingredient is first inglobated hy simple knead-                  The hydrophilic matrix consists of excipients knmvn as
ing or 111ixing in a matrix or coating consisting of cmnpounds                 hydro gels, i.e. substances which when passing from the dry
having amphiphilicpropcrtics, which will he forthcrspcciticd                   state to the hydrated one, undergo the so-ca11cd "molecular
below. The active principle( s) can be mixed with the                    50    relaxation", namely a remarkable increase in mass and weight
amphiphilic compounds without the aid of solvents or with                      following the coordination of a large number of water mol-
sma11 amounts nf\vatcr-a1cohn1ic sn1vcnts.                                     ecu1cs by the polar groups present in the polymeric chains of
   b) The matrix obtained in a) is incorporated in a low melt-                 the excipients themselves.
ing lipophilic excipient or mixture of excipients, while heat-                    Examples of hydro gels which can be used according to the
ing to soften and/or melt the excipient itself, which thereby            55    invention are compounds selected from acrylic or meth-
incorporates the active ingredient hy simpk dispersion. After                  acry'1ic acid polymers or copo1ymers, a1kylvinyl po1ymers,
cooling at room temperature an inert matrix forms, which can                   hydroxyalkyl celluloses, carboxyalk]'l celluloses, polysac-
be reduced in size to obtain inert matrix grffilules containing                charides. dextrins. pectins. starches and derivatives. natural or
the active ingredient particles.                                               synthetic gums, a1ginic acid.
   c) The inert m:Jtri.x grnnules Gire subsequently mixed                60      In c<Jse of f(:lste-m(:lsking formufatiom;: the use of poly(:ll-
together with one or more hydrophilic water-swellable                          cohols such as xylitol, maltitol and mannitol as hydrophilic
excipients. The mixture is then subjected to compression or                    compounds can also be advffiltageous.
tah1ctting. TI1is way, when the tah1ct is contacted with bio-                     TI1e lipophilic matrix granules containing the active ingre-
logical fluids, a high viscosity swollen layer is formed, which                dient are mixed with the hydrophilic compounds cited abo»e
coordinates the solvent molecules and acts as a barrier to               65    in a weight ratio typically rffilging from 100:0.5 to 100:50
penetration of the aqueous fluid itself inside the new stmc-                   (lipophilic matrix: hydrophilic matrix). Part of the active
ture. S(:lid b<-Jrr:ier (:lll((:lgonizes the sl(:lrling "burst effect"         ingredient can optionally be mixed with hydrophilic sub-

                                                  Cosmo v. Alvogen, et al.                                            COSMO-UCERIS-DE00000295
                                           C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                         US 8,784,888 B2
                                 5                                                                        6
stances to provide compositions in which the active ingredi-        distension of the pol}1110ric chains of the hydrogels, giving
ent is dispersed both in the lipophilic and the hydrophilic         rise to a high viscosity hydrated front which prevents the
m<1trix: sGJid cmnpusitions being prefernbly in the form of         further penetration of the solvent itsclflincarly slowing down
tablets: capsules and/or ininitablets.                              the dissolution process to a \Veil determined point \Vhich can
    The compression of the mixture of lipophilic and/or             be located al about half the thickness, until the further pen-
amphiphilic matrix, hydrogc1-forming compound and,                  etration of water would cause the disintegration of the hydro-
optimrnlly, active ingredient not inglobated in the lipophilic      philic layer and therefore the rc1casc of the content which,
nrntrix: yields a 111acroscopically homogeneous structure in        consisting of inert mGJtrix grnnules, however induces the dif-
all its volume, namely a matrix containing a dispersion of the      fusion mechanism typical of these strncmres and therefore
lipophilic grnnules in <1 hydrophilic m<-Jtrix. A simihir result 10 further slows down the dissolution profile of the active ingre-
can also be obtained by coating the lipophilic matrix granules      dient.
with a hydrophilic polymer coating.                                     The presence of the amphiphilic matrix inside the lipo-
   111c tablets nbtainabk according to the invention can            philic matrix inert allows to prevent any uneve1mess of the
optionGJlly be subjected tu knovvn co<Jting processes with ci       rc1casc profile of the active ingredient. The surfactants
gastro-resistant film, consisting of, for example, methacrylic 15 present in the amphiphilic portion promote wettability of the
acids polymers (EudragitV'!) or cellulose derivatives, such as      porous canaliculuses \vhich cross the inert matrix preventing
cc11ulnsc acctnphtha1atc.                                           or reducing resistance to penetration of the solvent inside the
    Active ingredients which can conveniently be formulated         inert matrix.
according to the invention co111prise:                                  Tu obtGJin tciste mGJsking tciblets, the cmnponents of the
    analgesics, such as acetaminophen. phenacetin, sodium 20 hydrophilic matrix are carefully selected to minimize the
sGJlicyhite; cintitussives, such GJS dextromethurpillin: codeine    active substance release time through penetration accelerated
phosphate:                                                          by the canalization induced by the hydrophilic compound.
    bronchodilators, such as albuterol, procaterol;                     The following Examples illustrate the invention in greater
    antipsychotics, such as halopcridol. chlorpromazinc;            detail.
    antihypertensives and coronary-dilators, such as isosor- 25
bide mono- and dinitrate, captopril;                                                                EXAMPLE l
    sc1cctivc f1 2 antagonists such as salbutamol, tcrbutalinc,
ephedrine: on.:iprenGJline sulfate;                                     500 g of 5-aminosalicylic-acid and 20 g of octylonium
    calcium antagonists, such as nifedipine, nicardipine, dilt-     bromide Gire mixed with 10 g ofsuy lecithin dissolved in 50 g
iazem, verapamil;                                                30 of a water: ethyl alcohol I :3 mixture at about 50° C. After
    antiparkinson dmgs, such as pcrgolidc. carpidopa,               homogenization and drying, the granules of the resulting
levodopa;                                                           lill:ltrix Gire treGJte<l inGJ knem1erwith 20 g uf cGJrnciubci \.Vcix GJm1
    non steroid anti-inflammatory drngs, such as ketoprofen,        50 g of stearic acid, heating until homogeneous dispersion,
ibuprofen, diclofcnac, dittunisal. piroxicam, naproxen,             thencold-extrnded into small granules. "!he inert matrix gran-
kctorolac, nimcsulidc, thiaprophcnic acid. mcsalazinc 1'5 u1cs arc loaded into a mixer in which 30 g of carbopo1 971 P
(5-aminosalicylic acid); antihistamines, such as terfenedine,       and 65 g ofhydroxypropyl methylcellulose are sequentially
loratadine;                                                         added. ,'\Ster a first mixing step for homogeneously dispersing
    antidiarrhcals and intestinal antiinttammatories, such as       the powders, 60 g of microcrystalline cellulose and 5 g of
loperamide, 5-aminosalicylic, olsalazine, sulfasalazine,            lill:lgnesimn stecirnte Gire cidded.Aftermixing, the fmGJl mixture
budenoside;                                                      40 is tabletted to unitary weight of760 mg/tablet. The resulting
    spasn1olytics such as octyloniurn bromide;                      tablets are film-coated with cellulose acetophthalate or poly-
    anxiolytics, such as chlordiazepoxide, oxa7epam,                methacrylates and a plasticizer to provide gastric resistance
medazepam, alprazolam, donazepam, lorazepan;                        cind prevent the ecirly releGJse of product in the stomGJch.
    oral antidiabetics. such as glipizide, metfonnin. phen-             The resulting tablets, when subjected to dissolution test in
tOrrnin, gi1cla7ide, glihcnclamide;                              4' simulated enteric juice, have shown a release of the active
    cathartics, such as bisacodil, sodium picosulfate;              principles having the following profile: after 60 minutes no
    antiepileptics, such as valproate, carbama7.epine, pheny-       more than 300/~, after 180 minutes no more than 60~'~, after 5
loi1L gabapentin;                                                   hours no more than 80%.
    antitumorals, such as ttutamide, etoposidc;
    oral cavity disinfectants or antimicrobials, such as benza- so                                  EXAMPLE2
lkonium chloride. cetylpyridinium chloride or tibezonimn
iodide, and some amino derivatives such as benzydamine and              50 g of diethy1cne glycol monoethyl ether arc homoge-
chlorhexidine as well as the salts and derivatives thereof:         neously distributed on 500 g of microcrystalline cellulose;
    sodium fluoride.                                                then l 00 g of 13udesonide are added, mixing to complete
    "lhe compositions of the invention can further contain con- 55 homogenization. This mix is further added with 400 g of
ventional cxcipients, tl1r cxamp1c hioadhesive excipients           Rudcsonide, then dispersed in a blender containing 100 g of
such as chitosans, polyacrylamides, natural or synthetic            carnauba wax and 100 g of stearic acid preheated at a tem-
gums, acrylic acid polymers.                                        perature of 60° C. After kneading for 5 minutes, the mixture
   111e compositions of the invention can contain more than         is cooled to mom temperature and extruded in granules of size
one cictive ingredient: eGJch of the111 being optioill:llly con- 60 belovv 1 mm.
tained in the hydrophilic matrix or in the inert amphiphilic            A suitable mixer is loaded with the matrix granules pre-
matrix. and are preferably in the fonn of tablets, capsules or      pared as above and the following amom1ts of hydrophilic
minitablets.                                                        cxcipicnts: 1500 g nfhydmxypropyl mcthylccllulnsc and 500
    In terms of dissolution characteristics, contact with water     g of policarbophil.
or aqueous fluids causes the immediate penetration of water 65          'lhe components are mixed until homogeneous dispersion
inside the more superficial layer of the matrix which, thanks       of the matrices, then added with 2450 g of microcrystalline
to the presence of the ciqueous solvent: s\.vells due to the        cellulose, 400 g oflactose, 100 g of colloidal silica and 50 g


                                                 Cosmo v. Alvogen, et al.                                        COSMO-UCERIS-DE00000296
                                          C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                      US 8,784,888 B2
                               7                                                                          8
of magnesium stearate. After farther 5 minute mixing, the                 The final mixture is tabletted to m1itary weight of 400 (200)
mix is t"bletted lo unit"ry weight of250 mg/t"blet.                     mg/t"blet equiv"lenl lo 50 (25)mg ofc"rbidop" "nd 200 (100)
                                                                        mg di lcvodopa.
                        EXAMPLE3
                                                                                                   F.XAMPLF. 7
   850 g of metfonnin are dispersed in a granulator/kneader
with 35 g of diethylene glycol monoethyl ether previously              4 g of Nimesulide are solubilised in 50 g of diethylene
melted with I 00 g of sle"ric "cid "ml 55 g of c"rmub" w"x.         glycol monoethyl ether, then 100 g ofmicrocrystalline cellu-
The system is heated to carry nut the granu1atinn nfthc active      1osc arc added to obtain a homogeneous mixture.
ingredient in the inert nrntrix. The resulting 1040 g offonnu- lO      The resulting inixture is added in a granulator/kneader \vith
fation"re "dded with 110 g ofhydroxypropyl methylcellulose          196 g ofNimesulide, 50 g of stearic acidm1d 25 g of carnauba
and 20 g of magnesium stcaratc.                                     WGJX. The system is heGJted to cGJrY)' out the grnnufation of the
   The final mixture is tabletted to unitary weight of 1170         active ingredient in the inert and amphiphilic matrix system.
mg/tablet equivalent to 850 mg of active ingredient.                   425 g of the resulting granulate are added with 60 g of
   The resulting tablets, when subjected lo dissolution lest in 15 hydmxypropyl mcthylcellulosc. 5 g ofpolicarbophil and 10 g
si111ulatetl enteric juice, have shown a release or the active      of magnesium stearate.
principles having the following profile: after 60 minutes no           The final mixture is tabletted to unitary weight of 500
more tillm 35~-0, cifter 180 minutes no more th.om 60%: GJfter 5
                                                                    mg/tablet equivalent to 200 mg of active ingredient.
                                                                       The resulting t(:lblets, \vhen subjected to dissolution test in
hours no n10re than 80%i.                                        20 sinmlated enteric juice, have shown a release of the acti>·e

                          F.XAMPLF. 4                               principles having the following profile: after 1 hour no more
                                                                    than 25~'0, atkr 2 hours no more than 40%. after 4 hours no
                                                                        more tlmn 60%i. GJiler 8 hours no more th(:ln 90%.
   120 g of octylonium bromide are dispersed in a granulator/
kneader with 30 gof stcaric acid and 15 g ofbccs\vax in which 25                                   F.XAMPLF. 8
I 0 g of diethylene glycol monoethylene had previously been
melted.                                                                    500 g of propionyl camitine are dispersed in a granulator/
   The system is hecited to c<-Jrry out the gnmulcition of the          kneader with 90 g ofstearic acidand40 g ofcarnauba wax, in
active ingredient in the inert matrix. The resulting 10 g of            which 20 g of diethylcne glycol monoethyl ether had previ-
formulation are added with 5 g of hydroxypropyl methylcel- 30           ously been melted. The system is heated to carry out the
lulose mid 5 g of polic"rbophyl, 2 g of m"gnesium sle"rnle              granulation of the active ingredient in the inert/amphiphilic
and 3 g of microcrystallinc cc11u1osc.                                  matrix. The resulting 650 g offornmlation arc added with 60
   The final mixture is tabletted to unitary weight of 200              g of hydroxypropyl methylcellulose and 10 g of magnesium
mg/tablet equivalent to 120 mg of active ingredient.                    stearate.
   The resulting tablets, when subjected to dissolution test in "          The final mixture is tabletted to unitary weight of 720
simulated cntcric juice, have shown a release of the active             mg/tablet equivalent to 500 mg of active ingredient.
principles having the following profile: after 60 minutes no               The resulting tablets, when subjected to dissolution test in
more than 25%; after 180 minutes no more than 50%: after 5              sinmlated enteric juice, have shown a release of the active
hours no more than 70~,0.                                               principles having the following profile: after 60 minutes no
                                                                   40   more than 40"/o, after 180 minutes no more than 60%, after 4
                        EXAMPLE 5                                       hours no n10re than 80~,U, after 8 hours no rnore than 90~,U.

   12 g of diethylene glycol monoethyl ether "re krnded on 6                                EXAMPLE 9
g of microcrystalline cellulose and 6 grams of calcium car-
bonate, then I 00 g ofCJabapentinare added and the mixture is 45     One kg of Nimesulide is placed in a high rate granulator,
homogenized. After that, 800 g of G"b"pentin "re mlded            pre-he"led lo "bout 70°, together with 200 g ofcetyl "!coho!
which are dispersed in a granulator/kneader with 4.5 g of         and 25 g of glycerol palmitostearate the mixture is kneaded
white wax and 5 g of stearic acid. The system is heated to        for about 15 minutes and stirred while decreasing tempera-
cany out the granu1ation of the active ingredient in the inert    ture to about 30° C. TI1e resulting inert matrix is added,
m"trix. The resulting 916.5 g of formubtion "re mlded with so keeping stirring "nd knemling during cooling, with 50 g of
39.5 g ofhydroxypropylmethylcellulose, 10 g ofalginic acid,       soy lecithin and 50 g of ethylene glycol monoethyl ether. The
11 g of magnesium stearate and 6 g of syloid. The final           granulate is extmded through a metallic screen of suitable
mixture is t"bletled lo unit"ry weight of 1000 mg/t"blet          size "ml mixed with 50 g ofhydroxypropyl methykellulose,
equivGJlent to 900 ing of cictive ingredient.                     1320 kg of nrnltodextrins, 2 kg of factose-cellulose mixture,
                                                               55 50 g of colloidal silica, 40 g of aspartame, 150 g of citric acid,
                        F.XAMPLF. 6                               7 5 g of flavour and 65 g of magnesium stearatc. TI1c tina1
                                                                        mixture is t(:I bl et ted to unitciry weight of cibout 500 mg: h(:lving
   50 g (25 g) of carbidopa and 200 g (100 g) oflevodopa are            hardness suitable for being dissolved in the mouth and a
dispersed in a granulator/kncadcr with 60 g (30 g) of stearic           pleasm1t taste.
"cid "nd 30 g (15 g) of yellow w"x, in which 10 (5) g of           60
diethylene glycol monoethyl ether had previously been                                             DX.AMPLE 10
melted.
   111c system is heated to carry out the granulation of the               Operating as in the preceding example, chcvvablc tablets
active ingredient in the inert matrix. The resulting 340 g (I 70        are prepared replacing dextrin with mamlitol and the lactose-
g) of fonnulation areadded with20 g (I 0 g) ofhydroxypropyl        65   cellulose mixture with xylitol. The resulting tablets have
methylcellulose, 10 g (5 g) of xantangum, l G g (8 g) of                pleasm1t taste and give upon chewing a sensation of freshness
microcryst"lline cellulose, 4 g (2 g) of=gnesium sle"rnle.              enillmcing the fbvour.


                                              Cosmo v. Alvogen, et al.                                           COSMO-UCERIS-DE00000297
                                       C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                        US 8,784,888 B2
                                          9                                                                   10
                               EXAMPLE!!                                        150 mg unitary weight tablets are obtained, which undergo
                                                                             progressive erosion upon buccal administration, and effec-
  Operating as described in example 9, but with the follow-                  tively mask the irritating taste of the active ingredient.
ing c0111ponents:
                                                                                                       EXAMPLE 14

    active ingredient: ibuprofen                  mg     11)1)                   One Kg ofNimesulide is placed in a high rate granulator,
    llpophilic/i11e1t m::itrix component:         mg      15                 pre-he"led to "boul 70°, logetherwilhg 125 ofcetyl "!coho!:
    cetyl alcohol                                                            the mixture is kneaded for about 15 minutes and stirred while
    amphipluhc matrix component:                  mg
                                                                     10
                                                                             decreasing temperature to about 30° C.. then added with g 30
    soy lecithin
    hydropluhc matrix components: mannitol        mg     167                 of lecithin. The resulting matrix is then extruded through a
    mallodexLTim;                                 mg     150                 metallic screen of suitable size and mixed with 2.415 kg of
    me thy lhyrl.roxypropyl ce 1lu lose           mg      10                 lactose. 1.0 kg of maltodextrins. 50 g ofhydroxypropyl meth-
                aspartame                         mg      15                 y1cc11ulosc, 50 g of co11oidal silica, 40 g of aspartame. 150 g
                                                  mg
    colloirl.al silica                            mg                 15
                                                                             of citric c-u..:id, 75 g uf OGJvour <-Jnd 65 g ufmGJgnesium steGJrnte.
    magncsiwn stcaratc                            mg                         The final mixture is tabletted to about 500 mg tablets, having
                                                                             hardness suitable for being dissolved in the mouth and ple"s-
                                                                             ant taste.
   500 mg unitary wcighttahlcts arc obtained, which undergo
                                                                                 The invention claimed is:
progressive erosion upon bucc:Jl m1ministrntion, (:Ind effec-
                                                                                 1. A controlled release oral pharmaceutical composition
tively mask the bitter, irritating taste of the active ingredient.   20
                                                                             consisting essentia11y of:
                                                                                 (!)" t"blet core consisling essentially of:
                               EXAMPLE 12
                                                                                    a) budesonide in an a111otmt effective to treat intestinal
                                                                                       inflanunatory disease; and
  Operating as described in example 9, but with the follow-
                                                                                    b) a macroscopica11y homogeneous composition com-
ing components:                                                      25
                                                                                       prising at least one lipophilic excipient, at least one
                                                                                       amphiphilic excipient, and at least one hydrogel-
    active ingredient: diclofen:ic sodium         mg      25                           tOrming hydrophilic cxcipient other than a gum,
    hpophilic/inert matrix component:             mg                                   wherein said bu<lesoni<le is clisperse<l in said macro-
    cdyl akol1ol                                                                       scopically homogeneous composition; and
    glycerol                                      mg                 30
                                                                                 (2) a coating on said tablet core, said coating consisting
                                                  mg
                                                                                    essentially of a gastro-resistant film.
                 matrix components: xylitol       mg     168                     2. A controlled release oral pharmaceutical composition
                                                  mg     151)                according to claim 1, wherein said at least one hydrogel-
                                                  mg      20
                                                                             fi.1rming hydrophilic cxcipient comprises at least one
                                                  mg
                                                  mg                 "       hydmxyalkyl cellulose.
    colloirl.al silica                            mg                             3. A controlled release oral pharmaceutical composition
    magncsiwn stcaratc                            mg                         according to claim 1, wherein said gastro-resistant fihn con-
                                                                             sists essentially of at least one methacrylic acid polymer.
  400 mg unitary weight tablets are obtained, which undergo          40          4. A controlled release oral pharmaceutical composition
progressive erosion upon buccal administration, and effec-                   according to claim 3, wherein said at least one hydrogel-
tively m<-Jsk the irril(:lting tGJste of the active ingredient.              fonning hydrophilic excipient comprises at least one
                                                                             hydmxyalkyl cellulose.
                               F.XAMPLF. 13                                      5. A controlled release oral pharmaceutical composition
                                                                     4
                                                                         ,   according to claim 1. wherein said at least one lipophilic
  Operating as described in example 9, but with the follow-                  excipient comprises stearic acid or magnesium stearate.
ing components:                                                                  6. A controlled release oral pharmaceutical composition
                                                                             according to claim 5, wherein said at least one hydrogel-
                                                                             fonning hydrophilic excipient comprises at least one
    active ingredient: chlorhexidme               mg     2.5
                                                                     50
                                                                             hydmxyalkyl cellulose.
    hpophilic/incrt matrix component:             mg     0.5                     7. A controlled release oral pharmaceutical composition
    cetyl ::dcolml
                                                  mg     0.5
                                                                             according to claim 1, wherein said at least one amphiphilic
                                                  mg     0.3                 excipient comprises lecithin.
                              ether                                              8. A controlled relem;e ornl phGirmGJceuticGJl composition
   hydropluhc matrix components: xyhtol           mg    38                   according to claim 7, wherein said at least one hydrogel-
   m::tltodextrins                                mg    96           55
   hydroxypropyl metbylcellulose                  mg    10
                                                                             fonning hydrophilic excipient comprises at least one
   ad.1uvants: aspartame                          mg                         hydmxyalkyl cellulose.
   flnvm                                          mg                             9. A controlled release oral pharmaceutical composition
   colloidal silica                               mg                         according to claim 7. wherein said at least one lipopb.ilic
   magnesiwn sLearale                             mg
                                                                     60
                                                                             excipient comprises stearic acid or rnagnesimn stearate.




                                                     Cosmo v. Alvogen, et al.                                        COSMO-UCERIS-DE00000298
                                              C.A. No. 1:15-cv-193; -164; -116 (LPS)
EXHIBIT 4
                                                                           Illlll llllllll Ill lllll lllllll llll llll lllll 111111111111111111111111111111111
                                                                                                         USOORE43 799E
(19)   United States
(12)   Reissued Patent                                                 (!OJ    Patent Number:          US RE43,799 E
       Villa et al.                                                    (45)    Date of Reissued Patent: *Nov. 13, 2012

(54)    CONTROLLED REL.EASE AND 1AST.E                                                6,258,377    Bl       7!2001 New et al.
        :\1ASKil'IG ORAL PIIAR:\1ACEUTICAL                                            6,368,635    Bl       4/2002     Akiyama et al.
                                                                                      6,562,363    Bl       5/2003     Mantelle et al.
        COMPOSITION                                                                   7,410,651    132      8!2008   Villa et al.
                                                                                      7,410,652    132      8!2008   Villa et al.
(75)    Inventors: Roberto Villa, Lecea (IT); Massimo                                 7,431,943    R1      I 0.12008 Villa et al.
                   Pedrani, Gignese (IT); Mauro Ajani,                                8,029,823    B2      !0!2011 Villa cl al.
                                                                                  201210021052     Al       l/2012 Villa et al.
                   Milan (IT): Lorenzo Fossati, Milan (IT)                        2012/0021053     Al        1!2012 Villa et al.
(73)    Assignee: Cosmo Technologies Limited, Dublin                                           FOKEJGN PAJENT DOCUMENTS
                  (IE)                                                          CA                2 t t 9 253           t tl1998
                                                                                DE                41 31 562              3/1993
( *)    Notice:           This patent is subject to a tcrmina1 dis-             DE                41 31 562 Al           3/1993
                          claimer.                                              EP                0 482 576              411992
                                                                                UP                0 514 008             11/1992
                                                                                UP                0 514 008 Al          11/1992
(21)    Appl. No.: 13/477,592                                                   C-i-R                915619              9/196'.)
                                                                                JP                63048226               2/1988
(22)    Filed:            May 22, 2012                                          JP                 4159217               6/1992
                                                                                JP                 5132416               5/1993
             Refated U.S. Patent Documents                                      JP                 6510772              12/1994
Reissue ot:                                                                     JP                 651t478              t211994
(64) Patent No.:        8,029,823                                               JP                 8503482               411996
                                                                                JP              2000510488               8/2000
      Issued:           Oct. 4, 2011                                            JP              2000515130              1112000
      Appl. No.:        12/210,969                                              WO             WO 96113273               5/1996
      Filed:            Sep.15,2008                                             WO             WO 98100169               1/1998
                                                                                WO             WO 99111245               311999
U.S. Applications:                                                              WO             WO 99117752               411999
(63) Continuation-in-part of application No. 10/009,532,
      filed as application No. PCT/EP00/05356 on Jtm. 9,                                             OTHFR PUFll.TCATlONS
      2000, now Pat. No. 7,431,943.                                             Vforo etal.. "Drug Delivery Systems: Diffusion Controlled Systems,"
                                                                                II Prodotlo Chimi(.;o & Aerosol Sclezion(.; (Th(,; Ch(,;1nical & Aerosol
(30)                 Foreign Application Priority Data                          S(,;kclion). Apr. 1985, pp. 16-24, Parlial rekva.nl English lranslalion
                                                                                of pp. 20 and 22 included.
   Jun. 14, 1999           (IT).                         MI99Al317              SL(.;ward, "Review of Pharma(.;euli(,;al Conlrollcd Rekas(.; M(,;lhods
    Mar. 3, 2000           (IT)                         MI2000A0422             and Devi(.;es," 1995, pp. 1-9.
                                                                                Physical Pharmacy, ChapteJ 19 DrngProduct Design, Oct. 1993. pp.
(51)    Int.Cl.                                                                 515-519.
        A61K 912/J               (2006.01)                                      JP Office Action dated May 6, 2010 from corresponding JP2001-
        A61K9/24                 (2006.01)                                      502812, English lranslation indutkd.
                                                                                "lludesonide"-Wikipedia, the free encyclopedia, (http://en.
        A61K9/28                 (2006.01)
                                                                                \~rikipedia.orgiwiki/Budesonide );    pp. 1-3.
        A61K9/48                 (2006.01)
(52)    U.S. Cl.        424/464; 424/451; 424/452; 424/465;                                                    (Continued)
                                    424/468; 424/471; 424/474
(58)    Field ofCla"ification Search ...              .. .. None                Primm}' Examiner - Susan Tran
        See application file for complete search history.                       (74) Attorney. Agent, or Firm Rothwell, Figg, Ernst &
                                                                                Manbeck p.c.
(56)                        References Cited
                                                                                (57)                          ABSTRACT
                     U.S. PAJ'ENT DOCUMENTS                                     Controlled rele<-Jse cind f(:lste mcisking compositions cont<-Jin-
       5,320.848     A      6i 1994 Ci-eyer et al.                              ing one or more active principles inglobated in a three-com-
       5,342.625     A * 8/ 1994 Hauer cl al ................... 424/455        ponent nrntrix structure, i.e. a structure fanned by successive
       5,534.501     A      7! 1996 Samain cl al.
       5,597.844     A      li 1997 Chauhan et al                               mnphiphilic. lipophilic or inert niatrices and finally inglo-
       5,643.602     A "' ?/ 1997 Ulmius ................ 424/462               b"ted or dispersed in hydrophilic matrice<. The use of" plu-
       5,681.584     A    I Oil 997 Savastano et al.                            rality of systems for the control of the dissolution ofthe active
       5,81 Ll88     A      9.11998 Friend et al.                               ingredient modulates the dissolution rate of the active ingre-
       5,840.332     A    I l! 1998 Lerner cl al.
       5,908.833     A                                                          dient in ciqueous :Jm1/or biulogic<-Jl fluids, thereby controlling
                            6! 1999 Brattsand et al.
       5,965.167     A    10!1999 Sanghvi et al.                                the release kinetics in the gastrointestinal tract.
       6,140.308     A    10/2000 Brattsand ct al.
       6, t 90.692   R1      2.12001   Ruserti et al.                                                 11 Clairm, No Drawings




                                                       Cosmo v. Alvogen, et al.                                              COSMO-UCERIS-DE00000155
                                                C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                             US RE43,799 E
                                                                     P"ge2


                   OTHER PUBLICATIONS                                     D'Haens, G.R.. et al., "Clinical Trial: Preliminary Efficacy and
                                                                          Safety Study of a New Budcsoni<le-MMX 1E 9 mg Extended-Release
Jantzen, Ci-.M. et al. "Sustained- and Controlled-Release Drug            Tablets in Patients \Vilh Adive Lc.fi-Sidcd Llccrativc Colitis," Jour-
Delivery Systems," ~1odern Pharmaceutics, 3'd Udition, Revised and        nal ofCrohn's and Colitis, 2010, vol. 4, pp 153-160,         copyTight
Expanded, pp. 575-609. CC; 1996 by Marcel Dekker. Inc., 37 pages.         2009 European Crohn' s and Colitis Organisation.
llmnner, M. et al., ·'Gastrointestinal Transit, Release and Plasma        Flanders, P. ct al., The Conlrol of Drug Release From Conventional
Phasmacokinetics of a Ne\v Oral Budesonide Formulation," British          ~1elt Granulation Matrices. Drng Development and Industrial Phar-
Journal of Clinical Pharmacology. DOl:lO.ll ll/j.1365-2125.2005.          macy. 1987, vol. 13, No. 6, pp. 1001-1022, <D 1987 Marcel Dekker,
02517.x, pp. 1-8. copyright 2005 Blackwell Publishing Ltd., 8 pages.      lnc.
Brunner, M. et al.. "'Gastrointestinal Transit and 5-ASA Release          Ferrnboschi, P. et al., "Estimation and Characterisation of
From a New Mesalazine Extended-Release Formulation," Alimen-              Rudesonide Tablets Impurities," Journal of Phannaceutical and Bio-
lary Phanna(.;ology and Therapeutics, vol. 17, pp. 395-402, (,;Opyrighl   medical Analysis, 2008, vol. 47, pp. 636-640, '«:; 2008 Elsevier B.V
2003 Blackwell Publishing Ltd., 8 pages                                   Fiorino, CJ. et al., "New Drug Delivery Systems in Inflammatory
Angelucci ct al., "Budcsonidc for Inflammatory Bowel Disease              Bowel Disease: MMX™ and Tailored Delivery to the Gut," Cmrent
'treatment," Current Medicinal Chemistry. 2008, vol. 15, .\o. 14, pp.     v!edicinal Chemistry, 2010, vol. 17, pp. 1851-1857. '.CJ 2010 Bentham
2-9.                                                                      Science Publishers Ltd.
D'Haens, er.I<. et al.. ''Budesonide MMXL\t. ls A..ctive and Safe In      Koulroubakis. I.. "Recent Advarn;cs in the :Y1anagement of Distal
Patients \Vith Active Left-Sided Ulcerative Colitis," Br J Clinic         Lkerative Colitis," World Journal of Gastrointestinal Phannacology
Pharmacol., 2005. vol. 61, 3 pages.                                       and Thernpeutics. 2010, vol. 1, No. 2. pp. 43-50, ~ 2010 Baishideng.
Maejima, T., "Application of Tumbling Melt Granulation Method to          JP Office Action dated May 6, 2010 from corresponding JP2001-
Prepare Controlled-Release Reads by Coating with Mixture of Func-         502812-English translation included.
tional ~on-Meltable and Meltable Materials," Chem Phann Bull.,            Steward, P.. "Review of Pharmaceutical Controlled Release Methods
1998, vol. 46, No. 3. pp. 531-533, CC 1998 Pharmaceutical Society of      and Devices", 1995, pp. 1-9.
Japan.                                                                    :Yforo. ct al.. "Drug Delivery Syslems: DilTusion Conlrolkd Sys-
Sandborn, VV.J. ct al.. "Budcsonide :Y1XX,g 9 mg For The Induction        tems", II Prodotto Chimico & Aerosol Selezione (The Chemical &
of Remission of Mild-to-Moderate Lkerative Colitis (UC)· Data             Aerosol Selection), Apr. 1985, pp. 16-24, Parlilli rdcvanl English
Fmm a Multi center, Randomized, Double-Blind Placebo-Co~trolled           translation of pp. 20 and 22 included.
Sn1dv in North America and India." Presentation at DDW 2011,
Post~r, I page.                                                           * cited by examiner




                                                  Cosmo v. Alvogen, et al.                                        COSMO-UCERIS-DE00000156
                                           C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                            US RE43,799 E
                                                                                                                2
        CONTROLLED RELEASE AND TASTE                                           amounts of colloidal silica as a porization element for a lipo-
        MASKING ORAL PHARMACEUTICAL                                            philic inert m(:ltrix in which the <1ctive ingredient is incorpo-
                COMPOSTTTOI'\                                                  rated
                                                                                 The same notion of cm1alization of an inert matrix is
                                                                               described in U.S. Pat. No. 4,608,248 in which a small amount
Matter enclosed in heavy bracket. [ ] appears in the                           of a hydrophilic polymer is mixed with the substances fann-
original patent hut forn1s no part of this reissue specifica-                  ing an inert matrix, in a non sequential compenetration of
tion; matter printed in italics indicates the additions                        different matrix materials. EP 375,063 discloses a teclmique
made by reissue.                                                               for the preparation of multi particulate granules for the con-
                                                                         10    trolled-release of the active ingredient \Vhich comprises co-
                                                                               dissolutiun of polymers or suit(:lble subst<1nces tu form (:I inert
     This application is a continuation-in-part application cf                 matrix with the active ingredient and the subsequent deposi-
U.S. application Ser. No. 101009,532. filed Dec. 12, 2001.                     tion of said solution on an inert carrier which acts as the core
'vvhir:h is a national stage r~{ Tniernational Application No.                 of the device. Alternatively, the inert carrier is kneaded with
I'CT!EI'00/05356 on Jun. 9, 2000. now US. I'at. No. 7,431.               15    the solution containing the inert polymer and the active ingre-
943. the entire content oj\vhich international Application is                  dient. then the organic solvent used for the their dissolution is
hereby incorporated by reference and priori~v to Yvhich is                     evaporated off to obtain a solid residue. The resulting stmc-
herebv claimed.                                                                ture is (:I "reservoir", i.e. is nut nl(:lcruscupic<11ly homogeneous
     Th~ present invention relates to controlled release and taste             along all the symmetry axis of the final form. The same
masking compositions containing budesonide as active ingre-              20    "reservoir" stmcture is also described in Chem. Pharm. Bull.
dient incorporated in a thrcc-cnmpnncnt matrix structure. i.e.                 46 (3), 531-533, (1998) which improves the application
a stmcture formed by successive amphiphilic, lipophilic or                     through an annealing teclmique of the inert polymer layer
inert matrices and finally incorporated or dispersed in hydro-                 which is deposited on the surface of the pellets.
philic matrices. 'lbe use of a plurality of systems mechanism                     To the "reservoir" stmcture also belong the products
fur the control of the dissolution of the GJctive ingredient             25    obtained according lo the technique described in WO
modulates the dissolution rate of the active ingredient in                     93/00889 which discloses a process for the preparation of
aqueous and/or biological fluids. thereby controlling the                      pellets in hydrophilic matrix which comprises: --dissolution
rc1casc kinetics in the gastrointcstina1 tract, and it also allows             of the active ingredient with gastm resistant hydrophilicpoly-
the urnl m1rninistrntiun of (:lclive principles h<1ving unllivuur-             men; in urgm1ic solvents; --dying of S(:lid suspension; -sub-
able taste characteristics or irritating action on the mucosae of        30    sequent kneading and fommlation of the pellets in a hydro-
the administration site. particularly in the buccal or gastric                 pb.ilic or lipophilic matrix without distinction of effectiveness
(:lre<-J.                                                                      between the two types of application. EP 0 453 001 discloses
     The compositions of the invention are suitable to the oral                a multiparticulate with "reservoir" stmcture inserted in a
administration or the efficaciously deliver the active ingredi-                hydrophilic matrix. 'l11e basic multiparticulate utilizes two
ent acting topica11y at some areas of the gastrointestinal tract.        1'5   coating membranes to decrease the rc1case rate of the active
                                                                               ingredient, a pH-dependent membrane with the purpose of
           TECHNOLOGlCAL BACKGROUND                                            gastric protection and a pH-independent methacrylic mem-
                                                                               brane with the purpose of slowing down the penetration of the
   The preparation of a sustained, controlled, delayed,                        <1queuus lluid. \VO 95/16451 discloses (:I composition only
extended or anyhow modified release fom1 can be carried out 40                 formed by a hydrophilic matrix coated with a gastro-resistant
according to difkrent techniques:                                              fihn for controlling the dissolution rate of the active ingredi-
1. 1l1c use of inert matrices, in which the main component of                  ent. Vvl1en preparing sustained-. controlled-release dosage
the matrix stmcture opposes some resistance to the penetra-         forms of(:! medic(:lment topic<11ly (:lclive in the g<1struintestiillll
tion of the solvent due to the poor affinity towards aqueous        tract, it is important to ensure a controlled release from the
fluids; such property being known as 1ipophi1ia.                 4' first phases following administration, i.e. when the inert
2. The use of hydrophilic matrices, in which the main com-          lill:ltrices h<1ve the m<1ximum rele(:lse rnte inside the lug<1rith-
ponent of the matrix stn1cUlfe opposes high resistance to the       mic phase, nainely the higher deviation from linear release.
progress of the solvent. in that the presence of strongly hydro-    Said object has been attained according to the present inven-
phi1ic groups in its chains, mainly branched, remarkably            tion. through the combination of an amphiphilic matrix inside
increases viscosity inside the hydrated layer.                   50 an inert matrix, the laller formulated with a lipophilic poly-
3. The use ofbioerodible matrices. which are capable of being       mer in a superficial hydrophilic matrix. The compositions of
degraded by the anzimes of some biological compartment.             the invention are characterized by the absence of a first phase
   All the procedures listed above suffer, however, from draw-      in vvhich the me<lic<1ment superfici<11ly present on the m(:ltrix
backs and imperfections.                                            is quickly solubilized, and by the fact the amphiphilic layer
   lnertmatrices, for example, generally entail non-linear. but 55 compensate the lack of affinity ofthe aqueous solvent with the
exponential, rc1casc of the active ingredient.                      lipophilic compounds tl1rming the inner inert matrix.
   Hydrophilic matrices: have a linear behaviour until a cer-
tain fraction of active ingredient has been released. then sig-                   DlSCLOSURE OF THE lNVENTlON
nificantly deviate from 1inear rc1casc.
  Bioerudible nl(:ltrices (:Ire ide(:ll tu C(:lrry out the su-c(:llled   60      The invention provides controlled rele(:lse (:Ind t(:lste m(:lsk-
"sire-release", but they involve the problem of finding the                    ing oral pharmaceutical compositions containing as acti>·e
suitable enzyme or reactive to degradation. Furthermore. they                  ingredient budesonide comprising:
frequently release in situ mctaho1itcs that arc not \Vholly                    a) a matrix consisting oflipophi1ic compounds with mc1ting
toxicologically inert.                                                         point lower than 90[ deg.] C. and optionally by amphiphilic
   A number of formulations based on inert lipophilic matri-             65    componnds in which the active ingredient is at least partially
ces have been described: Dmg Dev. Ind. Pharm. 13 ( G). 1001-                   incorporated;
1022, (1987) discloses a process nrnking use of varying                        b) an amphiphilic matrix;

                                                  Cosmo v. Alvogen, et al.                                            COSMO-UCERIS-DE00000157
                                           C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                         US RE43,799 E
                                3                                                                         4
c) an outer hydrophilic matrix in which the lipophilic matrix             dispersed in a hydrophilic matrix prepared with alginic acid,
aml the amphiphilic matrix are dispersed;                                 thus remarkably increasing the hydrophilic matrix viscosity
d) optionally other excipients.                                           following penetnition of the solvent front until contact with
   A pnrticular nspect of the invention consists of controlled            the lipophilic matrix granules dispersed inside. An
release oral compositions containing as active ingredient                 amphiphilic matrix with high content in active ingredient,
budesonide comprising:                                                    typically from 5 to 95~0 w/w. in particular from 20 to 70%). is
a) a matrix consisting of amphiphi1ic compounds and Epo-                  first prepared by dispersing the active ingredient in a mixture
philic compotmds with melting point below 90° C. in which                 of amphiphilic compounds, such as lecithin, other type II
the active ingredient is at least partially incorporated:                 polar lipids, surfactants, or in diethylene glycol monoethyl
b) an outer hydrophilic niatrix in \vhich the lipophilic/arn-       10    ether; the resulting mnphiphilic inatrix is then mixed or
phiphilic matrix is dispersed, preferably by mixing;                      kneaded, usually while hot, with lipophilic compounds suit-
c) optionally other excipients.                                           able to form ffi1 inert matrix, such as saturated or unsaturated
   A further aspect of the invention provides taste masking               fatty acids, such as palmitic, stearic, myristic, lauric, laurylic,
ora1 pharmaceutical compositions budcsonidc containing                    or oleic acids or mixtures thereofvvith other fatty acids with
comprising:                                                         15    shorter chain, or salts or alcohols or derivatives of the cited
an inert or lipopb.ilic matrix consisting ofC6-C20 alcohols or            fatty acids. such as mono-, di-. or triglycerides or esters with
C8-C20 forty acids or esters of fatty acids with glycerol or              polyethylene glycols. alone or in combination with waxes,
sorbitol or other poly<1kohols with cC1rbon citom cilltin not             cermnides, cholesterol derivatives or other apolar lipids in
higher than six:                                                          various ratios so that the melting or softening points of the
an mnphiph.ilic matrix consisting of polar lipids of type I or II   20    lipophilic compounds mixtures is \Vithin the range of 40 to 90
or glycols partially etheritied with C1-C4 alkyl chains;                  C, preferably from 60 to 70 C. Altermitively, the order of
an outer hydrophilic matrix containing the above matrices,                fommtion of the inert and amphiphilic matrices cm1 be
mainly formed by saccharide, dextrin, polyalcohol or cellu-               reversed, incorporating the inert matrix inside the
lose compoll.llds or by hydrogels or their mixtures:                      amphiphilic compounds. The resulting inert lipophilic matrix
optionGJl excipients tu give st<-Jbility tu the plrurm(:lceutic(:ll 25    is reduced into granules by an extnlSion and/or granulation
formulation.                                                              process, or any other knmvn processes \Vhichretain the homo-
                                                                          geneous dispersion and matrix structure of the starting mix-
    DETAILED DISCLOSURE OF THE INVENTION                                  ture. The hydrophilic m<Jtrix consists of excipients known <JS
                                                                          hydrogels, i.e. substances which when passing from the dry
   The compositions of the invention cm1 be prepared by a           30    state to the hydrated one, undergo the so-called "molecular
method comprising the tl111owing steps:                                   relaxation", namely a remarkable increase in mass and weight
a) the active ingredient, represented by budesonide, is first             following the coordination of a large number of water mol-
inglobated by simple kneading or mixing in a matrix or coat-              ecules by the polar groups present in the polymeric chains of
ing consisting of compounds having amphiphilic pmperties,                 the cxcipicnts themselves. Fxampks ofhydrogcls which can
which \>vi11 he further specified hdow. TI1c active ingredient      1'5   he usc<l according to the invention arc compound-; sdcctc<l
Cffil be mixed with the mnphiphilic compounds without the            from acrylic or methacrylic acid polymers or copolymers,
aid of solvents or with small amounts of water-alcoholic             alkylvinyl polymers, hydroxyalkyl celluloses, carboxyalkyl
solvents.                                                            celluloses, polysaccharides, dextrins. pectins, starches and
b) the matrix obtained as specified tmder a) is incorporated in      derivatives, natural or synthetic gums, alginic acid. In case of
a low melting lipophilic excipient or mixture of excipients, if 40 taste-masking formulations, the use of polyalcohols such as
necessary \vhilc heating to soften and/or rnelt the cxcipicnt        xylitol. maltitol and rnannitol as hydrophilic cornpounds can
itself, which thereby incorporates the active ingredient by          also be advantageous. The lipophilic matrix granules contain-
simple dispersion fanning an inert matrix which Cffil be             ing the active ingredient are mixed with the hydrophilic com-
reduced in size to obtain inert matrix grffilules containing the     pounds cited above in a weight ratio typically ranging from
active ingredient particles.                                      4' 100:0.5 to 100:50 (lipophilic matrix: hydrophilic matrix).
c) the inert matrix grffilules are subsequently mixed together       Part of the active ingredient can optionally be mixed with
with one or more hydrophilicwater-swellable excipients. The          hydmphi lie substances to provide compositions in which the
mixture is then subjected to compression or tabletting. Th.is        active ingredient is dispersed both in the lipoph.ilic and the
way, when the tab kt is contacted \Vith biological fluids, a high    hydmphilic matrix, said compositions being preferably in the
viscosity swollen layer is formed, which coordinates the sol- so form of tablets, capsules and/or minitablets. The compression
vent molecules and acts as a barrier to penetration of the           ofthe mixture oflipoph.ilic m1d!ormnphiphilic matrix, hydro-
aqueous fluid itself inside the new structure. Said barrier          gcl-forming compound and, optionally. active ingredient not
antagonizes the starting "burst effect" caused by the dissolu-       inglobated in the lipophilic matrix. yields a macroscopically
tion of the medicmnent inglobated inside the inert matrix,           h0111ogeneous structure in all its volume, namely a inatrix
which is in its turn inside the hydrophilic matrix. 'lbe 55 containing a dispersion of the lipophilic granules in a hydro-
amphiphilic compounds which can be used according to the             philic matrix. A similar result can also he obtained by coating
invention comprise polar lipids of type I or II (lecithin, phos-     the lipophilic matrix grmrnles with a hydrophilic polymer
phatidylcholine. phosphatidylethanolainine), cermnides, gly-         coating. The tablets obtainable according to the invention are
col alkyl ethers such as diethylcne glycol monomethyl ether          suhjectcd to kno\vn coating processes \Vith a gastro-resistant
(Transcutol<.ID) The lipophilic matrix consists of substances 60 film, consisting o( for example, acrylic and methacrylic acids
selected from unsaturated or hydrogenated alcohols or fatty          polymers (J:ludragit:B:) or copolymer or cellulose derivatives,
acids, salts, esters or amides thereoi~ fatty acids mono-, di- or    such as cellulose acetophthalate. The composition of the
triglycerides, the polyethoxylated derivatives thereof waxes,        invention can further contain conventional cxcipients, for
cermnides, cholesterol derivatives or mixtures thereofhaving         exmnple bioadhesive excipients such as chitosans, polyacry-
melting point within the rm1ge of 40 to 90" C ., preferably from 65 lamides, natural or synthetic gums, acrylic acid polymers.
GO to 70 C. If desired, a fatty acid calciUlll salt may be              The compositions of the invention are preferably in the
incorporated in the lipophilic matrix which is subsequently          form of tablets, capsules or ininitablets. In tenns of dissolu-


                                                Cosmo v. Alvogen, et al.                                         COSMO-UCERIS-DE00000158
                                         C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                         US RE43,799 E
                                5                                                                               6
tion characteristics, contact with water or aqueous fluids                                       Example 1
C(:!Uses the imme<li(:lte penetrntion of \'V<Jter inside the more
supcrticial laycrnfthc matrix which, thanks to the presence of           2.7 kg of hudcsonidc, 1.0 kg of lecithin (amphiphilic
the aqueous solvent: s\vells due to the distension of the poly-       matrix forming material) and 3.0 kg of stearic acid (lipophilic
meric ch<1ins of the hydrogels, giving rise to <-.1 high viscosity    IDC1trix forming nlGJteriGJl) cire inixing GJfter sieving till Gin
hydrated front which prevents the further penetration of the          homogeneous mixture is obtained: then add 39.0 kg of inert,
solvent itselflinearly slowing down the dissolution process to        functional excipients mid 9.0 kg oflow viscosity hydroxypro-
a well determined point which can be located at about half the        pylcellulose (binder) and mix for 10 minutes before adding
thickness, until the furtherpenetn1tiun ofw:Jler would cciuse         purified wGJter cind kneciding tu GJ suitcible consistence. Then
                                                                   10
the disintegration of the hydrophilic layer and therefore the         pass the granulate through a rotating granulator equipped
release of the content which, consisting of inert matrix gran-        with the suitable screen and transfer the grmrnlate to the fluid
ules, however induces the diffusion mecillmism typic<-Jl of           bed drier tu lower the residucil moisture content under 3%.
these structures and therefore further slows down the disso-             After a new sieving on the dry, the granulate is added of9.0
lution profile of the active ingredient. The presence of the 15 kg of hydroxypropylcellulose (hydrophilic matrix forming
amphiphilic matrix inside the lipophilic matrix inert allows to       material) and the suitable amount of fonctional excipients (in
prevent any unevenness of the release profile of the active           particular, microcrystallinc cellulose, lactose and silicon
ingredient. The surfactants present in the amphiphilic portion        dioxide) and, after 15 minutes of mixing, magnesium stearate
promote wettability of the porous canaliculuses which cross           in a suitable quantity to act as lubricant is added.
the inert m:Jtrix preventing or reducing resist:Jnce tu penetrn- 20      After a foml blending, tablets of arouml 300 mg of unitary
tion of the solvent inside the inert matrix. To obtain taste          weight are generated.
masking tablets, the components of the hydrophilic matrix are            The core are then subjected to be coated with a suspension
C(:lrefully selected to minimize the cictive substGJnce rele(:lse     ubt(:lined introducing into (:I stGJinless steel cuntGJiner 5.8 kg of
time through penetration accelerated by the canalization              Eudragit 1 M (methacrylate copolymers), 0.6 kg of triethylci-
induced by the hydrophilic compound.                               25 trate mid 3.0 kg of dyes and talc, using alcohol as solvent.
                                                                         The meGJn dissolution percent(:lge ((:Is civerngeof six urmure
                    F.XPERTMF.NTAL PART                               tablets) obtained with this tahlct tl1rmu1ation were around
                                                                      10-20% at second hour sampling. in thermige 25%to 65% at
   To test the effective ability ofthe formulations of the inven-     fourth hour and a dissolution greater than 80% was achieved
tion to modify the release rate and extent of the active ingre- 30 cit 8 hour smnpling.
dient from the dosage form suitabk for the drug administra-
tion before any pharmacokinetic smdy on patients or                                              Example 2
volunteers, the dissolution test is taken as monitoring and
discriminating tool. Dissolution Test Method.
  Tablets according lo the present invention undergo to dis-         l'S
solution test to verify the fonnulation capacity in modulating
and controlling the rate by which the active ingredient is                                            Component mg/tablet
leaked by the device or dosage tl1rm in the cnvimnmcnta1                             Tablet
medium, generally a buffered solution simulating gastric or
intestinal juices.                                                   40              Bu<lesom<le                                0.0
   The dissolution test is pcrfonncd by introducing individual                       Stearic Acirl.                            10.0
                                                                                     Lecithin                                  10.(J
tahkts in a g1acc vessel containing from 500 to 1000 ml of a                         Micrncrist::tlline cellulose             156.0
buffered solution set to different pll conditions (pll L 6.4 and                     IIydroxypropy lcellulose                  60.0
7.2 are the pH condition generally used in this test applica-                        Ladosc monohydrn.k                        50.0
tions), so that the whok digestive tract pH conditions, from         4'5             Silicon dioxide                            2.0
                                                                                     Magnesium stea.rate                        3.0
stomach to large intestine, should be reproduced. To simulate                        Coaling matermls
the human body conditions, the test is carried out at a tem-
peramre of 37" C.+-<-2" C. and at predetermined time peri-                                                                     14.0
ods samp1cs of the dissolution medium arc \Vithdrawn to                                                                        12.0
                                                                                     Talc                                       7.9
detect the percentage of active ingredient dissolved overtime.       50
                                                                                     '1'1tanmm dioxicdc                         4.5
   "lhe tablets according to the present invention, when                             T1·iethylcit1·::ite                        l.G
designed to be used to treat inflammatory bowel disease, in                          Alcohol                                  q.s.
principle have to show a good resistance, thanks to the poly-
meric film resistant to the low pll conditions (intended as <5                According to the present invention. coated tablets individu-
to simulate the gastric environment) applied to cover the            55
                                                                           ally weighing about 220 mg arc obtained.
tahlct surface, resistance which 1ast at kast fix two hours: to
                                                                              The above described dissolution test is performed on the
target the large intestinal sectors, also the pll condition of 6.4
                                                                           tablets of Example 2.
shown unsuitability to detennine a drug leakage from the                      TI1c results arc the tl111owing (indicated as average value):
administration device tl1r a short exposition time and on1y
mediums Git pH 7.2 lmve been GJble to determine cin m;tive           60
ingredient dissolution at a progressive and quite constant rate
during a timefrmne from 6 to 12 hours; the dissolution per-                        after 2 hours at pH 1
centage obtained with this tab1ct formulation \Vere bc1ow                          after 1 hour at pH G.4
                                                                                   after 2 hours at pII 7.2            15%
15% at first hour sampling, below 25% at second hour sam-                          after 4 hours at pH 7.2             37%
pling, then values wereintherange25%to 55% at fourth hour            65            after 8 hours Rt pH 7.2             91%)
and a dissolution greater than 80% was achieved at 8 hour
smnpling.

                                                Cosmo v. Alvogen, et al.                                             COSMO-UCERIS-DE00000159
                                         C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                                   US RE43,799 E
                                     7                                                                           8
                                  Example 3                                                                EX1MPLEA

    Rudesonide (3.0 kg) is mixed with soybean Lecithin (5.0                          500 g of5-aminosalicylic-acid and 20 of octylonium bro-
kg) till an homogeneous mixture is obtained. Then carnauba                        mide are mixed with JO g ofsoy lecithin dissolved in 50 gofa
                                                                                  waLer:elhyl alcohol I :3 mixture al ahoul 50° C. Ajier homog-
"'"x (2.0 kg) am! stearic acid (2.0 kg) sieved through " fine
                                                                                  enization and drying, the granules ~fthe resulting matri.1.: are
screen arc added. After mixing. the powders arc added with
                                                                                  treated in a kT1eader with 20 g of carnauba wax and 50 g of
other functional excipients and kneaded with a binder solu-                       stearic acid, heating until honwgeneous dispersion, then
tion obtained by dissolving medium viscosity polyvinylpyr-                        cold-e.\1ruded into small granules. The inert matrix gyanules
rolidone in waler. Aller drying in a fluid bed and milling                        are loaded into a mixer in which 30 g ofcarbopol 9l 1 I' and
                                                                             10
throughout a suitable screen, hydroxypropylmethylcellulose                        65 g of hydro:qpropyl methylcellulose "are sequentialZv
(35.0 kg) and other excipients, including magnesium stearate                      added." Ajier ajirsl mixing step Jhr homogeneous~v dispers-
GJS lubr:ic<-Jnt: in ci suit.(:lble qmmtity Gire ::tdded <-Jnd the mixture        ing the powders, 60 g r~{micrr){:rystalline (;ellulose and 5 g of
is b1cndcd till an homogeneous powder dispersion is                               magnesium stearate are added. Ajier mixing, the final mixture
obtained.                                                                         is tab/etted to unitary weight of760 mg/tablet. 171e resulting
                                                                             15   tahlets arejilm-coated ivith cellulose acetophthalale or poly-
    The powder mixrnre is subjected to compression in a rotat-
                                                                                  methacrylates and a plasticizer to provide gastric resistance
ing tab letting machine and the tablets so obtained arc coated
                                                                                  and prevent the early release ofproduct in the stomach.
in a pan coat \Vith a gastroresistant c0111position containing
                                                                                     1he resulting tablets, when subjected to dissolution test in
Dudragit™, plasticizers, dyes and pigments.                                       shnulated enteric juice, have shmvn a release of the active
    According lo the present example, mated tablets individu-                20   principles having the following profile: afier 60, minutes no
ally weighing around 105 mg are obtained.                                         more than 311%, afier 180 minutes no more than 61!'/o, afier 5
    The results of the above described dissolution test are the                   hours no more than RO%.                                   "
following (indicated as "verage value of al l~sl six tablets):
                                                                                                           EXAMPLEB
                                                                             25
                                                                   50 g of diethylene glycol monoethyl ether are homoge-
         a!ter 2 hours at pII 1               (<5%) resistant
         after 1 hour al pH 6.4               (<5%i) resislillllneous/)' distributed on 500 g of microcrvstalline cellulose;
         :ifte1· 2 hours ::it pH 7.2          9%                then I 00 g of Budesonide are added, mixing to complete
         a!lcr 4 hours at pH 7.2            28%                 homogenizaLion. This mix is jiwther added iviLh 400 g of
         :ifte1· 8 hours ::it pH 7.2        86%)             30 Budesonide, then dispersed in a blender containing 100 g of
                                                                carnauba wax and 100 g of stearic acid preheated at a tem-
                                                                pera lure r~{60° C. A/ier kneading/hr 5 minutes, lhe mixture is
                                   Dxample4                     cooled to room temperature and extruded in granules cfsize
                                                                below 1 nnn.
   50 g of diethylene glycol monoethyl ether are homage- "         A suitable mixer is loaded 1vith the matrix granules pre-
neously distributed on 500 g of micmcryst<-Jlline cellulose;    pared as ahove and lhe jhllrnving amounts of hydrophili<·
then 100 g of Rudcsonidc arc added, mixing to complete          excipients: 1500 g ofhydrmypropyl methylcellulose and 500
homogenization. This mix is further added with 400 g of         g ofpolicarbophil.
Budesonide, then dispersed in a blender containing 100 g of        The (·omponents are mixed until homogeneous dispersion
carnauba wax and 100 g of stcaric acid preheated at a tern- 40 of the matrices, then added with 2450 g ofmicroCJystalline
pcraturc of 60[dcg.] C. After kneading for 5 minutes, the       cellulose. 400 g uflaclOse, JOO g ufculluidal silica and 50 g
mixture is cooled to room temperature and extruded in gran-     ofmagnesium stearate. Afierfurther 5 minute mixing, the mLr
ules of size below 1 mm. A suitable mixer is loaded with the    is Lahlelled Lo unitary iveighl r~{250 mg/lahlet.
matrix granuks prepared as above and the fo11owing amounts
of hydrophilic excipients: 1500 g ofhydroxypropyl methyl-    45                          HXAMPLHC
cellulose and 500 g of PolicarbophiJTM are added. The com-
ponents are mixed until homogeneous dispersion of the                                850 g ofmetformin are dispersed in a granulatorlkneader
matrices, then added \Vith 2450 g of microcrysta11inc cc11u-                      with 35 g of diethylene glycol monoethyl ether previously
lose, 400 g of lactose, l 00 g of colloidal silica and 50 g of                    me/Led ivilh I 00 g ofsteari« acid and 55 g ofcarnauha wa"~.
magnesium stearate. After further 5 minute mixing, the mix is                50   The system is heated to carry out the granulation ofthe acth•e
tableted to unitary weight of 250 mg/tablet.                                      ingredient in the inert matrix. The resulting 1040 g offormu-
   Tablets are then subjected to coating using a suspension n                     lation are added with 110 g ofhydroxvpropyl rnethy/cellulose
containing polyacrylatc and poly mcthacrylatc copolymers in                       and ]0 g of magnesium stearate.
addition to other dyes, plasticizers and colouring agents in                         The final mixture is tabletted to unitary weight of 1170
solvent (ethylic alcohol).                                                   55   mg/tablet equivalent to 850 mg of active ingredient.
   The results of the dissolution test perfonned on these                            The resulting tahlets. 1vhen suhjected to dissoluLion test in
coated tablets are the following (indicated as average value of                   shnulated enteric juice, have shmvn a release of the active
at least six tablets):                                                            principles having the following profile: afier 60, minutes no
                                                                                  more than 35o/o, ~fier 180 minutes no more than 60'Yo, after 5
                                                                             60   hours no more than RO%.                                  "

         a!lcr 2 hours at pH 1                (<SlJ'o) resistant                                          EXAMPLHJJ
         :ifte1· l hour at pH GA              (<5°'fi)resistant
         a!ter 2 hours at pII 7.2             11%)
         a!lcr 4 hours at pH 7.2              32%
                                                                                      120 gofoctylonium bromide are dispersed in a granulator!
         :ifte1· 8 hours at pH 7.2            76%)                           65   /,.71eader with 30 g ofstearic acid and 15 g ofoeeswax in which
                                                                                  10 g ofdiethylene glycol monoethylene had previously been
                                                                                  melted.


                                                     Cosmo v. Alvogen, et al.                                          COSMO-UCERIS-DE00000160
                                              C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                      US RE43,799 E
                               9                                                                               10
   The system is heated to carry out the granulation of the             in which 20 g of diethylene glycol monoethyl ether had pre-
active ingredient in the inert matrix. The resulting 10 g cf            vious~v been melted. 171e system is heated to carry out the
formulation are added with 5 g of hydroxypropyl methylcel-              granulation of the active ingrediem in the inert!amphiphilic
lulose and 5 g ofpolicarbophyl. 2 g of magnesium stearate               matrfr. The resulting 650 g l!fformulation are added i-vith 60
and 3 g r~fmicrocrysialline r·ellulose.                                 g ofhydroxypropyl methylcellulose and JO g of magnesium
   He final mixture is tabletted to unitary weight of 200               stearale.
mg/tablet equivalent to 120 mg a_( active ingredient.
                                                                           The final mixture is tahletted to unitary i-veight of 720
   The resulting tablets, when subiected to dissolution test in
                                                                        mg/tablet equivalent to 500 mg of active ingrediem.
silnulated enteric juice, have shown a release of the active
principles having the following profile: afier 60 minutes no               The resulting tablets. when subjected to dissolution test in
                                                                   10
more than 25%; after 180 minutes no more than 5(fllo: after 5           simula1ed enieric juice, have shmvn a release of the aelive
hours no more than 7tY/o.                                               principles having the following profile: afier 60 minutes no
                                                                        more llwn 4(/J/o, ajier 180 minutes no more than 6(!J10, a/ier 4
                        EX4MI'LEE                                       hours no more than 80%, after 8 hours no more than 9(fYo.

    12 g ofdiethylene g(vcol monoethyl ether are loaded on 6       15
                                                                                                       EX4MI'LE I
g ofmicrocrystalline cellulose and 6 grams of calcium car-
bonate, then I 00 g o(Gabapentin are added and the mixture
is homogenized. Afier that, 800 g of Gabapentin are added                  One kg ofNimesulide is placed in a high rate granulator.
trhich are dispersed in a granulatorllmeader with 4.5 g of              pre-heated to about 70", together with 200 g ofcetyl alcohol
ti:hite wax and 5 g of stearic acid. The systern is heated to      20   and 25 g ofglycerol palmitostearate the mixture is kneaded
carrJ' out the granulation of the active ingredient in the inert        for about 15 minutes and stirred while decreasing tempera-
matrix. The resulting 916.5 g offormulation are added with              ture to about 30° C. The resulting inert matri.:r is added,
39.5 g ofhydroxypropyl methylcellulo.\e, l 0 g ofalginfr: acid          keeping stirring and kneading during cooling, with 50 g of'
I 1 g of magnesium stearale and 6 g r~{ .\J'loid. The final             soy lecithin and 50 g ofethylene glycol monoethyl ether. The
mixture is tabletted to unitary weight of 1000 mg/tablet           25   granulate is extruded through a metallic screen of suitable
equivalent to 900 mg of active ingredient.                              size and mfred with 50 g of hydroxvpropyl methylcellulose,
                                                                        1320 kgofma!todextrins. 2 kg oflactose-cellulose mixture, 50
                        EX4MPLEF                                        gofcolloidal silica, 40 gofaspartame, 150 g ofcitric acid, 75
                                                                        go/flavour and 65 g ofrnagnesium stearate. l'hefinal mixture
   50 g (25 g) ofcarbidopa and 200 g (100 g) of'/evodopa are
                                                                 30     is tab/etted to unitarv weight of about 500 mg, having hard-
dispersed in a granulator/k11eaderwith 60 g (JO g) ofstearic
acid and 30 g (15 g) of yellow wax, in which 10 (5) g of                ness suitable for being dissolved in the mouth and a pleasant
diethylene glvcol monoethyl ether had previously been                   taste.
melted.
   The system is heated to carry out the granulation of the                                  EXAMPLEJ
active ingredient in the inert matrix. The resulting 340 g (170 "
g) o/ji1rmulalion are added with 20 g (I 0 g) ojhydrox;proJcVl         Operating as in the preceding example, chewable tablets
methylcellulose, 10 g(5 g) ofxantangum, 16 g (8 g) ofmicro-         are prepared replar·ing de.xlrin with mannitol and the lactose-
crystalline cellulose, 4 g (2 g) of magnesium stearate.             cel/ulose mixture with ;ylitol. The resulting tablets have
   l71ejinal mixlure i.1 lahlelled to unitary weight o/400 (200)    pleasant taste and give upon chnFing a sensation o_ffreshness
mg/tablet equivalent to 50 (25) mg of carbidopa and 200 40 enhancing the }favour.
(-100) mg di levodopa.

                        EX4MPLEG                                                                      EX4MI'LEK

    4 g of Nimesulide are solubilised in 50 g of diethylene        45     Operating as described in example I, buttrith thefollowing
glycol monoethyl ether, then JOO g ofmicrocrystalline cellu-            componenls:
lose are added to obtain a homogeneous mixture.
    The resulting mixture is added in a granulator/lmeader
'vvith 196 g r~{1Vimesulide, 50 g r~{slearir· acid and 25 g rlj'
                                                                                                                          mg      100
carnauba wax. The system is heated to carry out the granu-         50                                                     mg       15
lation of the active ingredient in the inert and amphiphilic                                                              mg
matri.:r system.                                                                                                          mg      167
                                                                                                                          mg      150
    425 g of the resulting granulate are added with 60 g of
                                                                            meth;•lh;•dro.\)'fropylcellu/ose              mg       30
hydrmypropyl methylcellulose, 5 g ofpolicarbophil and 10 g                             a5partamc                          mg       15
of magnesium stearate.                                             55                                                     mg
    771e final mixture is tahleUed to unitary iveighl of 500                culloidul silica                              mg
                                                                            magnesium srearatc                            mg
mg/tablet equivalent to 200 mg of active ingredient.
    The resulting tablets, when subiected to dissolution test in
simulated enteric juice, have shown a release of the active                500 mg unilalJ' weigh! Jab/els are ubiained, i-vhich undergo
prinr·iples having thefollo'vvingprrljile: ajier 1 hour no more    60
                                                                        progre.\sive erosion iq)()n hzu:r·al adminislration, and ejfi:c-
than 25%, after 2 hours no more than 40%, after 4 hours no              tively mask the bitter. irritating taste of the active ingredient.
nwre than 6(f.fo, after 8 hours no nwre than 9(f.fo.

                        EX4MI'LEH                                                                     EX4MI'LEL
                                                                   65
  500 g ofpropionyl carnitine are dispersed in a granulator/              Operating as described in example I, but with the.following
kneader with 90 g ofstearic acid and 40 g ofcarnauba wax.               components:


                                              Cosmo v. Alvogen, et al.                                              COSMO-UCERIS-DE00000161
                                       C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                     US RE43,799 E
                                     11                                                               12
                                                                           budesonide as an active ingredient incorporated into a
                                                                              matrix strucmre consisting essentially of:
                                                mg      25                 a) a lipophilic matrix consisting oflipophilic compmmds
                                                mg
                                                mg
                                                                              with" melting point between 40° C. "ml 90° C. in which
                                                mg                            the active ingredient is at least partially inglobated;
                                                mg     168                 b) an amphiphilic matrix;
                                                mg     150                 c) an outer hydrophilic matrix consisting of hydrogc1s in
                                                mg      20
                                                mg
                                                                              which the lipophilic matrix and the amphiphilic matrix
                                                mg                            are dispersed; and
    colloidal silica                            mg                10       a gastro-rcsistant coating wherein the active ingredient is
    magnesium stearate                          mg                            dispersed hnth in the hydrophilic matrix and in the 1ipo-
                                                                              philic/amphiphilic matrix, and the composition is in the
   400 mg unitary weight tablets are obtained, Yvhich undergo                 fonn of tablets, capsules or minitablets.
progressive erosion iq)()n huccal adminisLraiion, and efll::.c-            2. TI1e composition according to c1aim 1, \Vherein the
tive(v mask the irritating taste <?fthe active ingredient.      15      active ingredient is mixed and at least partially inglobated in
                                                                        the amphiphilic matrix.
                            PXAlvfPl.F M                                   3. '111e composition according to claim 1, wherein the
                                                                        active ingredient is mixed and at kast partially ing1obated in
  Operating as described in example I, but with thefollowing            the lipophilic matrix.
componenLs:                                                  20            4. The composition according to claim 1, wherein the lipo-
                                                                        philic matrix consists of C6-C20 alcohols or C8-C20 fatty
                                                                        acids or esters of fatty acids with glycerol or sorbitol or other
                                                                        polyalcohols with carbon atom chain not higher than six.
                                                mg      2.5                5. '111e composition according to claim 1, wherein the
                                                mg      0.5
                                                mg      0.5       25    amphiphi1ic matrix consists amphiphilic compounds sekctcd
                                                mg      0.3             from the group consisting of polar lipids of type I or II,
                                                mg     18               ceramides, glycol alkyl ethers, esters of fatty acids with poly-
                                                                        ethylene glycols. and dicthylene glycols.
    maltodexlnns                                mg     96
    hyclmxyp11?py1 methylcellulose              mg     JO
                                                                           6. The composition according to clai111 l, wherein the lipo-
               usparlume                        mg                30    philic matrix consists of a compmmd selected from unsatur-
                                                mg                      ated or hydrogenated alcohols or fatty acids, salts, esters or
    colloidal silica                            mg                      amides thereof, mono-, di- or triglycerides of fatty acids, the
    magnesium slearale                          mg
                                                                        polyethoxylated derivatives thereof, waxes, and cholesterol
                                                                        derivatives.
   150 mg unitary weight tablets are obtained. ivhich undergo     l'S      7. TI1e composition according to claim 1, \Vherein the
progressive erosion upon bucca/ administration, and eJ/Cc-              hydrophilic lill:ltrix consists of compounds selected from
tively mask the irritating taste r~{the adive ingredient.               acrylic or methacrylic acid polymers or copolymers, alky>lvi-
                                                                        nyl polymers, hydroxyalkylcellulose, carboxyalkylcellulose,
                            loXA.M.PLE N                                polysaccharides. dextrins. pectins, starches and derivatives,
                                                                  40    alginic acid, natural or synthetic gums, polyalcohols.
   One Kg ofNimesulide is placed in a high rate granulator,                8. The cmnposition according to clai111 l: wherein the gas-
pre-heated to about 70°, together with g 125 ofcetyl alcohol:           tro-resistant coating consists of acrylic and methacrylic acid
the mixlure is h,71eadedfOr about 15 minutes and stirred while          polymers or copolymer or cellulose deriv(:ltives.
decreasing temperature to about 30° C., then added with g 30               9. The composition according to claim 1, forther compris-
of lecithin. I7ie resulting matrix is then extruded through a     4,    ing bioadhesive substances.
metallic screen of suitable size and mixed with 2.415 kg of                10. TI1e composition according to claim 1, wherein the
lactose. 1.0 kgofmaltodextrins, 50 g ofhydroX')propyl meth-             composition is in tablet fonn, and said tablet form is chewable
ylcellulose, 50 g of colloidal silica, 40 g of aspartame, 150 g         or erodible in the buccal cavity or in the first portion of the
ofcitric acid, 75 g off/avour and 65 g ofmagnesium stearate.            gastrointestinal tract.
The final mixture is tahletted lo ahout 500 mg tahlets, having    50       11. A method for the treatment a subject sulTering from
hardness suitable for being dissolved in the mouth and pleas-           Inftanm1atory 13owel Disease and Irritable 13owel Syndrome,
ant taste.                                                              comprising administering an effective mnount of the pharma-
                                                                        ceutical composition according to c1aim 1 to a subject in need
  The invention daimetl is:
                                                                        of such <-.1 tre<-.1tment.
   1. A controlled release and taste-masking oral pharmaceu-
tical composition comprising:




                                                  Cosmo v. Alvogen, et al.                                    COSMO-UCERIS-DE00000162
                                           C.A. No. 1:15-cv-193; -164; -116 (LPS)
EXHIBIT 5
                                                                          Illlll llllllll Ill lllll lllll US008895064B2
                                                                                                          lllll lllll lllll 111111111111111111111111111111111


02J    United States Patent                                                          (!OJ   Patent No.:                   US 8,895,064 B2
       Villa et al.                                                                  (45)   Date of Patent:                       *Nov. 25, 2014

(54)    CONTROLLED RELEASE A 'ID TASTE                                              6,140.308     A   10i2000 Brallsan<l
        MASKING ORAL PHAR1'-L<\CEUTICAL                                             6,190.692     Bl   2/2001 BuscLLi
                                                                                    6,214.378     Bl* 4il001 Tanida et al.                       . 4141463
        COMPOSITION                                                                 6,239.120     Bl   5i2001 Hallgren et al
                                                                                    6,258.377     Bl   712001 New
(75)    Inventors: Roberto Villa, Lecco (IT); :\fassimo                             6,368.629     ill  4il00l Watanabe et al.
                   PedranL Gignese (IT); Mauro Ajani,                               6,368.635     R1       4/2002 Akiyama
                                                                                    6,562.363     Bl    5i2003 Manlclk
                   Milan (TT); Lorenzo Fo.sati. Milan (TT)                          7,410.651     Bl    8i2008 Villa cl al.
                                                                                    7,410.652     Bl    8il008 Villa et al.
(73)    Assignee: Co•mo Technologies Limited, Dublin                                7,431.943     Bl* 10i2008 Villa et al.                   424i468
                  (IE)                                                              8,029.823     B2 * 10i2011 Villa et al.                  424!464
                                                                                2006/0003006      Al    li2006 Remon et al
                                                                                2006/0057200      Al*   3/2006 Schaeffler ............... 424/470
( *)    Notice:         Subject to any disclaimer, the term of this
                                                                                2006/0134208      Al    6/2006 Villa et al.
                        patent is extended or adjusted under 35                 2011/0123460      Al* 5i2011 Wilhelm cl al . . .. .. .. .. .. 424/43
                        U.S.C. 154(b) by 0 days.                                2012/0021052      Al    1/2012 Villa et al.
                                                                                2012/0021053      Al    112012 Villa et al.
                        This patent is subject to a terminal dis-               2012/0220559      Al* 812012 Villa et al.                    514/174
                        clain1er.
                                                                                              FOREIGN PATENT DOCUMENTS
(21)    Appl. No.: 13/226,758
                                                                               CJ\                  2119253            llil998
(22)    Piled:          Sep. 7, 2011                                           EP                  0 375 063    Bl      6il990
                                                                               UP                  0 453 001    Al     10il991
                                                                               EP                   0482576             4i1992
(65)                           Prior Publication Data
                                                                               EP                  0514008             11i1992
        US 2012/0021052 Al                   Jan. 26, 2012                     EP                  0514008      Al     llil992
                                                                               EP                   0514008            llil99l
                                                                               GB                     935639            9il963
(51)    Int. CI.                                                               JP                 63-048226             2il988
        A61K 9120                        (2006.01)                             JP                 04-159217             6il992
        A61K 9122                        (2006.01)                             JP                 05-132416             5i199l
        A61K 9126                        (2006.01)                             WO                  92/21328     A1     12i1992
        A61K 9128                        (2006.01)                             WO                  93/00889     Al      Ji 1993
                                                                               WO                  93/05768     Al      4il993
        A61K 9124                        (2006.01)
        A61K 31158                       (2006.01)                                                             (Continued)
        A6JK 9116                        (2006.01)                                                  OTIIER PUl3LICATIONS
(52)    U.S. CI.
        CPC ................. A61K9/2077(2013.0l):A61K9/28                     R.R. D'Haens et al. "Clinical trial: Preliminaiy efficacy and safety
                  (2013.01): A61K9/2013 (2013.01); A61K                        study of a new Budesonide-MMS 9mg extended-release tablets in
                  912054 (2013.01 ): A61K 91209 (2013.01);                     patients with active left-sided ulcerative colitis"; pp 153-160; Jour-
                       A61K 912846 (2013.01); A61K 912866                      nal ofCrohn's and Colitis (2010)."
           (2013.01); A61K 31/58 (2013.01): A61K 911617                        GLN I News Highlights: Positive Phase Ill Data Leads Cosmo to
                          (2013.01 ); A61K 911652 (2013.01)                    Project U.S. and liU liiling for UC Dmg in 2011; Nov. 8, 2010.>1'
        USPC .......... 424/464; 424/465; 424/468: 424/469;                    Santams Submits f\J) for Phase TH Clinical Testing ofRifamycin SV
                                           4241474; 424/482                    VfV1X in Travelers' Diarrhea: Dec. 30, 2009.*
(58)    Field of Classification Search                                         Brunner, M. cl al., "Gastroinlcstinal Transit, Release and Plasma
        None                                                                   Pharmacokincli(.;s of a N(,;w Oral Bud(.;sonidc Fonnulalion," Brilish
        See application file for complete search history.                      Jomnal of Clinical Pharmacology, DOI:lO.l l ll/j.1365-2115.2005.

                                                                                                               (Continued)
(56)                           References Cited
                                                                               Primary Rxaminer - Susan Tran
                    U.S. PATENT DOCUMENTS
                                                                               (74) ALLorney, Agenl, or Firm- Rnthwe11, Figg, Frnst &
       3,800,051 A              3/1974   Barnhart et al.                       Manbeck P. C.
       4,608,248 A              8/1986   Knecht et al.
       5,320,848 A              6/1994   Geyer                                 (57)                          ABSTRACT
       5,342,625 A              8/1994   Hauer
       5,5:l4,501   A           7/1996   Samain                                Controlled release and taste masking compositions contain-
       5,597,844    A           1/1997   Chauhan                               ing one or more (:lclive principles inglob(:lted in (:I three-cmn-
       5,643,602    A           7/1997   Ulmius                                ponent matrix structure, i.e. a stn1cnrre formed by successive
       5,681,584    A          10/1997   Savastano et al.
       5,811,388    A           9/1998   Friend et al.                         amphiphilic. lipophilic or inert matrices and finally inglo-
       5,840,332    A   *>:•   11/1998   Lerner etal.        .. 424/464        batcd or dispersed in hydrnphi1ic matrices. The use of a plu-
       5,863,910    A           1/1999   llolonick et al.       514/174        rality of systems for the control of the dissolution of the active
       5,874,061    A           211999   Briggner et al.                       ingredient modulates the dissolution rate of the active ingre-
       5,908,831    A           6/1999   Brattsand et al.                      dient in aqueous and/or bio1ngica1 ttuids, thereby contro11ing
       5,955,502    A           9/1999   Hansen ct al.
       5,965,167    A          10/1999   Sanghvi                               the release kinetics in the gastrointestinal tract.
       6,004,582    A          12/1999   Faour et al.
       6,042,847    A           3/2000   KerC et al                                                  12 Claims, No Drawings


                                                          Cosmo v. Alvogen, et al.                                          COSMO-UCERIS-DE00001288
                                                   C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                                 US 8,895,064 B2
                                                                           P"ge2


(56)                       References Cited                                     Physical Pharmacy. Chapter 19: Drug Product Design, Oct. 199:1, pp.
                                                                                515-519.
                                                                                :Yforo. cl al., "Drug Delivery Systems: Diffusion Controlled Sys-
               FOREIGN PATENT DOCUMENTS
                                                                                tems", II Prodotto Chimico & Aerosol Selezione (The Chemical &
WO                  94!12180    >\I      6/1994                                 Aerosol Selection), Apr. 1985, pp. 16-24.
WO                  95/16451    Al       6/1995                                 Travis, S et al., Poster, "Induction of Clinical and Endoscopic Remis-
WO                  96!!3273    Al       5/1996                                 sion with Budesonide MMX in Mild-to-Moderately Active Ulcer-
WO                  96/36318    A2      11/1996                                 ative Colitis. Magnitude of Response in 'l',vo Phase Ill Sn1dies." Oct
WO                   9800169             1/1998                                 20-24, 2012, Amsterdam, UliG Week, 1 page.
WO                  99/11245             3/1999                                 Lichtenstein. Ci-. et al.. Poster, "'Effect ofRudesonide VfV1X 6 mg on
WO                  99/17752             4/1999
                                                                                the Hypothalamic-Pituitary-Adrenal (HPA) Axis in Patients \Vith
                     OTHER PUBLICATIONS                                         "Llccrative Colitis: Results from Phase III. 12 Monlh Safely and
                                                                                Exlended Use Sludy." May 2012. San Diego, CA, 1 page.
02517.x, pp. 1-8, copyright 2005 Blackwdl Publishing Lid .. 8 pages.            Sandborn, \V.J. et al., ''Once-Daily Budesonide MMX 1E: Extended
Brnnner, M. et al., ''Gastrointestinal Transit and 5-ASA Release                Release Tablets Induce Remission in Patients \Vith Mild to Moderate
From a ""\-evv Mesalazine Rxten<le<l-Release Formulation," Alimen-              "Llcerative Colitis: Results From the CORE I Sn1dy," Gastroenterol-
tary Phannacology and Therapeutics, vol. 17, pp. 395-402. copyTight             ogy 2012, vol. 143, pp 1218-1226
2001 Rlackwell Publishing T.td., 8 pages.                                       Spurio. l' l' et al.. "Low Gioavailability and Traditional Systemic
Angelucci et al , ''Budesonide for Inflammatory Bowel Disease
                                                                                Steroids in lGD: Can the l'onner Take Over the Latter?." Journal of
Trcalmcnt," Current Medicinal Chcmislry, 2008. vol. 15. No. 14, pp.
                                                                                Gastrointestinal and Liver Diseases, Mar. 20D, vol. 22. No. 1, pp.
2-9.
                                                                                65-71.
D'Hacns, G.R. ct al., "Bu<lcsonidc ~wxnt Is Adivc and Safe in
Patients \\litl1 Active Left-Sided Ulcerative Colitis." Br J Clinic             Travis, P.L. cl al., "Once-Daily Budcsonide MrY1X in Active, Mild-
Phannacol., 2005, vol. 61. 3 pages.                                             to-Moderate "Llcerative Colitis: Results From the Randomised
Maejima, T., ''Application ofTmnbling Melt Granulation Method to                CORE II Study," Gut. published online Feb. 22. 2013, doe: 10.1136/
Prepare Conlrolk<l-Rclcase Beads by Coating wilh Mixture ofFune-                gutjnl-2012-304258, 9 pages.
tional Non-Meltable and Meltable Materials." Chem. Pharm. llull.,               Sandborn, Vi J. et al., "Induction of Clinical and Endoscopic Remis-
1998. vol. 46. No. 3, pp. 531-533, <D 1998 Pharmaceulical Society of            sion of Mild to Moderately Active Ulcerative Colitis with
Japan.                                                                          lludesonide MMXC'B) 9 mg· Analysis of Pooled Data from 'hvo Phase
Sandborn, VV.J. ct al., "Budesonidc MXX'S:' 9 mg for lhe Indudion of            3 Studies," poster, I page, presented Oct. 2011 at ECCO (Furopean
Remission of ~1ild-to-Moderate Ulcerative Colitis (UC): Data l •ram             Crohn's and Colitis Organisation).
a Multi center, Randomized, Double-Blind Placebo-Contra lied Study              ""\-icholls, A .. "Rioavailability Profile of1Jceris(R) VfV1X~) Fxtended-
in North America and India," Presentation at DDW 2011, Poster, l                Release Tablets Compmed with Entoco1t~) EC Capsules in Healthy
page.                                                                           Volunteers," Journal oflnternational Medical Research, 0(0 ), pp. 1-9,
D'llaens, G.R., et al., ''Clinical Trial: Preliminary Lfficacy and              copyright© The Author( s) 2013.
Safety Study of a ~ew Budesonide-MMX~) 9 mg Extended-Release                    D'Haens, G.R. et al., full page poster: F.CCO Congress. Innsbruck,
Tablets in Patients With Active Left-Sided Ulcerative Colitis." Jour-           Austria, Mar. 1-3. 2007, 1 page.
nal ofCrohn's and Colitis, 2010, vol. 4, pp. 153-160. {)copyright               D'Haens, Cf.R. et al., "'Budesonide M"MX is Efficient and Safe in
2009 European Crohn's and Colitis Organisation.                                 Patients \vith Active Left-Sided Ulcerative Colitis," Jomnal of
Flanders, P. et al., The Control ofDrng Release From Conventional               Crohn's Colitis, vol. 1, No. 1. p. 14, P043. Mar. 2007, Abstract, 1
Melt Ci-ranulation Matrices, Drug Development and Industrial Phar-              page.
macy, 1987, vol. 13. No. 6, pp. 1001-1022, © 1987 Marcel Dekker,                Jantzen, G.M. ctal., "Sustained- andControllcd-RclcascDrugDcliv-
Inc.                                                                            ery Systems." Modem Pharmaceutics, 3rd Edition, Revised and
Ferraboschi. P et al.. "Estimation and Characterisation of                      Expanded, pp. 575-609, 0 1996 by Marcel Dekker, Inc., 37 pages.
Budesonide Tablets Impurities," Journal of Phannaceutical and Bio-              Danese, S, "Review A1ticle: Integrating Budesonide-MrY1X Into
medical Analysis, 2008, vol. 47, pp. 636-640. © 2008 Elsevier B.V.              Treatment Algorilhms for Mild-to-Moderate Ulcerative Colitis,"
Fiorino, G. et al., "'New Drug Delivery Systems in Inflammatory                 AP&T Alimentary Pharmacology and TI1erapeutics, 2014, vol. 39,
BO\vel Disease MMXTM and Tailored Delivery to the Gut" Cmrent                   pp. 1095-1103. <C 2014 John Wiley & Sons Lid.
Medicinal Chemistry, 2010, vol. 17, pp. 1851-1857, :02010Rentham                Porro. G.ll., ''Comparative Trial of Methylprednisolone and
Science Publlishers Ltd.                                                        Budcsonide Enemas in Active Distal Ulcerative Colitis," European
Koutroubakis, I., ''Rc\..'.cnt Advances in lhe :Y'Ianagemcnt of Distal          Journal of Gastroenterology & llepatology, 1994, vol. 6, pp. 125-
Ulcerative Colitis," \\lorld Jomnal of Gastrointestinal Phannacology            130, 1£; Current Science ltd.
and Thcrapcuti\..'.s, 2010. vol. 1, No. 2, pp. 43-50, '.C,1 20 IO Baishidcng.   ~1cLeod, A.D et al., "Kinetic Perspectives in Colonic Drug Deliv-
JP Office Action dated May 6. 2010 from corresponding JP2001-                   ery," in Oral Colon-Specific Drug Delive1y, pp. 106-108, (David R.
502812.                                                                         l'riend ed., CRC Press 1992).
Steward, P., "Review ofPhannaceutical Controlled Release Methods
and Devices", 1995, pp. 1-9.                                                    * cited by examiner




                                                      Cosmo v. Alvogen, et al.                                            COSMO-UCERIS-DE00001289
                                               C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                            US 8,895,064 B2
                                                                                                                   2
          CO"ITROLLED RELEASE Al'ID TASTE                                       dissolution of polymers or suitable substances to fom1 a inert
          MASKING ORAL PHARVlACEUTICAL                                          lill:ltrix \.Vith the <-Jctive ingredient :Jnd the subsequent deposi-
                  CO,fPOSITION                                                  tion of said solution on an inert carrier which acts as the core
                                                                                of the device. Alternatively. the inert carrier is kneaded with
  The present invention relates to controlled release, delayed                  the solution containing the inert polymer llild the active ingre-
release, pm1ongcd rckasc, extended rc1casc and or taste     1
                                                                                dient, then the orgmllc solvent used for the their dissolution is
nK1sking compositions cunt:Jining budesoni<le :JS <-Jctive ingre-               evaporated off to obtain a solid residue. The resulting struc-
dient incorporated in a three-component matrix strncture, i.e.                  ture is a "reservoir", i.e. is not nlacroscopically homogeneous
a stmcturc formed by successive amphiphi1ic, lipnphi1ic or                      along all the symmetry axis of the final form. The smne
inert ID(:ltrices (:lll<l fin<11ly incurpurnte<l or dispersed in hydro-   10
                                                                                "reservoir" structure is :Jlso described in Chem. Pilltrm. Bull.
philic matrices. The use of a plurality of systems mechanism                    46 (3), 531-533. (1998) which improves the application
for the control of the dissolution of the active ingredient
                                                                                through an annealing teclmique of the inert polymer layer
inoduhites the dissolution rnte of the (:lclive ingredient in
                                                                                which is deposited on the surface of the pellets.
aqueous and/or biological fluids, thereby controlling the
                                                                                   To the "reservoir" structure also belong the products
release kinetics in the gastrointestinal tract, and it also allows 1'
the urnl m1ministrntion of GJctive principles illtving unfavour-                obtained according to the technique described in WO
able taste characteristics or irritating action on the inucosae of              93/00889 which discloses a process for the preparation of
the administration site, particularly in the buccal or gastric                  pellets in hydrophilic nrntrix which comprises:--<lissolution
area.                                                                           of the active ingredient with gastro resistant hydrophilic poly-
  TI1e compositions of the invention are suitable to the oral             20    mers in organic solvents;-drying of said suspension;-sub-
administration or the efficaciously deliver the active ingredi-                 sequent kneading llild formulation of the pellets in a hydro-
ent acting topica11y at some areas nfthc gastrointestinal tract.                philic or lipophilic m<-Jtrix without distinction of eiTectiveness
                                                                                between the two types of application. RP 0 453 001 discloses
             TECHNOLOGICAL BACKGROUND                                           a multiparticulate with "reservoir" strncture inserted in a
                                                                          25    hydrophilic matrix. The basic multiparticulate utilizes two
  TI1e preparation of a sustained, controlled, delayed,                         coating membranes to decrease the release rate of the active
extended or m1yhow modified release form Cllil be carried out                   ingredient, a pH-dependent membrllile with the purpose of
according to different techniques:                                              gastric protection and a pH-independent methacrylic mem-
  1. The use of inert matrices, in which the main component                     brnne with the purpose of slowing down thepenetrntionofthe
        of the matrix strncture opposes some resistllilce to the          3U
                                                                                aqueous fluid. Vv'O 95/16451 discloses a composition only
        penetration of the solvent due to the poor affinity
                                                                                fonned by a hydrophilic matrix coated with a gastro-resistant
        towards aqueous fluids; such property being known as
                                                                                film for controlling the dissolution rate of the active ingredi-
        lipophilia.
                                                                                ent. \'<'hen preparing sustained-, controlled-release dosage
   2. The use of hydrophilic matrices, in which the main
      con1ponent of the m:Jtrix structure opposes high resis-             35
                                                                                fi.1rms of a medicament topically active in the gastrointestinal
        lance to the progress of the solvent, in that the presence              tract, it is important to ensure a controlled release from the
        of strongly hydrophilic groups in its chains, mainly                    first phases following administration, i.e. when the inert
        brnnched, rem<-Jrk:Jbly incre:Jses viscosity inside the                 lill:ltrices h<-Jve the n1<-Jxi111um rele:Jse rnte inside the log<-Jrith-
     hydrated layer.                                                            mic phase, namely the higher deviation from linear release.
  3. ·111e use of bioerodible matrices, which are capable of              40    Said object has been attained according to the present inven-
     being degrnded by the enqmes of some biological com-                       tion, through the combination of llil amphiphilic matrix inside
     partment.                                                                  an inert matrix. the latter frmnulated with a lipophilic poly-
  All the procedures listed above suffer, however, from draw-                   mer in a superficial hydrophilic matrix. '111e compositions of
b<-Jcks <-Jnd imperfections.                                                    the invention are characterized by the absence of a first phase
  Inert matrices, forexmnple, generally entail non-linear, but            45    in vvhich the medicmnent superflci<-Jlly present on the m:Jtrix
exponential, release of the active ingredient.                                  is quickly solubilized, and by the fact the amphiphilic layer
  Hydrophilic matrices: have a linear behaviour until a cer-                    compensate the lack ofaffinity ofthe aqueous solvent with the
tain fraction of active ingredient has been released, then sig-                 lipophilic compounds forming the inner inert m<-Jtrix.
nificlliltly deviate from linear release.
  Riocrodible matrices arc ideal to carry out the so-called               'SO               [)]SCLOSURE OF THE TNVENTTON
"sire-release", but they involve the problem of finding the
suitable enzyme orreactive to degradation. Furthem1ore, they                       The invention provides controlled release, delayed release,
frequently release in situ metabolites that arc not wholly                      prolonged release, extended release and/or taste masking oral
toxicologic<11ly inert.                                                         pillirm<-Jceutic<-Jl cmnpositions cont.:Jining <-JS :Jctive ingredient
   A number of fonnulations based on inert lipophilic matri-              55    budesonide comprising:
ces have been described: DrngDev. lnd. Pharm. 13 (6), 1001-                        a) a matrix consisting oflipophilic compounds with melt-
1022, (1987) discloses a process =king use of varying                           ing point lower than 90° C. and optionally by amphiphilic
amounts of colloidal silica as a porization element for a lipo-                 compounds in which the active ingredient is at least partially
philic inert matrix in which the active ingredient is incorpo-                  incorporated;
rnted                                                                     60      b) an amphiphilic matrix;
    TI1e saine notion of canalization of an inert matrix is                        c) an outer hydrophilic matrix in which the lipophilic
described in U.S. Pat. No. 4,608,248 in which a small mnount                    matrix and the amphiphilic matrix are dispersed:
of a hydrophi1ic polymer is mixed \Vith the substances form-                       d) optionally other excipients.
ing an inert matrix, in a non sequential compenetration of                         A particular aspect of the invention consists of controlled
different matrix materials. EP 375,063 discloses a teclmique              65    release, delayed release, prolonged release. extended release
tl1r the preparation of multiparticulatc granules for the con-                  and/or taste masking oral compositions containing as active
trolled-release of the active ingredient which comprises co-                    ingredient budesonide comprising:

                                                   Cosmo v. Alvogen, et al.                                               COSMO-UCERIS-DE00001290
                                            C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                           US 8,895,064 B2
                                  3                                                                       4
   a) a matrix consisting of amphiphilic compounds and lipo-                 polyethoxylated derivatives thereof, waxes, ceramides,
      philic compounds with melting point below 90° C. in                    cholesterol derivatives or mixtures thereof having melt-
      \vhich the active ingredient is at Jcast partia11y incorpo-            ing point within thernnge of 40 lo 90 C., preferably from
      rated:                                                                 60 to 70 C. If desired a fany acid calcium salt may be
   b) an outer hydrophilic matrix in which the lipophilic/                   incorporated in the lipophilic matrix which is subse-
      amphiphilic matrix is dispersed. preferably hy mixing:                 quently dispersed in a hydrophilic nrntrix prepared with
   c) optiomlly other excipients.                                            alginic acid, thus remarkably increasing the hydrophilic
   According to a preferred embodiment of the invention, the                 matrix viscosity following penetration of the solvent
active ingredient hudcsonidc is contained in the composition                 front until contact with the lipophilic matrix granules
in cin (:lffiOLJnt from 1.5 tu 15% v.;/w, b:Jsed on the tot(:ll \veight 10   dispersed inside. An mnphiphilic matrix with high con-
of the composition. According to a preferred embodiment of                   tent in active ingredient, typically from 5 to 95% w/w. in
the invention, budesonide is comprised in an mnount from 5                   particular from 20 to 70~/o, or from 1.5 to 15~0 w/w. is
tu 10 mgs/dose unit, mureprefernbly in:Jn (:lffiOLJnt ufGJbout 6             first prepared by dispersing the active ingredient in a
ings/dose unit or 9 mgs/dose unit.                                           mixture of mnphiphilic compounds, such as lecithin,
   A further aspect of the invention provides taste masking 1'               other type Tl polar lipids, surfactants, or in diethylcne
urnl pilltrm<-Jceutic(:ll compositions bmlesonide cunt<-Jining               glycol monoethyl ether; the resulting <1mphiphilic
comprising:                                                                  matrix is then mixed or kneaded, usually while hot, with
  mi inert or lipophilic matrix consisting of C6-C20 alcohols                lipophilic compounds suitable to form an inert matrix,
    or C8-C20 fany acids or esters offany acids with glyc-                   such <1s S(:lturnted or uns(:lturnted fatty <1cids, such (:IS
    erol or sorbitol or other polyalcohols with carbon atom 20               paln1itic, stearic, n1yristic, lauric, laurylic, or oleic acids
    chain not higher than six:                                               or mixtures thereof with other fatty acids with shorter
  an amphiphilic matrix consisting of polar lipids of type Tor               ch<1in, or s<1lts or (:llcohols or deriv(:ltives of the cited fatty
    II or glycols partially etherified with Cl -C4 alk')' 1chains;           acids, such as mono-, di-, or triglycerids or esters with
  an outer hydrophilic nrntrix containing the above 111atrices,              polyethylene glycols, alone or in combination with
     mainly fi.1rmcd hy saccharidc, dcxtrin, polyakohol or 25                W(:!Xes, cernmides, cholesterol deriv<1tives or other <1pofar
    cellulose compounds or by hydrogels or their mixtures;                   lipids in various ratios so that the melting or softening
  optional excipients to give stability to the pharmaceutical                points of the lipophilic compounds mixtures is within
    formulation.                                                             the range of 40 to 90° C., preferably from 60 to 70° C.
                                                                             Alternatively, the order of formation of the inert and
    DETAILED DISCLOSURE OF THE INVENTION                               30    mnphiphilic matrices can be reversed, incorporating the
                                                                             inert matrix inside the amphiphilic compounds. The
  Tiie compositions of the invention can be prepared by a                    resulting inert lipophilic matrix is reduced into granules
method comprising the following steps:                                       by an extnlSion and/or granulation process, or any other
  a) the active ingredient. represented by budesonide, is first              known processes which retain the homogeneous disper-
     inglob(:lted by simple kne(:lding or mixing in (:I m(:ltrix or 35       sion m1d m(:ltrix structure of the st(:lrting inixture. The
     coating consisting of compmmds having amphiphilic                       hydrophilic matrix consists of excipients known as
     properties, which will he further specified below. TI1c                 hydrogc1s, i.e. substances \vhich \Vhen passing from the
     (:lctive ingredient c<1n be mixed \Vith the (:lmphiphilic               dry slate lo the hydrnted one, undergo the so-called
     compmmds without the aid of solvents or with small                      "n1olecular relaxation": nan1ely a renrnrkable increase in
     mnounts of\vater-alcoholic solvents.                           40       mass and weight following the coordination of a large
  b) the matrix obtained as specified under a) is incorpornted               nmnber ofw<1ter molecules by the pobr groups present
     in a low melting lipophilic excipient or mixture of                     in the polymeric chains of the excipients themselves.
     excipients. if necessary while heating to soften mid/or                 Examples of hydro gels which can be used according to
     melt the excipienl itself, which thereby incorporntes the               the invention (:Ire compounds selected from (:lcrylic or
     active ingredient by simple dispersion. forming an inert 45             methacrylic acid polymers or copolymers, alk')'lvinyl
     matrix which can be reduced in size to obtain inert                     polymers, hydroxyalkyl celluloses, carboxyalkyl cellu-
     matrix granuks containing the active ingredient par-                    loses, polysaccharides, dextrins, pectins, starches and
     ticles.                                                                 derivatives, natural or synthetic gums, alginic acid. In
  c) the inert matrix granules are subsequently mixed                        case of taste-masking fornmlations, the use of polyalco-
     together with one or more hydrophilic water-swc11ablc 'SO               hols such as xylitol, maltitol and mannitol as hydrophilic
     excipients. The mixture is then subjected to compression                compotmds can also be advantageous. The lipophilic
     ortabletting. This way, when the tablet is contacted with               matrix granules containing the active ingredient are
     biological ttuids, a high viscosity swollen layer is                    mixed with the hydrophilic compounds cited above in a
     formed, vvhich coon1in(:ltes the solvent molecules (:Ind                weight ratio typically ranging from 100:0.5 lo 100:50
     acts as a barrier to penetration of the aqueous fluid itself 55         (lipophilic matrix: hydrophilic matrix). Part of the active
     inside the new stmcture. Said barrier antagonizes the                   ingredient can optionally be mixed with hydrophilic
     st(:lrting "burst effect" C(:!Used by the dissolution of the            subst(:lnces to provide cmnpositions in which the <1ctive
     medicmnent inglobated inside the inert matrix, which is                 ingredient is dispersed both in the lipophilic and the
     in its turn inside the hydrophilic matrix. "lhe mnphipb.ilic            hydrophilic matrix, said compositions being preferably
     con1pounds which c<1n be used (:ICCllTding to the inven- 60             in the form of tablets, capsules and/or minitablels. The
     ti on comprise polar lipids of type I or II (lecithin, phos-            compression of the mixmre of lipophilic and/or
     phatidylcholine, phosphatidylethanolamine), ceram-                      mnphiphilic matrix, hydrogel-forming compound mid,
     ides, glycol alk')'l ethers such as dicthylcnc glycol                   optionally, active ingredient not inglobated in the lipo-
     monomethyl ether (TranscutolR). The lipophilic matrix                   philic matrix, yields a macroscopically homogeneous
     consists of substances selected from unsaturated or 65                  stmcture in all its volume, namely a matrix containing a
     hydrogenated akohols or fatty acids. salts, esters or                   dispersion of the lipophilic granules in a hydrophilic
     amides thereof, fatty acids mono-, di- ortriglycerids, the              matrix. A similar result can also be obtained by coating


                                                  Cosmo v. Alvogen, et al.                                       COSMO-UCERIS-DE00001291
                                           C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                                US 8,895,064 B2
                                    5                                                                                6
      the lipophilic matrix granules with a hydrophilic poly-                         According to a further preferred embodiment of the inven-
      111er coGJting. The tGJblets ubt<-Jiilllble GJcconling to the                 tion the bu<lesunide cmnpositiun rele<-Jse is:
      invention can optiona11y he subjected to known coating                           below 15% within the first hour at pH 7.2,
      processes with a gastro-resistant film/gastro-resistant                         below 25% within two hours at pH 7.2;
      coating, consisting of for example, acrylic and/or meth-                        between 25% and 55% within four hours pll 7.2:
      "crylic "cids polymers (Eudrngit (R)) or copolymers                             gre"ter th"n 80% within eight hours "t pH 7.2
      (Fudragit S/T ,) or cc11u1osc derivatives, such as ccllu1osc                    According to a further preferred embodiment nfthc inven-
    acetophthalate/s.                                                               tion the budesonide composition release is:
  According to a preferred embodiment of invention the                                 below 15% with the first hour at pll 7.2,
                                                                            10
gGJslro-prutective cociting ccin be represented by      <-.1   mixture of              between 20% "ml 60% within four hours "t ph 7.2;
acrylic and/or methacrylic acid copolymers type A and/or                               greater thm1 80% at eight hour at pH 7 .2
type B ("s, for ex"mple, Eudrngit SIOO "ml/or Eudrngit
LlOO).                                                                                                      Fxpcrimental Part
   According to a further embodiment of the invention. the                      ,
                                                                            1
inixture of <-Jcrylic m1d/or ineth<-Jcrylic :Jci<l copolymers type A                  To test the effective ability of the formulations of the inven-
and/or type Bis preferably in a range ratio from 1:5 to 5:1.                        tion tu modify the rele(:lse rnte :Jnd extent of the <-Jctive ingre-
   According to another further embodiment, the gastro-pro-                         dient from the dosage form suitable for the drug administra-
tcctivc coating a1so optinna11y comprises p1asticizcrs, dyes. at                    tion. before any phannacokinetic study on patients or
least one water-solvent, at least one organic solvent or a                          volunteers, the dissolution test is taken as monitoring and
                                                                            20
mixture thereof.                                                                    discrimimting tool (Gicconling to USP type II G1pp<1rntus cmn-
  ll1c composition of the invention can further contain con-                        plying with USP <711>).
vcntiona1 cxcipicnts, for cxampk hioadhcsivc cxcipicnts
                                                                                      Also the bioavailability profile of the formulations of the
such as chitosans, polyacrylamides, natural or synthetic
gl11lls. acrylic acid polymers. The compositions of the inven-                      invention is carried out, in comparison with a the marked
tion are preferably in the form of tablets, capsules or minit-              25      furmuhitiun Entocortelt EC 3x3 mg ccipsules. As preferred
                                                                                                              1




ablets. In ten11S of dissolution characteristics, contact with                      embodiment, the bioavailability study showed a T max average
water or aqueous fluids causes the immediate penetration of                         value higher than 8 hours and a MR!" average value higher
water inside the more superficial layer of the matrix which,                        than 14 hours.
thGJnks to the presence of the (:lqueuus solvent, svvells due tu                       According to the invention, T ma-c corresponds to "ti111e to
the distension of the polymeric ch"ins of the hydro gels, giv-              3U      peak concentration", i.e time to reach the peak plasma con-
ing rise to a high viscosity hydrated front which prevents the                      centration ofa dn1g afkr nra1 administration (Cma.-J and MRT
further penetration of the so1vcnt itself linearly slowing down                     corresponds to "mean residence time", i.e the average total
the dissolution process to a well determined point which can                        time molecules of a given dose spend in the body. This can
be located at about half the thickness, until the further pen-                      on1y be measured after instantaneous administration.
etration of water would cause the disintegration of the hydro-              35        OtherphG1nm:1cukinetics pGirmneters useful :Jccording to the
philic layer and therefore the release of the content which,                        invention are represented by:
consisting of inert matrix granules, however induces the dif-                           AUC, \vhich corresponds to "'area under the curve", i.ethe
fusion mechanism typical of these structures and therefore                          integr<-Jl of the concentrntion-time curve (<1fter :J single dose or
further slows down the dissolution profile of the GJctive ingre-
                                                                                    in steady state). In particular, AUC 0 _, is the area under the
dient. The presence of the "mphiphilic =trix inside the lipo-                       curve up to the last point and AUC 0 __, is the area under the
                                                                            40
phiEc matrix inert a11nws to prevent any unevenness of the
                                                                                    curve up to infinite.
release profile of the active ingredient. The surfactants
present in the amphiphilic portion promote wettability of the                         c max' which corresponds to "peak concentration": i.e. the
porous canaliculuses which cross the inert matrix preventing                        peak plasma concentration of a drug after oral administration.
or reducing resistance to penetration of the solvent inside the                       t 1 ,12 , which corresponds to "biologic<-Jl illtlf-ti111e", i.e. the
inert matrix. To obtain taste masking tablets, the components               45      time required for the concentration of the drug to reach half of
of the hydrophilic matrix are carefully selected to minimize                        its original value.
the (:lclive   subst~mce   rele<ise time through penetrntion cu..:cel-                Xu 0 _36h (ng), which corresponds to "urinary excretion". i.e.
ernted by the c"n"liz"tion induced by the hydrophilic com-                          the active ingredient metabolite urinary excretion during 36
pound.                                                                              hours time.
  ll1c compositions of the present invention arc prcfcrahly 'SO                       Tlag'   \Vhich corresponds to 1ag time, i.e. the time from
intended for use in the treatment of subjects suffering from                        administration of a drug to first quantifiable concentration.
Inflammatory Bowel Disease and/or Irritable Bowel Syn-                                CI, which corresponds to "confidence intervals", i.e. a
drome. Prctcrably, according to the invention Tntfammatory                          particu1ar kind of interval estimate of a population parameter
Bowel Dise"se is Crohn's dise"se "ml Irrit"ble Bowel Syn-             used to indic<-Jte the reli:Jbility of:Jn estim:Jte.
drome is Ulcerative Colitis.                                       55    CV, which corresponds to "coefficient of variation" pro-
   Further object of the invention is then a method for the           vides a relative measure of data dispersion with reference to
tre"tment of" subject suffering from Inlfamm"tory Bowel               themem1.
Disease and/or Irritable Bowel Syndrome comprising admin-             Dissolution Test Method
istering a phannaceutical composition comprising m1 effec-               Tablets according to the present invention undergo to dis-
tive (:IIDUunt ufbmlesuni<le, GJS cibuve defined m1d disclosed, tu 60 solution test to verify the formufation c:Jp<-Jcity in modufating
a subject in need of such treatment. Preferably, according to         and controlling the rate by which the active ingredient is
the inventionlnflanllllatory Bowel Disease is Crohn' s disease        leaked by the device or dosage fonn in the enviromnental
and Trritablc Bowel Syndrome is Ulcerative Colitis.                                 medium. genera11y a buftCred so1ution simulating gastric or
  According to a preferred embodiment of the invention the                          intestinal juices.
budesonide composition release is:                                          65         'lbe dissolution test is perfonned by introducing individual
  below 15% within the first hour at pH 7.2,                                        tablets in a g1ace vessc1 containing from 500 to 1000 m1 of a
  greater than 80% within eight hours at pll 7 .2.                                  buffered solution set to different pll conditions (pll 1, 6.4 and

                                                    Cosmo v. Alvogen, et al.                                                COSMO-UCERIS-DE00001292
                                             C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                            US 8,895,064 B2
                                  7                                                                                           8
7.2 are the pH condition generally used in this test applica-                                                           TABLE I
tions), so that the whole digestive tract pH conditions. from
stum:Jch tu l:Jrge intestine: should be reproduced. To simuhite                                 Me:in :t SD (CV °'fi) budesonlde PK p:irameters
the human body conditions, the test is carried out at a tem-                                         after admimstrat10n of Tl, T2 and R
perature of 37" C.:t2" C. and at predetennined time periods
                                                                                                    M.MXIM9mg                     M.YIX IM 6mg                Entocort Qf,EC
s<-Jmples of the dissolution medimn (:lfe withdrmvn to detect
                                                                                                           trl)                        (T2'1                   3x 3mg(R)
the percentage of active ingredient dissolved over time.
   'Jhe tablets according to the present invention. when                                                      PP-population (N = 12)
designed to be used to treat intfammatory howc1 disease, in
principle have to show a good resistance, thanks to the poly-                                           11.1 :t "i.9                ll.4:t5.l                      4.8 ± 1.4
meric film resistant to the low pH conditions (intended as <5                                             (44.5)                      (44.4)                         (28.6)
to simu1atc the gastric environment) appEcd to cover the                       C,,,,,,               1148.8 ± 958.8               1158.5 :!: 512.4            1 "i"i"i.9 :t '5~8.0
                                                                               tpgimL)                    1)1.l)                      (46.0)                         (37.8)
tablet surface, resistance which last at least for two hours: to
                                                                               AlJf: 0_,           ll"i"i"i.9 :tn16.9          10818.1 :t4401.6              11194.6 :t '5981.0
target the large intestinal sectors, also the pH condition of 6.4
                                                                        l "i   tpg x himL)                1,57.7)                   (40.7)                           (44.7)
shown unsuitability to determine a drug leakage from the
                                                                               AlJf:o-oo           16411.2:t10'519.~           11511.6 :!: 4 718. "i         140'57.0 :t 6178.7
<-.1<hninistrdtion device fur ci short exposition ti111e GJncl only            tpgx himL)               1,64.0)                     (41.lJ                           (45.4)
mediums at pH 7.2 have been able to determine an active                        C,,,,,,               149.9 ± 106.5               193.l ± 88.7                   172.9 :t 65.3
ingredient dissolution at a progressive and quite constant rate                (pg/ml)/                  (71.l)                       (46.0)                        (37.8)
during :J timefrnme frmn 6 tu 12 hours; the dissolution per-                   dose
centage obtained with this tablet fonnulation were below                20 AUCot                    1506.2    ±   868.5           1803.0 ± 733.6              1488.3 ± 664.8
15% at first hour sampling, below 25% at second hour sam-                  tpgx himL)/                  1,57.7)                       (40.7)                      (44.7)
pling, then v<-.1lues were in thernnge 25~-0 to 55o/o :Jt fourth hour          dose
and a dissolution greater than 80% was achieved at 8'" hour                    t112(h)                  8.2 :t 3.7                    G.G :t 2.4                  7.7 :t 1.8
sampling.                                                                                                (44.7)                       (36.8)                        (23.l)

Bimvaifability Study                                                    25 MRT (h)                     21.4 :t 6.8                  17.0 :!: 5.7                 11.6 :t 2.7
   13ioavailability profile of budesonide extended release                                               (11."i)                         (11.7)                     (21.l)
                                                                                                        PP-control population             ,~ =       11)
compositions (6 mg and 9 mg tablets) vs controlled ilea!
release formulation (Rntocort@ 3x3 mg capsu1cs) in healthy
                                                                                                      12.8    ±   6.0               11.0     ±   5.1              4.6   ±   1.4
volunteers is carried out. The objectives of the study are to
                                                                                                        (46.7)                        (46.4)                      (29.4)
compare the bioavailability and PK profile of a 9 mg budes-             3U
                                                                                                    1427.3 :t 964.3               1154.9 :!: 558.2            1549.0 :t 616.2
onidc extended release tablet formulation of the invention                     c"'"'
                                                                               tpgimL)                  1,67.6)                     (48.3)                        (39.8)
(herein after referred to as T 1) versus the market reference                                      13963.7 :t 8063.4           10331.4 :t42G4.l              13741.l :t 4147.5
                                                                               AUC 0 _,
formulation, Entocort<l\'> EC 3x3 mg capsules (Astra-Zeneca)                   (pg x himL)               (57.7)                     (41.3)                          (44.?)
(herein after rcfCrrcd to as R) and versus a 6 mg budcsnnidc                   AlJf:l,-<D          17041.~  :t 10807.~         11511.6 :!: 4 718. "i         14462.~   :t 6'572.1
formulation of the invention (herein after referred lo as T2).          35     (pg x h/mL)               (61.4)                          [41.1)                     (45.4)
   The primary end-point is comparing bioavailability rate                     C,,,,,,               158.6    ±   107.l            192.5     ±   93.0           172.1   ±   68.5
through the PK parameters of plasma budcsnnidc Cmax and                        (pglml)/                  (67.6)                          [48.3)                     (39.8)
T rruLA <-.1fter T 1 furmul<-.1tiun versus reference formul:Jtiun.             dose
  The secondary end-point is comparing bioavailability                     AUC 0 ,                  1551.5    ±   8Sl5.9          1721.9 ± 710.7               1526.8 ± 683.1
extent through plasma budesonide AUC 0 _, after II fonnula-             40 tpg x himLJ/                    1,57.7)                    (41.3)                       (44.7)
tion versus reference furmul<-Jtiun; cun1pmi.ng bim:1v<-.1il:Jbility
extent through the PK parameters of plasma budesonide                                                   8.4 :t 3.7                    G.G :t 2.4                   7.9 :t 1.7
AUC 0 _, after Tl formulation versus T2 formulation; descrip-                                              (44.0)                     (36.8)                        (21.0)
tive ph<-.1rm<1cokinetics of budesonide; ev<-.1hrntiun of m<1in                MRT (h)                 21.4 :t 7.1                  17.0 :!: 5.7                 11.~  :t 2.7
budesonide metabolite excretion in urine and safety of the test         45                                 (11.1)                        (11.7)                     (21.l)

and reference formulations.
   Budesnnide TV!MX™ extended release tablets 9 mgs (Tl)
and 6 mgs (T2) were orally administered in a single dose
                                                                                                                        TABLE2
under fasting conditions in different study periods with a
wash-out interval nfat least 5 days. One tablet of Tl (hatch            50             Mean± SD (CV °-'li) 6-j:)-hydroxy-budesonide cumulative excretion
M\!084) or T2 (batch TV158) was administered together with                                    (Xu 0 , 5 ,) afler mirmnislrnl1011 of Tl. T? wi<l R
240 mL of mineral water; the subjects were instrncted to
                                                                                               MYIXTYI9mg                    MMXTM 6mg                        Entocort@EC
s\va11ow the whoJc tablet without chewing.                                                          (Tl)                           (T2J                       3 x 3 mg (RJ
   TI1e reference therapy was Entocort:!!: EC 3x3 mg capsules
(MP0077; Astra-Zeneca. Sweden), orally administered in a                55                                     PP-populat10n (N          =   12)

single dose under fasting conditions together with 240 mL of                                 111061.9 :!: 51992.6          766~1.4 :!:   11879.4           161 "il"i.4 :t 60109.8
ininernl w<-.1ter; the subjects were instructed tu S\'V<11luw the                                  (48.6)                                                          (37.3)
whole tablet without chewing.                                                                 12340.2 :!: 5999.2                                            17948.4 :t 6701.l
                                                                                                   (48.6)                          (41.6)                          (17.1)
Results:
   Afterm1ministrntiun under fa sting conditions in3 cunsecu-           60
                                                                                                         PP-control population 0I                =   11)
tive study periods of a single dose of budesonide MMX™
extended release tablets 9 mg (n ). 6 mg (T2) of the invention                               114449.9 ± 55273.9            74729.9 ± 32673.4               164572.0 ± 62283.9
and F.ntocort F.C 3x3 mg capsules (R) the PK ofbudesonide                                          (48.3)                        (43.7)                          (37.8)
                                                                                              12716.6 ± 6141.5             12455.0 ± 5445.6                 18285.8 ± 6920.4
was found significally different. Mean:tSD (CV%) of plasma                                         (48.3)                        (43.7)                          (37.8)
budesonide and urine budesonide metabolite PK parameters                65
arc summarised in the tab ks 1-4 below for the PP population
(N~l2) and PP-control population (N~l!).


                                                   Cosmo v. Alvogen, et al.                                                              COSMO-UCERIS-DE00001293
                                            C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                                               US 8,895,064 B2
                                             9                                                             10
                                                  TABLE3
                 Mai11 i1ul1vi<lual w1<l mew1 bu<lesonide PK parameLern aller a<lm111islrntio11
                                 o.f :YIMX TM 9 moi; exLende<l release lablds Tl

                                      AUC 0 ,         AUC 0   oc       t 1"2   MR.T
 Subject                           (pg x h 1mL)    (pg x bimL)          (h)    (_ll)

                12      1127.8         8744.8        9287.9             5.9    16.4    125.3       971.6
                18       484.7         9070.4        9713.9             5.3    21.2     53.9      1007.8
                16       960.4        16569.5       20388.6            10.7    24.6    106.7      1841.1
                16       949.1        14)61.4       18681.2            10.9    28.1    105.'5     161~.2
                        1692.8        118)2.4       12202.8             1.9    11.9    188.l      1116.9
                        1472.5         8374.0       10125.2            11.5    18.3    163.6       930.4
                14      Ll"i0.7        9282.6        98)7.2             "i.7   16.6    1 )0.1     1011.4
                 6       894.9         5957.2        6608.2             5.0    13.5     99.4       661.9
   10           24       924.5        18026.7       10408.7            15.7    17."i   102.7      2001.0
   11                   4227.2        35119.3       42027.4            11.1    22.3    469.7      3902.2
   12           16       941.3         8946.6        9458.5             5.9    20.2    104.6       994.l
  107           18      1159.2        16164.1       18412.6             6.4    24.4    128.8      1796.0
                                              PP population, N     =   12

 MEAK           13.J    1348.8        13555.9         16431..2       8.2       21.4    149.9      1506.2
  SD             5.9     958.8         7816.9         10519.8       3.7         6.8    106.5       868.5
  CV%          44.5        71.1          57.7            64.0      44.7        31.5     71.1        57.7
  MIN                    484.7         5957.2          6608.2        3.9       13.5     53.9       661.9
  YIA...X       24      4227.2        35119.3         42027.4      15.7        37.5    469.7      3902.2
    ~           12        12             12               12       12          12       12          12
                                         PP-control   population, K = 11 >I<

 MEAK          12.8     1427.3        13963.7         17041.8           8.4    21.4    158.6      1551.5
  SD            6.0      964.3         8063.4         10807.8           3.7     7.1    107.l       895.9
  CV lJ'o      46.7       67.6           57.7             63.4         44.U    33.1     67.6        57.7
   MIN          6        894.9         5957.2          6608.2           3.9    13.5     99.4       661.9
  .YIA.X       24       4227.2        35119.3         421)27.4         15.7    37.5    469.7      3902.2
    ~          11         11             11               11           11      11       11          11

·~Subject   02 not mcludcd in calculations




                                                   LABLE4
                            Main hmlesonide PK parameters after administration of
                                  .YI.YIX 1 M 6 mg extended release tablets '1'2

                                     A1JC:o-t        A1JC:o-oc         tw      MRT
 Subject                           (pg x h 1mL)    (pg x bimL)         (h)     (_ll)

                14       49g.1         4095.2        4617.4             6.9    19.1     81.0       6~2.5
                16      1197.4        16173.8                                          199.6      2695.6
                        1146.8        11999.5       13717.5             9.3    20.5    191.l      1999.9
                10      1330.4         9354.8       10383.5             5.9    13.7    221.7      1559.l
                        1938.4        13755.SJ      14299               6.4    12.5    323.1      2292.7
                        1300.4         8986.8        9398.9             3.9    11.7    216.7      1497.8
                10      1781.2        14493.0       15234.8             6.9    13.1    296.9      2415.5
    9            7       400.8         3314.1        3643.1             3.3    12.4     66.8       552.4
   10           14       869.G        12647.3       15596.5            11.7    25.0    144.9      2107.9
   11            8      1948.6        16309.7       17261.7             5.8    14.5    324.8      2718.3
   12           12       672.6         6511.4        7292.6             4.7    15.3    112.1      1085.2
  107           24       817.2        12178.1       1 )424.7            7.9    28.9    116.2      2029.7
                                              PP population, N     =   12

 MEAl\         11.4     11 "i~.5      10818.1       11 )11.6       6.6         17.0    191.1      1~01.0
   SD           5.1      532.4         441)1.6       4738.5        2.4          5.7     88.7       733.6
 CV °"fi       44.4        46.0          40.7           41.1      36.8         33.7     46.0        40.7
  MTN                    400.8         1114.1        1641.1        1.1         11.7     66.8       "2.4
 .YIA.X         24      1948.6        1631)9.7      17261.7       11.7         28.9    324.8      2718.3
    ~           12         12             12            11        11           11       12          12
                                         PP-control population, l\ = 11 *

 MEAi\         11       1154.9        10331.4         11533.G           6.6    17.0    192.5      1721.9
    :;;n        "i.1      5"i~.2       4264.1          4718.)           2.4     ).7     91.0       710.7
  CV%          46.4       48.3           41.3            41.1          36.8    33.7     48.3        41.3
  MIN                    400.8         3314.l          3643.l           3.3    11.7     GG.8       552.4
  Y!A.X         24      1948.6        16309.7         17261.7          11.7    28.9    324.8      2718.3
    :-J         11        11             11              11            11      11       11          11

"Subject 02 not mcluded m calculations




                                                             Cosmo v. Alvogen, et al.                           COSMO-UCERIS-DE00001294
                                                        CA No. 1:15-cv-193; -164; -116 (LPS)
                                                      US 8,895,064 B2
                              11                                                                             12
Pharmacokinetic Results:                                                   tions which determines different profiles of budesonide
   After administration under fasting conditions in 3 consecu-             absorption. When MMXTM 9 mg and 6 mg tablet formulations
tive study periods of <-.1 single dose of Budesonide MMX™                  were compared to evaluate dose proportinna1ity, whereas no
extended release tablets 9 mg (Tl), 6 mg (T2) and Entocortc!\J             significant difference was found for ']'max' the analysis of dose
EC 3x3 mg capsules (K) the PK of budesonide was found                      normalised Cm"" AUC0 _, indicated lack of equivalence since
signiJicantly different. Mean±SD (CV%) of plasma budes-                    the 90% CI for these parameters clid not fall within the
onide and urine budesonide-metabolite PK parameters are                    80-125~,0 1imits required by current guide1incs. hut over-
sunnnarised in the table below forthe PP population (N-12).                lapped them.
   Rcsu1ts obtained in the present study on the PP popu1atinn
(see table above) were confirmed by the results of the PK           10       TI1c safety protik of the 3 formu1atinns \Vas simi1ar and
analysis on the PP-control population (i.e. after excluding                very good.
subject randomisation Nr. 02, who showed pre-dose detect-                  Phannaco-scintigraphic and Kinetic Study
able levels) and therefore were regarded as the primary results               A single dose, pharmaco-scintigraphic and kinetic study of
of the smdy, as per protocol. Inter-subject variability was
                                                                           the gastrointestinal transit and release of a 152 Sm-labelled
higher fi.1rthc MIVfXTM tah1ct formulation than tl1r Rntocort@      1 "i
EC, a Jinding that can be expfained by the bromler intestiml               controlled release formulation of budesonide in 12 fasting
                                                                           Im:1le heC11thy volunteers is cC1rried out.
tract involved in the dmg release from the test products
(who1c colon and sigmoid) as compared to the reference                       The objective of the study is to demonstrate and quantify,
(termirnl ileum, ascemling colon) and from the absence of                  by pharmaco-scintigraphy and PK amilysis, the release and
dose fractionation in the MMX™ fonnulations.                        20     absorption ofhudesonide in the target region.
   Although budesonide elimination is constant and no dit~                    Each subject received 1 tablet ofbudesonide MMX™ 9 mg
ferences <-Jmung fonnul:Jtions were found fur t 112 V(:llues, the
                                                                           and an average radioactivity dose of 1.118+0.428 MBq as
different release/absorption behaviourofMMXTM tablets and                  153
                                                                               Sm2 0 3 To define the GI transit behaviour of the study
Entocort® EC capsules was apparent from MRl' values
                                                                           formulation, images were recorded at approximately 20 min
which were higher for the Mlv!X™ formufations.                      25
   A.nalysis on Tl and R C mn and T max• showed a different                intervals up to 3 h post-dose and 30 min intervals up lo 10 h.
rate of absorption for MMX 1M tablets 9 mg ('J'l) with respect             Further acquisitions were talcen at 12 and24 h post-dose. The
to Entocort·J<l EC 3x3 mg capsules (R). Tl had a lower budcs-              following Regions of Interest (ROis) were defined: stomach,
onide concentration peak than Ras confirmed by a PE % of                   small intestine, terminal ileum, ileo-caecal junction and cae-
79% and 90% CI limits of 63-100%, and a significantly               3U     cum, ascending, transverse, descending and sigmoid co1on.
higher Tmax (13.3 h for Tl vs. 4.8 h for R). Extent of absorp-             Quantification of the distribution were achieved by measur-
tion calculated from theAUC 0 _, ofbudesonide after adminis-               ing the colltlt rates recorded from the RO Is.
tration of Tl and R was also significantly different. Tl bio-                 lludesonide plasma levels were detected between the 1°'
availabiEty over the :16 h period was 1m,ver than R                        and the 12'" h post-administration. On the average the appear-
bioavailability (PE~91 %; 90% CI limits: 77-108%). There-           35
                                                                           ance of drug plasma levels occurred in 6. 79±3.24 h (Tlagl·
fore, Tl and R were found to be non-bioequivalent.                         Peak time (Tma.,-,,) averaged 14.00±7 .73 h, with mean concen-
   Ana1ysis on Tmax. and dose-norma1ized ('max/dose and
                                                                           tration (Cma.J of 1768.7±1499.8 pg/mL. Measured average
AUC0 _/dose showed differences in rnte m1d extent of Cl bsorp-
                                                                           plasma AUC, in 24 h was 15607±14549 pgxh/mL. The dif-
tion also for Tl vs. T2, As expected, Tl had a higher concen-
                                                                           ference TmaA-Tlag Clccmmted for 7.21±5.49 h, ci time period
tration peak and bioavailability than '1'2, although a linear       40
rebtionship with dose WCIS not observed (PE for emu.../                    which may be representative of the release time of the active
dose~75%; 90% CI limits: 59-95%, PE for AUC 0 _/                           from the tablet.
dose-80%; 90% Cl limits: 67-94%). 'Jberefore, Tl and '1'2                    '!be following table 5 sunnnarises the main kinetic evi-
\Vere found non-bioequivC1lent.                                            dence:
   Tmax differences between T 1 and T2 were not statistically       45
significant (p value from t test-0.2244). Analysis on budes-                                           TABLE 5
onidc metabn1ite urinary excretion (Xu 0 _36h). showed a dif-
ferent excretion among formulations, with a bioequivalence                              c,=x       I',=,        AUC,                  T~a,-
not satisfied for Tl vs. R (PE~66%; 90% CI limits: 54-81 %)                'I= 12      (pg/mT)      (hi       (pgx h/mU               T1a~(h)

and almost achieved for Tl vs. T2 (PF.-96%. 90% CJ limits:          50
                                                                           Mean        1768.7     14.00           1'5607       6.79     7.21
79-117%).                                                                  SD          1499.8        7.734        14540        3.24     5.49
Safety Results:                                                            CV            84.80    .'i"i.24            91.22   47.66    76.11
   ll1e safetyprotik ofthe 3 fi.1rmu1ations was simi1ar. On1y 3            Mm           337.3                      2465        1        0
AEs occurred during the study, 1 with T2 formulation and 2                 Max         4756.3     24              53163       12      17
with R formulation. Of these 3 AEs, only 1 with R formula-          55
tion (i.e. headache) was judged possibly related to treatment.
No meaningful effect of treatment on vital signs, ECGs or                     Combining the scintigraphic with the kinetic evidence,
laboratory parameters was observed.                                        drng absorption during the time interval of the radioactivity
Conclusions:                                                               locC1tion in the tC1rget ROI (i.e. the region comprised between
   TI1e fonnubtion Budesonide MMX™ extended releC1se                60     the ascending and the descending-sigmoid co1on) cou1d he
tablets 9 mg was found not bioequivalent to the reference                  approximately calculated to amount to 95.88±4.19% of the
Entocort® EC 3x3 mg capsules in terms of rate and extent of                systemically bioavailable dose.
hioavai1ahi1ity since the 90~,0 Cl for CmaA and AUC 0 _1 did not
                                                                           Results:
fall within the 80-125% limits required by current guidelines,
and ']'max' was statistically different between MMXnI 9 mg          65       '!be systemic availability ofbudesonide MMX 1M 9 mg is
and F.ntncnrtCW EC 3x3 mg. This finding is explained by the                mostly ascribable to the dmg absorption throughout the
different release behaviour of the test and reference formula-             whole colon including the sigmoid, see table 6 below:

                                               Cosmo v. Alvogen, et al.                                              COSMO-UCERIS-DE00001295
                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                          US 8,895,064 B2
                                   13                                                                                14
                                 TABLE 6                                         The above described dissolution test is performed on the
                                                                              tablets of Example 2. The results are the following (indicated
                                                                              as average value):
                    .At~C"""'"          ACCI         AUC,x

    Mean            15113.46         15606.52           95.88
    SD              14401.79         14549.21            4.19                         aikr 2 hours at pH 1                 resisLenl(<5%)
    Mm               2464.80          2464.80           84.93                         after 1 hour at pH 6.4               resistent (<'5%)
    Ml:DI.          52376.20         53162.50          100.00                         a.:tter 2 hours at pII 7.2           15%
                                                                                      aikr 4 hours at pH 7.2               37%i
                                                                                      after 8 hours at pH 7.2              91%
                                                                        10
                            EXA!V!PLE 1
                                                                                                              EXAMPLE3
  2.7 kg of budesonide, 3.0 kg of lecithin (amphipb.ilic
nrntrix funning m"terial) and 3.0 kg ofsle"ric acid (lipophilic                  Rudcsonidc (3.0 kg) is mixed with soybean Lecithin (5.0
matrix forming material) are mixing after sieving till an               1,    kg) ti11 an homogeneous mixture is obtained. TI1en carnauba
homogeneous mixture is obtained: then add 39.0 kg of inert,                   wax (2.0 kg) and stearic acid (2.0 kg) sieved through a fine
function<-Jl excipients (:Ind 9.0 kg oflow viscosity hydruxypru-              screen are added. After mixing, the powders are added with
pylcellulose (binder) and lllix for 10 minutes before adding                  other functional excipients and kneaded with a binder solu-
purified water and kneading to a suitable consistence. Then                   tion obtained by dissolving medium viscosity polyvinylpir-
pass the granulate through a rotating granulator equipped               20    rolidone in water. After drying in a fluid bed and lllilling
with the suitable screen and transfer the granulate to the fluid              throughout a suitable screen, hydroxypropylmethylcellulose
bed drier to lower the residual moisture content m1der 3%.                    (35.0 kg) and other excipients, including magnesium stearate
After a ncv. sieving on the dry. the granulate is addcdnf9.0kg
             1                                                                as lubricant. in a suitable quantity arc added and the mixture
of hydroxypropylcellulose (hydrophilic matrix forming                         is blended till an homogeneous powder dispersion is
material) and the suitable amount of ftmctional excipients (in          25    obtained.
particular, micrncrystallinc cellulose, lactose and silicon                      TI1e powder mixture is subjected to compression in a rotat-
dioxide) (:lll<l, C1fter 15 ininutes of mixing, nK1gnesium ste(:lrnfe         ing t"bletting nrnchine "ml the tablets so obt"ined "re cmted
in a suitable quantity to act as lubricant is added.                          in a pan coat \Vith a gastroresistant con1position containing
   After a final blending. tablets of around 300 mg of unitary                J:iudragit 1M, plasticizers. dyes and pigments.
\.veight (:lfe genernted.                                               30       According to the present exGimple, coGJted !Giblets individu-
   The core are then subjected to be coated with a suspension                 ally weighing around 105 mg are obtained.
obtained introducing into a stainless steel container 5.8 kg of                  'lbe results of the above described dissolution test are the
Eudragil"'1 (methacryfate copolymers), 0.6 kg of triethylci-                  following (indic"ted "' "vernge v"lue of"' le"st six tablets):
trate and 3.0 kg of dyes and talc, using alcohol as solvent.
   '!he mean dissolution percentage (as average of six or more          35
tablets) obtained with this tablet formulation were around                            ::ifte1· 2 hours ::it pH l           resistant (<5~'o)
                                                                                      a.:tter 1 hour at pll 6.4            resistant (<5°-'li)
l 0-20"/o at second hour sampling, in the range 25% to 65% at                         a.:tlcr 2 hours          7.2          SllJ'o
fourth hour and a dissolution greater than 80% was achieved                           ::ifte1· 4 hours                     28%i
at Wh hour sampEng.                                                                   a.:tter 8 hours          7.2         86%

                                                                        40
                            EXAMPLJ:i2
                                                                                                              I'XAMPLE4

    Compmient                                            mg/t::iblet            50 g of diethylene glycol monoethyl ether Gire homoge-
- - - - - - - - - - - - - - - - - - - - - - - 45                              neously distributed on 500 g of microcrystalline cellulose;
                     Tablet                                                   then 100 g of Budesonide are added, mixing to complete
                                                                              homogenization. This mix is further added with 400 g of
    Dudesonide                                                  9.0
                                                            10.0
                                                                              13udesonide, then dispersed in a blender containing l 00 g of
                                                            10.0              carnauba wax and 100 g of stearic acid preheated at a tem-
                                                           156.0        "iO   peraturc of 60° C. After kneading for 5 minutes. the mixture
                                                            60.0              is cooled to room temperature and extmded in granules of size
    T,::ictose                                              50.0
    Silicon dioxide                                          2.0
                                                                              below 1 nUll. A suitable mixer is loaded with the matrix
    MagnesiLLin sLearnle                                     3.0              granuks prepared as above and the fo11owing amounts of
                                                                              hydrophilic excipients: 1500 g ofhydroxypropyl methylcel-
                                                                        55    lulose and 500 g of Policarbophil™ are added. The compo-
                                                             14.0
                                                             12.0
                                                                              nents are lllixed until homogeneous dispersion of the matri-
    Talc                                                      7.9             ces, then added with2450 g ofmicrocryst"llinecellulose, 400
    Titamum diox1ede                                           4.5            g oflactose, 100 g of colloidal silica and 50 g of magnesium
                                                               1.6            stearate. After further 5 minute mixing, the mix is tableted to
                                                             q.s.
                                                                        60    unit"ry weight of 250 mg/l"blet.
                                                                                 Tablets are then subjected to coating using a suspension n
   '!he coating of industrial scale tablets of batch MV084                    containing polyacrylate and poly methacrilate copolymers in
contained 8.0 mg of F.udragit f, 100 and 8.0 mg of F.udragit                  addition to other dyes, plasticizers and colouring agents in
5100 (instead of 14.0 mg and 12.0 mg, respectively) with an                   solvent (ethylic alcohol).
individual weight of about 330 mg.                                      65       'lbe results of the dissolution test perfonned on these
   According to the present invention, coated tabkts individu-                coated tablets arc the following (indicated as average value of
ally weighing about 340 mg are obtained.                                      at least six tablets):

                                                      Cosmo v. Alvogen, et al.                                            COSMO-UCERIS-DE00001296
                                               C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                             US 8,895,064 B2
                                     15                                                                          16
                                                                                        hydroxypropyl cellulose, wherein said budesonide is
         after 2 hours at pll 1                                                         dispersed in S(:lid lilllcroscopic(:llly homogeneous
         afLer 1 11our at pH 6.4
         after 2 lmms at pH 7 .2            i   1~-0
                                                                                        composition: and
         after 4 hours at pll 7 .2          32%                                    (b) a coating on said tablet core consisting essentially of a
         afLer 8 l1ours al pH 7 .2          76%1                                      gastro-resistant film, wherein said gastro-resistant film
                                                                                     consists essenti(:llly of(:l 111ixture of8 mg of(:! first meth-
                                                                                     acry1ic acid copolymer and 8 mg of a second meth-
   Vv1rnt is claimed is:
                                                                                      acrylic acid copol}111er, and
                                                                                   wherein said oral pharmaceutical composition provides a
    1. An oral phannaceutical composition administered to a                10
                                                                                      T 1ag of S(:lid budesonide in S(:lid hulillln of (:!bout
luunan, wherein said oral pharmaceutical composition is in
                                                                                      6.79±3.24 hours following said administration of said
the form of" l"blet, s"i<l t"blet comprising:
    (a) a tah1ct core comprising:                                                     oral phammceutical composition to said h1unan.
       (i) 9 mg of budesonide: and                                                 6. A.n oral phannaceutical composition administered to a
                                                                                human according to claim 5, wherein said oral pharmaceuti-
       (ii) a macroscopically homogenous composition com-                  1'
          prising ste<-Jric <1cid ciml/ur sGJlt thereof, lecithin, GJncl        cal composition administered to said human farther provides
          hydroxypropyl cellulose. wherein said budesonide is                   a Cmax of said budesonide of about 1768.7±1499.8 pgimL in
                                                                                S(:lidhulillln following (:ldministrntion of s(:lid ornl pilltrm(:lceu-
          dispersed in said macroscopically homogeneous
                                                                                tical composition to said human.
          composition: and
    (h) a coating on said tah1ct core consisting csscntia11y of a          20       7. An oral pharmaceutical composition administered to a
       gastro-resistant film, wherein said gastro-resistant film                human, wherein said oral pharmaceutical composition is in
       consists essentially of a mixture of8 mg of a first meth-                the form of" t"blel, s"id t"blet consisting essenti"lly of:
                                                                                     (a) a tablet core comprising:
       <-Jcrylic cicid copolymer (:Ind 8 mg of GJ second meth-
                                                                                        (i) 9 mg ofbudesonide: and
       acrylic acid copolymer. and
                                                                           25           (ii) (:I nl(:lcroscopic(:llly ho111ogenous composition cmn-
    wherein said oral pharmaceutical composition provides a
                                                                                           prising stearic acid and/or salt thereof, lecithin, and
       T1a,, of said budesonide in said human of about
                                                                                           hydroxypropyl cellulose, wherein said budesonide is
       6.79±3.24 hours following s"id "<lministrntion of s"id                              dispersed in said macroscopically homogeneous
       oral pharmaceutical composition to said human.                                      composition: and
    2. An oral phamrnceutical composition administered to a                30        (b) a coating on said tablet core consisting essentially of a
luunan according to claim 1, wherein said oral pharmaceuti-                             gastro-resistant film, wherein said gastro-resistant film
cal composition administered to said human further pmvidcs                              consists essentially of a mixture of 8 mg of a first meth-
a Cmax of said budesonide of about 1768.7±1499.8 pg/mL in                               acrylic acid copolymer and 8 mg of a second meth-
said human following administration of said oral pharmaceu-                             acry1ic acid copolymer, and
tic:Jl composition to ~mid humm1.                                          35       \.vherein S(:lid ornl plrurm(:lceutic(:ll con1position provides (:I
    3. An oral phamrnceutical composition administered to a                             (Tmax-T1ag) of said budesonide in said hmnan of about
human, wherein said oral pharmaceutical composition is in                               7.21±5.49 hours fi.11lowing said administration of said
the form of" l"blet, s"i<l t"blet comprising:                                           ornl ph(:lrm(:lceutic(:ll composition to S(:lid hulillln.
    (a) a tablet core comprising:                                                   8. An oral phannaceutical composition administered to a
       (i) 9 mg ofbudesonide: and                                          40   human according to claim 7, wherein said oral pharmaceuti-
       (ii) <1 ID(:lcruscopic(:llly homogenous composition com-                 c(:ll cmnpositionm1ministered to S(:lid hum(:lnfurtherprovides
          prising stearic acid and/or salt thereof, lecithin, and               a Cmax of said budesonide of about 1768.7±1499.8 pg/mL in
          hydroxypropyl cellulose. wherein said budesonide is                   said human following administration of said oral phannaceu-
         dispersed in S(:lid nl(:lcroscopic(:llly homogeneous                   tic(:ll composition to S(:lid hum(:ln.
          composition: and                                                 45       9. A.n oral phannaceutical composition administered to a
   (b) a coating on said tablet core consisting essentially of a                human, wherein said oral pharmaceutical composition is in
      gastro-resistant ti1m, \Vherein said gastro-resistant ti1m                the fi.1rm of a tahlct, said tahlct comprising:
      consists essentially of a mixture of8 mg of a first meth-                      (a) a tablet core comprising:
      acrylic acid copolymer and 8 mg of a second meth-                                 (i) 9 mg of budesonide; and
      acry1ic acid copolymer. and                                                       (ii) a macroscopically homogcnous composition com-
   wherein said oral pharmaceutical composition provides a                                 prising stearic acid and/or salt thereof, lecithin, and
      CTmax-Tlag) of said budesonide in said lnm1an of about                               hydroxypropyl cellulose, wherein said budesonide is
      7 .21 ±5.49 hours fol1o\ving said administration of said                             dispersed in said macroscopically homogeneous
      ornl ph(:lrm(:lceutic(:ll composition to S(:lid hun1(:1n.                            composition; (:Intl
  4. An oral phamrnceutical composition administered to a                  55        (b) a coating on said tablet core consisting essentially of a
human according to claim 3. wherein said oral phannaceuti-                              gastro-resistant film, wherein said gastro-resistant film
c(:ll composition (:ltbninistered to S(:lid hrnmm further provides                      consists essenti(:llly of(:l 111ixture of8 mg of(:! first meth-
a Cmax of said budesonide of about 1768.7±1499.8 pg/mL in                               acrylic acid copolymer and 8 mg of a second meth-
said human following administration of said oral pharmaceu-                             acrylic acid copol}mer, and
tic(:ll composition to S(:lid humm1.                        60                      \.vherein S(:lid ornl plrurm(:lceutic(:ll con1position provides (:I
    5. An oral pharmaceutical composition administered to a                             T 1ag of said budesonide in said human of from about l
human, wherein said oral pharmaceutical composition is in                               hour to about 12 hours following said administration of
the tl1rm of a tahlct, said tablet consisting essentia11y of:                           said ora] pharmaceutical composition to said human.
   (a) a tablet core comprising:                                                    10. An oral pharmaceutical composition administered to a
      (i) 9 mg ofbudesonide: and                                           65   human according to claim 9, wherein said oral pharmaceuti-
      (ii) a macroscopica11y homogenous composition com-                        cal composition administered to said human further provides
         prising stearic acid and/or salt thereof, lecithin, and                a Cm"'~ of said budesonide of about 1768.7±1499.8 pg/mL in


                                                   Cosmo v. Alvogen, et al.                                              COSMO-UCERIS-DE00001297
                                            C.A. No. 1:15-cv-193; -164; -116 (LPS)
                                                      US 8,895,064 B2
                              17                                                 18
said human following administration of said oral pharmaceu-
tical composition to said human.
   11. An urnl phG1n:m:1ceutic<1l composition m1ministere<l to ci
hmnan, wherein said oral pharmaceutical composition is in
the form of a tablet, said tablet consisting essentially of:
   (")" l"blet core comprising:
      (i) 9 mg ofbudesonide: and
      (ii) a macroscopically homogenous composition com-
          prising stcaric acid and/or salt thereof~ lecithin, and
          hydroxypropyl cellulose, wherein said budesonide is       10
          dispersed in said macroscopically homogeneous
          composition; and
   (b) a coating on said tablet core consisting essentially of a
      gastro-resistant film, wherein said gastro-resistant film
      consists csscntia11y of a mixture of 8 mg of a first mcth-    1 "i
      <-Jcrylic cicid copolymer (:Ind 8 mg of <1 second meth-
      acrylic acid copolymer, and
   wherein said oral pharmaceutical composition provides a
      T1ag of ~mid budesoni<le in sciid hum<-Jn of from (:!bout 1
      hour to about 12 hours following said administration of       20
      said oral pharmaceutical composition to said human.
   12. An urnl phG1n:m:1ceutic<1l composition m1ministere<l to ci
lnllllan according to claim 11, wherein said oral pharmaceu-
tical composition administered to said human further pro-
vides <-.1 Cmax of s<1id bu<lesunide of <1bout 1768.7±1499.8        25
pg/rnL in said h1llllan following administration of said oral
phannaceutical composition to said hlllllan.




                                               Cosmo v. Alvogen, et al.               COSMO-UCERIS-DE00001298
                                        C.A. No. 1:15-cv-193; -164; -116 (LPS)
